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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

DANIEL BOTTORFF, et al.,                       )
                                               )
                 Plaintiffs,                   )
                                               )     Civil Action No. 18-3122 (CKK)
     v.                                        )
                                               )
ISLAMIC REPUBLIC OF IRAN                       )
                                               )
                 Defendants.                   )
                                               )


                                TABLE OF EXHIBITS
EXHIBIT NO.                    DOCUMENT TITLE
1                              Expert Report of Ryan Thompson
2                              Expert Report of Phillip Smyth
3                              Deposition of Chase Cullen
4                              Deposition of Douglas Fargo
5                              Deposition of Robert Reuter
6                              Deposition of Shane Smith
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10                             Deposition of Dylan Hibbert
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          Exhibit 1
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DANIEL BOTTORFF, et al.,                              )
                                                      )
                      Plaintiffs,                     )
                                                      )     Civil Action No. 18-3122 (CKK)
       v.                                             )
                                                      )
ISLAMIC REPUBLIC OF IRAN                              )
                                                      )
                      Defendants.                     )
                                                      )

        EXPERT REPORT OF RYAN E. THOMPSON, PE, PLS RE: EFP Plaintiffs

I. INTRODUCTION

 I was provided the deposition testimony, and other documentation where available, of several

armed service members who were injured by explosives while serving in Iraq. I was asked to

determine whether, in my expert opinion, the explosives were more likely than not Explosively

Formed Penetrators (EFP). Below are a summary of my opinions with respect to individuals

where there was sufficient information to form an opinion that the explosion was more likely

than not an EFP.

II. QUALIFICATIONS & EXPERIENCE
       I am a licensed engineer and surveyor in Connecticut and a licensed engineer in Virginia,

 Maryland, Massachusetts, and Texas. I am a retired Army lieutenant colonel. Having served

 for 21 years in the United States Army Reserve and a combat veteran with deployments to Iraq,

 Afghanistan, and Bosnia. During his time in the service, I commanded a combat engineer

 company in Iraq, an engineer construction battalion, and served as an operations officer for a

 route clearance battalion in Afghanistan. During my deployment to Iraq, my company provided

 route security and clearance for convoys arriving into the Iraqi theater of operations via Main




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Supply Route (MSR) Tampa, a road that stretches from the border with Kuwait to Baghdad.

      My company patrolled MSR Tampa in advance of convoys traveling the routes in order

to locate and neutralize IED threats, including specifically EFP’s known to be used in the

region. My company organized a Special Weapons Exploitation Team (SWET) that responded

to IED events in the southern portion of the country to determine the type of munitions,

components of the device, emplacement techniques and procedures used by the enemy

operatives, and collect forensic evidence of the blast site for further laboratory analysis

conducted by counter-IED and IED defeat organizations operating in theater.

      During combat operations in Afghanistan, I was an operations officer with a route

clearance battalion providing both general and direct support to maneuver commanders in the

southeastern part of the country. During this deployment, I specifically managed the so-called

“TTP Catalogue” which was a document containing all of the known enemy tactics, techniques,

and procedures of IED / EFP’s used against coalition forces in Afghanistan. I investigated blast

events, interviewed soldiers, and read countless reports to determine the methods that the

enemy were employing IED / EFP’s against us. I then took that catalogue and used it to

instruct US and coalition forces on methods to defeat the enemy TTPs.



III. SUMMARY OF OPINIONS


CHASE CULLIN

Opinion
This event was an EFP strike.

Basic Information Name: Chase Cullin Grade / Rank: E5 / SGT Branch of Service: Army
Date of Event: January 5th, 2010

Description of Attack




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 Activity at time of Attack: Convoy between FOB Speicher, Kirkut, and Balad
 Convoy Configuration: 3 Vehicle Convoy (estimated average of 3 personnel per vehicle)
 Timing of Attack: During a Left Seat / Right Seat ride with incoming unit
 Part of Convoy Attacked: Lead vehicle (First in order of march)
 Type of Vehicle Attacked: Up-armored M1151 HMMWV
 Enemy Troops: No combatants observed
 Type of Attack: EFP Event

 Narrative
 Approximately 300 meters from the town center of Kisiniyah, Iraq, about 20 miles from Sadr
 City, a three vehicle convoy was patrolling through town during a left seat / right seat ride with
 their incoming replacement unit. The convoy came up to a known choke-point and dismounted
 several troops to walk in front of the vehicles to visually observe for any signs of IED activity
 prior to the convoy passing through. The dismounted personnel did not observe any signs of
 IED activity and thus gave the signal to the vehicles to proceed through the choke point hazard
 area. After passing over the bridge, the lead vehicle was struck by an explosive device that had
 been hidden in a pile of debris. The strike penetrated the lead vehicle and injured and / or killed
 the occupants of the vehicle. The second vehicle stopped to assess the situation and render aid
 to the injured personnel. The struck vehicle was on fire and had an 8” – 10” diameter through
 the crew compartment of the struck vehicle. Upon inspection after the injured were evacuated,
 it was determined by the EOD personnel on site that the event had been a “triple array” EFP.
 This means that there were three EFP devices initiated simultaneously at different angles and in
 different directions to maximize the probability of success during the attack. The shrapnel that
 was found during the post-blast analysis included copper and steel.


Also, in a documents released through a FOIA request to U.S. Central Command, the attack was
confirmed as a “Directional IED” which is also known as an EFP.



https://www3.centcom.mil/FOIALibrary/cases/16-
0276/60._OIF_EFP_Summary__2005_2011_CLEAR.pdf

 Conclusion
 The damage, location, and date of these attacks are all consistent with an EFP strike. EFP’s
 were introduced in Iraq in 2004 and quickly became a weapon of choice for insurgents. The
 characteristics of an EFP blast include a hole created by a copper plate which is formed into a
 penetrating slug capable of piercing armor and many smaller holes caused by shards of copper
 and other shrapnel generated by the blast. When EFP’s were first introduced into the Iraqi
 theater, they were predominantly single array devices. As the techniques, tactics, and
 procedures (TTPs) of the insurgents advanced, they began placing multiple array EFP’s in an
 effort to counter the coalition forces’ coutner-measures. This event is consistent with the
 evolving TTPs used against service member’s during Operation Iraqi Freedom.

 It is likely that this EFP array was initiated by a Passive Infrared (PIR) Sensor, pressure plate,




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or trip wire since the first vehicle in the convoy was struck. The use of PIR sensors was a very
common TTP for initiating EFP’s.




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ROBERT REUTER
Opinion
These two events were EFP strikes.

Basic Information Name: Robert Reuter Grade / Rank: E4 / SPC Branch of Service: Army
Date of First Event: December 25th, 2005
Date of Second Event: February 6th, 2006

Description of First Attack
Activity at time of Attack: Convoy between FOB Speicher, Kirkut, and Balad
Convoy Configuration: 10 Vehicle Convoy (estimated average of 3 personnel per vehicle)
Timing of Attack: Approximately 4 hours into trip returning to base Part of Convoy
Attacked: Lead vehicle (first in order of march)
Type of Vehicle Attacked: Up-armored HMMWV
Enemy Troops: No combatants observed
Type of Attack: EFP Event

Description of Second Attack
Activity at time of Attack: Convoy between Kirkut and Balad
Convoy Configuration: 10 vehicle convoy (estimated average of 3 personnel per vehicle)
Timing of Attack: Approximately 1 hour away from arrival at Balad
Part of Convoy Attacked: Lead vehicle (first in order of march)
Type of Vehicle Attacked: 5-Ton truck w/ up-armor
Enemy Troops: Yes. Small Arms Fire followed EFP
Type of Attack: EFP Event

Narrative
On December 25th, 2005, during convoy operations returning from a multi-destination mission
between FOB Speicher, Kirkut, and Balad, the lead vehicle was struck from the right of the
direction of travel by an explosive device. The explosion created a hold through the engine
block of the vehicle and melted the interior of the engine compartment. Bits of shrapnel splayed
off from the device and injured all of the occupants of the vehicle. The front end of the vehicle
was totally destroyed. Additionally, the front of the vehicle was in flames as a result of the heat
of the explosion.

On February 6th, 2006, during convoy operations between Kirkut and Balad, the lead vehicle
was struck from the left of the direction of travel by an explosive device. The explosion created
a hole through the engine block of the vehicle and melted the interior of the engine
compartment. The front end of the vehicle was totally destroyed.

Conclusion
The damage, location, and date of attack are all consistent with an EFP strike. EFP’s were
introduced in Iraq in 2004 and quickly became a weapon of choice for insurgents. The
characteristics of an EFP blast include a hole created by a copper plate which is formed into a
penetrating slug capable of piercing armor and many smaller holes caused by shards of copper




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and other shrapnel generated by the blast.
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Both of the events have multiple consistencies with Techniques, Tactics, and Procedures known
to be used by insurgents in that area and at that time. These consistencies include the following:

   1. Initiation by Passive Infrared (PIR) sensor or remote control (Garage door remote)
   2. Placement along the side of the road and hidden in painted Styrofoam or hidden in rock
       walls.
   3. Excessive heat from the blast causing a fire in the struck vehicle and melting of interior
       components.
   4. Large diameter hole (approximately 8” to 12”) at point of impact.
   5. Smaller splayed shrapnel holes surrounding the larger hole.
   6. Striking of the first vehicle in the convoy indicates that the vehicle triggered the strike
       and it was not command detonated.

The consistency of the two events so close together geographically and within a few months of
each other indicate that these two devices were likely built and emplaced by the same EFP cell.




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BOBBY WILSON JR.


Opinion
This is more likely an EFP than not.

Basic Information
Name: Bobby Wilson, Jr. Grade / Rank: E7 / SFC Branch of Service: Army
Date of Event: May 6 or 7, 2007

Description of First Attack
Activity at time of Attack: MITT (Military Transition Team)
Convoy Configuration: Small convoy, less than 5 vehicles
Timing of Attack: Early to Mid Afternoon
Part of Convoy Attacked: 2nd Vehicle in Order of March
Type of Vehicle Attacked: 1152 HMMWV
Enemy Troops: No enemy combatants visible
Type of Attack: Most likely an EFP

Narrative
On May 6 or 7, 2007, during Military Transition Team operations the convoy was traveling at a
high rate of speed, approximately 60-80 Kilometers Northeast of Baghdad in Diyala Province.
An attack occurred at a point between the first and second vehicle. According to the affiant, the
vehicles were spaced 50 meters apart; however, it is very common for drivers to greatly
underestimate their spacing. The lead vehicle experience some damage to its rear and the
second vehicle experienced some damage to its front.

Conclusion
This event was most likely an EFP event that was poorly aimed by the emplacer. The munition
was triggered by the first vehicle, but due to its speed, the blast occurred predominantly behind
the first vehicle. The splayed shards from the EFP would have caused some minor damage to
the rear of the vehicle as was experienced. The second vehicle, due to not being properly
spaced, experienced some blast results and experienced relatively minor damage as well. The
location, date of attack, and fact that the main slug missed the vehicle are indicative of the fact
that during this timeframe, the enemy were still trying to optimize their techniques. It is because
of misses like these, that the enemy ultimately employed multiple array EFP’s and changed the
angles of attack in future attacks.




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JASON HARRISON
Opinion
This event was an EFP

Basic Information
Name: Jason Harrison
Branch of Service: Army
Date of Event: April 2006

Description of Attack
Activity at time of Attack: Combat Patrol
Convoy Configuration: Squad / Platoon of Bradley’s
Timing of Attack: Night
Part of Convoy Attacked: Unknown
Type of Vehicle Attacked: Bradley Fighting Vehicle
Enemy Troops: Known HVT compound
Type of Attack: EFP

Narrative
During a mission near Ramadi, to find and secure a key enemy person, known as a High Value
Target (HVT), after successfully executing the combat objective, the Bradley Fighting Vehicle
was struck by a device which penetrated the armor and wounded other occupants.

Conclusion
This is most likely an EFP. EFP’s were specifically used to target armored vehicles, such as
Bradley Fighting vehicles. The timeframe of the attack, type of damage, and tactical placement
of the device during a highly kinetic mission is consistent with EFP attacks.




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ADAM FARGO
Opinion
The first event was a traditional IED attack. The second event was most likely an EFP.

Basic Information
Name: Adam Fargo
Grade / Rank: E5 / SGT
Branch of Service: Army
Date of Event 1: Feb 2006
Date of Event 2: July 21st or 22nd, 2006

Description of First Attack
Activity at time of Attack: Route Security Patrol
Convoy Configuration: Most likely 3-4 security gun trucks
Timing of Attack: Unknown
Part of Convoy Attacked: First vehicle in convoy
Type of Vehicle Attacked: Some form of HMMWV (up-armored status unknown)
Enemy Troops: No combatants observed
Type of Attack: Traditional IED

Narrative of First Attack
During a route security patrol a traditional IED detonated against the first vehicle.

Description of Second Attack
Activity at time of Attack: Route Clearance in Sadr City
Convoy Configuration: Most likely a route clearance patrol including detection assets,
interrogation assets, security vehicles, EOD, and recovery assets.
Timing of Attack: Evening hours
Part of Convoy Attacked: Second or third vehicle
Type of Vehicle Attacked: Some form of HMMWV (up-armored status unknown)
Enemy Troops: Dismounted troops conducting an ambush with small arms fire
Type of Attack: EFP Event

Narrative of Second Attack
During a route clearance patrol through Sadr City, while maneuvering around or through some
bridge abutments, a remotely controlled “Advanced” IED was initiated against the convoy. The
strike occurred from the abutment and was oriented sideways to impact the side of the vehicle.
The charge placement was such that it was approximately 3-4 feet off the ground in the
abutment and in line with the driver’s door. The explosion wounded four of the five occupants
of the vehicle, fatally wounding SGT Fargo, who was the driver of the vehicle during the time
of the explosion. During post incident communications with the father of the deceased, the
Army informed him that it was determined to be an “advanced IED” with armor piercing
capabilities.

The second attack is documented in a Sigact Report posted on wikileaks.




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https://wikileaks.org/irq/report/2006/07/IRQ20060722n4721.html. Also, in a documents
released through a FOIA request to U.S. Central Command, the attack was confirmed as a
“Directional IED” which is also known as an EFP.



https://www3.centcom.mil/FOIALibrary/cases/16-
0276/60._OIF_EFP_Summary__2005_2011_CLEAR.pdf

Conclusion
The first device described in February of 2006 was a traditional IED. However, the damage,
location, and date of the second attack are all consistent with an EFP strike. Further, the
description by the casualty notification officer to the father, is consistent with terminology used
to describe EFP’s in the early days of their usage in theater (advanced IED). EFP’s were
introduced in Iraq in 2004 and quickly became a weapon of choice for insurgents. The
characteristics of an EFP blast include a hole created by a copper plate which is formed into a
penetrating slug capable of piercing armor and many smaller holes caused by shards of copper
and other shrapnel generated by the blast. This event was believed to be a remotely initiated
device. While typically, EFP’s were initiated using passive infrared sensors (PIR), the enemy
combatants used various means and methods to initiate the devices and remote control
detonation was a tactic used heavily during the period before Coalition forces began to widely
disseminate counter-radio wave technology to suppress initiation signals to devices.




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Nicholas McCoy

Opinion
This is an EFP event.
Basic Information
Name: Nicholas McCoy
Grade / Rank: E3 / PFC
Date of Event: October 12th 2005
Description of Attack
Activity at time of Attack: Convoy between FOB Marez and Camp Rawal
Convoy Configuration: 12-20 vehicle convoy (estimated average of 3 personnel per vehicle)
Timing of Attack: Approximately 1 hour before return to base at conclusion of trip
Part of Convoy Attacked: Rear of convoy (3rd from the rear of convoy)
Type of Vehicle Attacked: PLS (Palletized Loading System) truck with trailer
Enemy Troops: Unknown (one young boy with sheep not known to be an enemy)
Type of Attack: EFP Event
Narrative
On a return convoy from Camp Rawal to FOB Marez, the third to last vehicle in a 12-20 vehicle
convoy Mr. McCoy was traveling with was struck by an EFP. The explosion occurred directly in
front of his position in the second to last vehicle in the convoy. He was in the passenger seat of
an up-armored Heavy Expanded Mobility Tactical Truck (HEMMT). The strike occurred against
the trailer being towed by a Palletized Loading System (PLS) truck approximately 12-15 feet in
front of his position. The damage to the trailer included a 2-3 feet diameter hole and smaller
shrapnel holes surrounding the larger hole. The blast strike sheered the axle and sent passenger
side tire flying into the air in Mr. McCoy’s direction.

Conclusion
The damage, location, and date of attack are all consistent with an EFP strike. EFP’s were
introduced in Iraq in 2004 and quickly became a weapon of choice for insurgents. The
characteristics of an EFP blast include a hole created by a copper plate which is formed into a
penetrating slug capable of piercing armor and many smaller holes caused by shards of copper
and other shrapnel generated by the blast.




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MICHAEL FISSLER
Opinion
This event was an EFP

Basic Information
Name: Michael Fissler
Grade / Rank: E6 / SSG
Branch of Service: Army
Date of Event: August 26, 2006

Description of Attack
Activity at time of Attack: Supply Convoy
Convoy Configuration: Unknown
Timing of Attack: Morning
Part of Convoy Attacked: Unknown
Type of Vehicle Attacked: HMMWV (up-armored status unknown)
Enemy Troops: None observed
Type of Attack: EFP

Narrative
During a logistics / supply convoy in the vicinity of Q-West (South of Mosul), the convoy was
conducting a routine supply run through a known IED hotspot. While observing pictures of the
damage to the vehicle, it is evident that the munition impacted the engine compartment of the
vehicle and it is noteworthy that there are small slag penetration holes in the vehicle.

Conclusion
The type of damage, location of the incident, and timeframe of the attack are all consistent with
an EFP strike. The characteristics of an EFP blast include a hole created by a copper plate
which is formed into a penetrating slug capable of piercing armor and many smaller holes
caused by shards of copper and other shrapnel generated by the blast.




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JAE SIK MOON
 Opinion
 This event was an EFP

 Basic Information
 Name: Jae Sik Moon
 Grade / Rank: E6 / SSG
 Branch of Service: Army
 Date of Event: December 2006

 Description of Attack
 Activity at time of Attack: Patrol
 Convoy Configuration: Unknown
 Timing of Attack: Morning
 Part of Convoy Attacked: Unknown
 Type of Vehicle Attacked: Some form of HMMWV (up-armored status unknown)
 Enemy Troops: Unknown
 Type of Attack: EFP

 Narrative
 During a convoy in the vicinity of Baghdad, an IED explosion detonated, wounding three and
 killing SSG Moon. From records reviewed of the incident, the EOD team evaluating the strike
 concluded that the device was a steel lined EFP with copper discs.
 https://wardiaries.wikileaks.org/id/B867E2D3-EC54-8591-37321C912D14541A/

Also, in a documents released through a FOIA request to U.S. Central Command, the attack was
confirmed as a “Directional IED” which is also known as an EFP.




 https://www3.centcom.mil/FOIALibrary/cases/16-
 0276/60._OIF_EFP_Summary__2005_2011_CLEAR.pdf



 Conclusion
 The on the ground responding EOD team positively identified this device as an EFP. EFP’s
 were introduced in Iraq in 2004 and quickly became a weapon of choice for insurgents. The
 characteristics of an EFP blast include a hole created by a copper plate which is formed into a
 penetrating slug capable of piercing armor and many smaller holes caused by shards of copper
 and other shrapnel generated by the blast. This event was believed to be a remotely initiated
 device. While typically, EFP’s were initiated using passive infrared sensors (PIR), the enemy
 combatants used various means and methods to initiate the devices and remote control
 detonation was a tactic used heavily during the period before Coalition forces began to widely
 disseminate counter-radio wave technology to suppress initiation signals to devices.




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SHANE SMITH
Opinion
This is an EFP

Basic Information
Name: Shane Smith
Grade / Rank: SSG
Branch of Service: Army
Date of Event: May 21, 2007

Description of First Attack
Activity at time of Attack: Raid on enemy compound to find high value targets
Convoy Configuration: Infantry mounted patrol
Timing of Attack: Unknown
Part of Convoy Attacked: Somewhere in the middle
Type of Vehicle Attacked: Uparmored HMMWV
Enemy Troops: Unknown
Type of Attack: EFP

Narrative
While conducting a raid on a known enemy compound, the vehicle SSG Smith was occupying
was struck by an EFP on the ingress road into the compound. SSG Smith was the TC (truck
commander) for the vehicle he was in, and there was a driver, a gunner, and two passengers.
The vehicle was struck on the front driver side of the vehicle shearing off the front of the
vehicle and leaving molten slag holes in the body of the truck. Further, SSG Smith explains that
the area was a very well known location of EFP strikes and in fact was performing the mission
in an attempt to find the network of personnel emplacing EFPs in the area.




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Conclusion
The damage, location, and date of this attack are all consistent with an EFP strike. EFP’s were
introduced in Iraq in 2004 and quickly became a weapon of choice for insurgents. The
characteristics of an EFP blast include a hole created by a copper plate which is formed into a
penetrating slug capable of piercing armor and many smaller holes caused by shards of copper
and other shrapnel generated by the blast.




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DYLAN HIBBERT
Opinion
This event was an EFP

Basic Information
Name: Dylan Hibbert
Branch of Service: Army
Date of Event: July 20th 2005

Description of Attack
Activity at time of Attack: Route Clearance Patrol
Convoy Configuration: Two gun trucks in front, buffalo interrogation vehicle, two gun trucks
in back
Timing of Attack: Unknown
Part of Convoy Attacked: Buffalo
Type of Vehicle Attacked: Buffalo
Enemy Troops: Unknown
Type of Attack: EFP

Narrative
During a route clearance patrol, while interrogating a device, it detonated and damaged the
interrogation arm, tires, and penetrated the armored hull of the buffalo.

Conclusion
This is most likely an EFP. Due to the fact that Mr. Hibbert is a combat engineer and performed
route clearance missions, he is very knowledgeable of the types of IEDs and EFPs used in
theater. The timeframe of the event is consistent with an EFP. Further, the buffalo interrogation
vehicle is designed to resist explosive blasts and is heavily armored with a vee shaped hull. The
fact that this event penetrated the hull is indicative of an EFP. The characteristics of an EFP
blast include a hole created by a copper plate which is formed into a penetrating slug capable of
piercing armor and many smaller holes caused by shards of copper and other shrapnel generated
by the blast.




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NICOLAS MCCARTY
Opinion
This event was an EFP

Basic Information
Name: Nicholas McCarty
Branch of Service: Army
Date of Event: April 24, 2005

Description of Attack
Activity at time of Attack: Area Security Patrol
Convoy Configuration: Infantry patrol in vicinity of Abu Ghraib
Timing of Attack: Mid Morning
Part of Convoy Attacked: Security HMMWV
Type of Vehicle Attacked: HMMWV
Enemy Troops: Unknown
Type of Attack: EFP

Narrative
During a routine combat patrol / area security patrol the infantry unit was providing overwatch
of the local market. At the conclusion of the patrol, the vehicle backed up to retrieve signage
and equipment when a detonation occurred wounding the gunner, the driver, and the truck
commander. Pictures of the damage very clearly show the slag holes from an EFP.

Conclusion
This is an EFP. EFP’s were in use in the theater of operations during this timeframe. The
characteristics of an EFP blast include a hole created by a copper plate which is formed into a
penetrating slug capable of piercing armor and many smaller holes caused by shards of copper
and other shrapnel generated by the blast.




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COMPENSATION

My rates for expert work are $125.00/hour

PRIOR TESTIMONY

I have not given a deposition or trial testimony in the last four years.


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Signed this ___day     JULY 2021.
                   of _______,                                 _____________________
                                                               Ryan Thompson




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           Exhibit 2
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DANIEL BOTTORFF, et al.,                             )
                                                     )
                      Plaintiffs,                    )
                                                     )      Civil Action No. 18-3122 (CKK)
       v.                                            )
                                                     )
ISLAMIC REPUBLIC OF IRAN                             )
                                                     )
                      Defendants.                    )
                                                     )

    EXPERT REPORT OF PHILLIP SMYTH RE: PLAINTIFFS JOSEPH JAMES III,
            SHAUN COOK, NICOLE FRIDA, AND RANDALL BURNS

OVERVIEW

       In this background report a concise description of how Iran wages war utilizing a

multitude of proxy groups, the types of weapons often supplied to these proxies, and their

development over the past four decades will be offered. This background will be paralleled with

the experiences in Afghanistan of Joseph James III and Shaun Cook and Frida Catherine Nichole

(Nicole Frida) who were both injured in Iraq. I also incorporate and attach a report I’ve

previously prepared in another lawsuit involving the attack on Fort Sullivan in Afghanistan

where Randall Burns was injured.

QUALIFICATIONS & EXPERIENCE
       My research on Iran's utilization of proxy groups in the Middle East, including

Afghanistan, started in 2006 when I began my travels to the region and established a number of

research databases detailing propaganda material distributed by Iranian proxy groups in Lebanon

and Iraq.

       In 2012, I was given a research fellowship at the Global Research in International Affairs

("GLORIA") Center at IDC Herzliya. The GLORIA Center was "founded by the late Professor


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Barry Rubin ... produces up-to-date, accurate analysis and reporting on modern Middle East

affairs, using primary sources and exclusive on-the-ground contacts throughout the region."1

        From 2015-2018, I was a researcher at the University of Maryland's Laboratory for

Computational Cultural Dynamics ("UMD-LCCD"), a lab focused on using technology to assess

political and militant groups. At UMD-LCCD, I focused on assessing leadership structures

within Iranian proxy groups, including organizations such as Lebanese Hizballah. Additionally,

Pakistani Sunni militant groups associated with the Taliban and al-Qa'ida (also referred to herein

as "al-Qaeda") were also assessed by UMD-LCCD.

        I created Hizballah Cavalcade on the website Jihadology.net and posted around 40

articles from 2013-2016. This project pioneered the use of social media-based data and analysis

to assess new Iranian-backed militant organizations and their activities. These posts provided the

first written assessments of at least ten Iranian proxy groups.

        In 2015, I was given an adjunct fellow position at The Washington Institute for Near East

Policy ("TWI''). My work primarily focused on covering Iranian proxy groups in the Middle

East. Founded in 1985, TWI is "committed to advancing U.S. interests in the Middle East" and is

the "largest research institute devoted exclusively to the study of the Middle East."2

        In 2018, I was made a Soref Fellow for TWI where I continued my research on Iranian-

backed proxy groups stretching from Pakistan to Lebanon. My main project as a Soref Fellow is

The Shia Militia Mapping Project, a regularly updated map that primarily tracks Iran's Shia

Islamist proxies across the Middle East.




1
  The Ruhin Center for Research in Tntemational Affairs, 2018,
http://portaJ.idc.ac.il/en/main/research/pages/rubin.aspx.
2
  “Mission & History,” The Washington Institute for Near East Policy, 2018,
https://www.washingtoninstitute.org/about/mission-and-history

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       As a fellow at TWI, I regularly interact with members of other think tanks who research

and write about Iranian proxy affairs and relationships, and I have been invited to speak about

Iranian policies vis-a-vis their proxies in Syria and Iraq during The Institute for National Security

Studies' annual terrorism conference in 2019.

       I have been a guest lecturer at American University, Georgetown University, George

Washington University, The National Defense University, Tufts University (Fletcher School),

and Glendale College. The focus of my lectures has often been to cover how Iran utilizes proxy

groups and the different organizations Tehran has spawned since 1979.

       I have appeared or have been quoted by major news outlets regarding Iran's activities to

craft proxy groups, terrorist organizations, and new forms of research on terrorism. Some of

these news media organizations include ABC, American Spectator, AFP, the Associated Press,

Al-Arabiya, Asharq al-Awsat, Al-Jazeera, Blogs of War, Buzzfeed, The Boston Globe,

Brookings Institute, Business Insider, The Carnegie Endowment, The Center for New American

Security, Christian Science Monitor, CTC Sentinel-West Point, the Committee to Protect

Journalists, The Daily Star (Lebanon) , the Council On Foreign Relations , Fox News, The

Huffington Post, The Independent (UK), the Financial Times, Foreign Policy Magazine, The

Guardian, IDC Herzliya, International Business Times, Jerusalem Post, Mashable, Middle East

Policy, the Middle East Quarterly, MSNBC, Mother Jones, The New York Times, The National

Review, National Public Radio, Newsweek, Public Radio International, Politico, Radio Free

Europe/Radio Liberty, the RAND Institute, Reuters, Syria Comment, Time Magazine, The

Tower Magazine, The Wall Street Journal, The Washington Post, The Week, The Weekly

Standard, The Wilson Center, Vice, Vox, and Zenith Magazine (Germany).




                                                 3
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       My work on Iranian-backed groups has been cited in over 25 scholarly books produced

between 2010-2020.

       I have organized and conducted interviews with numerous Iranian-backed militia leaders

and fighters originating from Afghanistan, Iraq, Lebanon, Pakistan, and Syria. Some of these

interviews were done overseas, over the phone, and others using the internet. My work has

included briefings with elements of the United States government, including the Department of

Defense, Department of State, Department of Treasury, and others. Additionally, I have briefed

elements linked to NATO and various police and government agencies for various European and

Middle Eastern governments.

       I have testified before various committees of the United States Congress about Iranian

proxy growth and use in the Middle East and have briefed members of Congress on matters

dealing with counterterrorism and Iran policy since 2013.

DOCUMENTS REVIEWED

       I reviewed Plaintiffs depositions an declarations, declassified material dealing with the

war in Afghanistan, documents related to Iranian support for extremist elements, open-source

articles, peer-reviewed journal pieces, and interviews with current and former U.S. government

officials familiar with Iraq ad Afghanistan and Iranian movements in Iraq and Afghanistan. I

could also call on a decade of personal notes dealing with tactics, leadership, and organizational

details related to Iranian proxy development. Open-source foreign language sources, including

IRGC-linked social media in Arabic and Persian were also used to assess Iran's links to the

attacks which injured the Plantiffs.

IRAN’S MANY MODES OF INFLUENCE



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        Iran’s core network of influential groups have arisen from Shia Islamist militia groups

primarily based in Iraq, Lebanon, Syria, Afghanistan, and Pakistan. These organizations are

often directly guided by Iran’s Islamic Revolutionary Guard Corps Quds Force (IRGC-QF) and

have received extensive training by the IRGC-QF. Ideologically, many of these organizations

adhere to the Absolute Wilayat al-Faqih (Arabic for the Absolute Guardianship of the

Jurisprudents) ideological system. This ideological framework forms the basis for the governing

system of the Islamic Republic of Iran. Orders coming from Iran’s Supreme Leader, Ali

Khamenei hold ultimate political, social, religious, and cultural weight. Edicts issued through

Khamenei and clerics adhering to the Absolute Wilayat al-Faqih ideology in the form of a taklif

(religious obligation) are often issued to . For instance, a taklif was issued by Iranian clerical

authorities and with the blessing of Khamenei and this was used as a religiously sanctioned

motivation to recruit Shia jihadist fighters to fight in Syria (2013-Present).

        While Iran is a Shia Islamic majority country and a theocracy that holds Shia Islam as its

primary religious form of organization, the Islamic Republic has demonstrated dexterity with

utilizing proxy groups of different ideological and religious beliefs. Iran has even gone so far as

to back Marxist Palestinian groups such as the Popular Front for the Liberation of Palestine3 and

that group’s splinter, the Popular Front for the Liberation of Palestine-General Command.4 Iran,

despite having fought Sunni extremist elements has also assisted elements of al-Qa’ida.5




3
  Judah Ari Gross, “Shin Bet: PFLP terror cells with ties to Iran, Hezbollah busted in West Bank,” July 21, 2020,
https://www.timesofisrael.com/shin-bet-pflp-terror-cells-with-ties-to-iran-hezbollah-busted-in-west-bank/.
4
  Phillip Smyth, “The Popular Front for the Liberation of Palestine-General Command (PFLP-GC) and the Syrian Civil
War,” MERIA Journal, 2013,
https://www.academia.edu/4322274/The_Popular_Front_for_the_Liberation_of_Palestine_General_Command_P
FLP_GC_and_the_Syrian_Civil_War.
5
  Michael Lipin, Siamak Dehghanpour, "Pompeo Rekindles Debate About US Response to Iran's Hosting of Al-
Qaida," VOA, May 25, 2021, https://www.voanews.com/middle-east/pompeo-rekindles-debate-about-us-
response-irans-hosting-al-qaida.

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IRAN & IRAQ’S DEADLY SHIA MILITIAS

        Currently, Iran has extensive influence over around 50 Shia militia organizations within

Iraq and Lebanese Hizballah, a group that is a first among equals.6 These organizations began

life as a series of loose networks that held hopes to depose then Iraqi dictator Saddam Hussein

and to crafting an Islamic state in Iraq. Following the 1979 Islamic Revolution in Iran led by

Iran’s first Supreme Leader, Ayatollah Khomeini, many of these networks coalesced around

Khomeini’s leadership and ideology. Through the early 1980s, the IRGC sought to organize

these militants under its leadership. By the time the U.S. invaded Iraq in 2003, Iran had

developed at least a dozen networks and a main umbrella group under its control that had

military experience and the ability to execute attacks against Iraqi government and U.S. forces.

        Started in 2005, Kata’ib Hizballah was described by The Wall Street Journal as, “one of

the closest of Tehran’s affiliates, serving almost entirely Iran’s agenda in Iraq.”7 The group was

primarily formed from elite Iran-loyal militants from the Badr Corps. The Badr Corps (now

called the Badr Organization) was an IRGC controlled section of Iraqis (primarily Shia Muslim)

that were (from 1983-2003) primarily utilized as a guerilla and regular force against the forces of

Saddam Hussein. Badr commanders, namely Jamal Jaafar al-Ibrahimi (aka Abu Mahdi al-

Muhandis), later went on to found Kata’ib Hizballah.8 Kata’ib Hizballah also openly adheres to

the Absolute Wilayat al-Faqih ideology, a further demonstration of more direct Iranian

leadership over the group and its activities.9 Other groups formed in this time period include



6
  Ben Hubbard, "Iran Out to Remake Mideast With Arab Enforcer: Hezbollah," The New York Times, August 27,
2017, https://www.nytimes.com/2017/08/27/world/middleeast/hezbollah-iran-syria-israel-lebanon.html.
7
  Amira el-Fekki and Sune Engel Rasmussen, "Shadow Network of Militias Backs Iran," The Wall Street Journal,
February 26, 2021, https://www.wsj.com/articles/shadow-network-of-militias-backs-iran-11613506409.
8
  Qassim Abdul-Zahra and Bassem Mroue, Iraqi militant killed by US worked with Iran for decades, AP, January 3,
2020, https://apnews.com/article/7c75c5067d0acb8857e52d98e17dbe97.
9
  “‫ال عرا ق ف ي هللاحزب ك ت ائب‬: ‫وراءه ا ؟ ي قف وم ن ط ب ي ع ت ه ا م ا‬,” BBC, December 30, 2019,
https://www.bbc.com/arabic/middleeast-50945835.

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Asa’ib Ahl al-Haq (AAH). AAH was created between 2004-2006 when followers of Iraqi cleric

and politician Muqtada al-Sadr split to form their own militant group. AAH eventually grew into

a primary Iranian proxy in Iraq, carrying out IED and EFP attacks.10 AAH also adhered to the

Iranian religious-political ideology of Absolute Wilayat al-Faqih.During the 2005-2011 period,

Iran heavily invested in both Kata’ib Hizballah and AAH, eventually growing them into some of

Iraq’s strongest Iranian-controlled Shia militia factions.

COMPLICATED RELATIONS WITH IRAN’S AFGHAN PROXIES

         Unlike its relationship with Iraq’s Shia militia groups, Iran has had a more complicated

relationship with Afghanistan and its numerous factions. Tracing back to the early 1980s,

Khomeini attempted to influence Afghan Mujahideen (Sunni and Shia elements). In 2013, the

IRGC-QF even crafted an Afghan Shia subgroup called Lashkar Fatemiyoun. This group

actively recruited among the Hazara Shia ethnic group, which includes around 1 million refugees

living in Iran. Still, Iran did not only focus on enveloping Afghanistan’s Shia.11 In fact, one of

Iran’s more dynamic relationships has been with the Taliban.12

         Despite historical tensions between Iran and the Taliban, the Iranian relationship with the

group has not only grown, it is now seen as a strategic necessity by Tehran. Iran and the

Taliban’s relationship may appear fleeting at times. Nevertheless, this does not mean that the

group and factions related to it are not heavily invested in links with Iran for arms, training, and

other forms of support. While this support is not comparable to the direct oversight often seen

with Iran and its Iraqi Shia militia groups or Lebanese Hizballah, its support for the Taliban and


10
   Joel Rayburn, Iraq After America: Strongmen, Sectarians, Resistance (Stanford: Hoover Institution Press, 2014)
Pp. 171-175.
11
   Phillip Smyth, The Shiite Jihad in Syria and its Regional Effects, The Washington Institute for Near East Policy,
2015, https://www.washingtoninstitute.org/media/2538.
12
   “Tehran buddies up to the Taliban,” DW, February 3, 2021, https://www.dw.com/en/tehran-buddies-up-to-the-
taliban/a-56434495.

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associated factions is transactional and based on strategic goals aiming to kill U.S. forces and its

allies, damage U.S. presence in Afghanistan.

        Iran did not just view the Taliban and its factions in the abstract, Tehran offered direct

support to major Taliban leaders wanted by the U.S. military and Afghan government. In 2016,

Mullah Akhtar Mansour had spent two months in Iran and had engaged in coordinating Taliban

activities there.13 In 2019, senior Taliban leaders met with high ranking Iranian officials in

Qatar.14 As late as January 2021, Iran continued to host Taliban delegations.15

        In a 2015 report by the Wall Street Journal, an interviewed Taliban leader claimed “Iran

supplies us with whatever we need.” The reasoning for this was explained in a number of reports

by IRGC-linked media outlets. In 2016, Tasnim, an IRGC-affiliated Iranian news organization

claimed that Iran was engaging with the Taliban for intelligence purposes.16 In March 2017, this

same publication lauded the Taliban’s presence in Afghanistan’s Farah Province as an element to

counter U.S. influence in Afghanistan and halt any potential U.S. projection vis-à-vis Iran:

“Farah holds a special importance to Washington as a zone bordering Iran. [Former President]

Trump…if he really wants to take action against the Islamic Republic, will have [access to a]




13
   Adam Entous and Jessica Donati, “How the U.S. Tracked and Killed the Leader of the Taliban,” The Wall Street
Journal, May 25, 2016, https://www.wsj.com/articles/u-s-tracked-taliban-leader-before-drone-strike-1464109562.
14
   Fatemeh Aman, "Iran-Taliban growing ties: What’s different this time?," IranSource, February 16, 2021,
https://www.atlanticcouncil.org/blogs/iransource/iran-taliban-growing-ties-whats-different-this-time/.
15
   Roshan Noorzai, Iran Cultivates Taliban Ties to Gain Leverage, Experts Say, VOA, February 12, 2021,
https://www.voanews.com/extremism-watch/iran-cultivates-taliban-ties-gain-leverage-experts-say.
16 “Iran is in Contact with the Taliban of Afghanistan for Intelligence,” Tasnim News, December 11, 2016,

https://www.tasnimnews.com/fa/news/1395/09/20/1263773/%D8%A7%DB%8C%D8%B1%D8%A7%D9%86-
%D8%A8%D8%A7-%D8%B7%D8%A7%D9%84%D8%A8%D8%A7%D9%86-
%D8%A7%D9%81%D8%BA%D8%A7%D9%86%D8%B3%D8%AA%D8%A7%D9%86-%D8%A8%D9%87-
%D8%AC%D9%87%D8%AA-%DA%A9%D9%86%D8%AA%D8%B1%D9%84-
%D8%A7%D8%B7%D9%84%D8%A7%D8%B9%D8%A7%D8%AA%DB%8C-%D8%AA%D9%85%D8%A7%D8%B3-
%D8%AF%D8%A7%D8%B1%D8%AF.

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military base in [Farah], in addition to Farah airport.” Therefore, the Taliban formed a

buttressing element.17

IRAN’S LINKS IN BAGRAM

        Building out a stronger geo-strategic position in bordering states has been of utmost

importance for Iranian policymakers. The targeting of U.S. troops in Bagram by the Taliban (or

its affiliates) with Iranian assistance makes further strategic sense to Tehran. Bagram Airbase, a

main hub for U.S. military presence in Afghanistan, was noted in one Wall Street Journal article

as, “Wedged between Iran and China, the Afghanistan location can’t be beat.”18

        Iran has reportedly paid bounties, particularly in the Bagram area. As late as December

2020, sources related to the U.S. Department of Defense told CNN that the Islamic Republic of

Iran was engaged in paying bounties to local Taliban factions and elements linked to the al-

Qa’ida and Taliban affiliated Haqqani Network.19 Attacks associated with these bounties can be

assessed to include IED and EFP, small arms, and rocket attacks, based on the variety of attacks

that have occurred in the area since 2003.

IEDS, IRAMS, & ROCKETS

        The Improvised Explosive Device (IED) is a weapon system that has been around long

before the dawn of dynamite. While the Department of Homeland Security described the weapon

as a “’Homemade bomb’ and/or destructive device,”20 Iran has supplied many of its proxy forces



17
   “‫ والی ت «ف راه» و ن زدی ک‬،‫ طال بان‬:‫” گ زارش وی ژه ت س ن یم‬,‫ت ری ن پ ای گاه ن ظامی آمری کا ب ه خاک ای ران‬Tasnim News,
March 7, 2017, https://www.tasnimnews.com/fa/news/1396/12/16/1667788/‫شرازگ‬-‫وی ژه‬-‫ت س ن یم‬-‫طال بان‬-‫والی ت‬-
‫ف راه‬-‫و‬-‫ن زدی ک‬-‫ت ری ن‬-‫پ ای گاه‬-‫ن ظامی‬-‫آمری کا‬-‫ب ه‬-‫خاک‬-‫ای ران‬
18
   William Lloyd Stearman, Why Give Away Bagram Air Base?, Wall Street Journal, May 19, 2021,
https://www.wsj.com/articles/why-give-away-bagram-air-base-11621463794.
19
   Zachary Cohen, “US intelligence indicates Iran paid bounties to Taliban for targeting American troops in
Afghanistan,” CNN, August 17, 2020, https://www.cnn.com/2020/08/17/politics/iran-taliban-bounties-us-
intelligence/index.html
20
   "IED Attack Improvised Explosive Devices," News & Terrorism: Communicating in a Crisis, Department of
Homeland Security, https://www.dhs.gov/xlibrary/assets/prep_ied_fact_sheet.pdf.

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with an industrialized ability to build and deploy IEDs. This coincides with training regimens for

these proxies to more effectively used these systems. Iranian-backed groups in Lebanon

(Lebanese Hizballah) and Iraq (Asa’ib Ahl al-Haq, the Badr Organization, Kata’ib Hizballah,

Kata’ib Sayyid al-Shuhada, and others) have pioneered the industrial use of IEDs, particularly

buried varieties to target Western foes.21 These buried IEDs have continued to be used by Iranian

front groups in Iraq against logistical vehicles supplying U.S. troops.22

         A development on the IED has been the Explosively Formed Penetrator or EFP. The EFP

often uses an explosion caused by an IED to turn a piece of metal (often copper) over the IED

into a molten metallic projectile that can penetrate The high level of Iranian involvement in EFP

development and deployment in Iraq led the Washington Post to headline one article with

“Soleimani’s legacy,” a reference to slain IRGC-QF commander Qasim Soleimani, “The

gruesome, high-tech IEDs that haunted U.S. troops in Iraq.”23

         While rocket systems, particularly the Katsuya are quite ubiquitous in most conflict

zones, Iran has specialized in supplying these weapons systems to conflict zones.24 Many of

these weapons systems are the first to be supplied or demonstrated by groups with links to Iran.25

The Improvised Rocket Assisted Munition or IRAM has been another tool heavily utilized by

Iranian proxies. This was the particular case in Iraq. Starting with factions of Muqtada al-Sadr’s


21
   Nicholas Blanford, Warriors of God: Inside Hezbollah's Thirty-Year Struggle Against Israel, (New York: Random
House, 2011) P. 444. Matti Friedman, Pumpkinflowers: A Soldier's Story of a Forgotten War, Chapel Hill: Algonquin
Books, 2017), P. 132. See also: Samuel M. Katz, The Ghost Warriors: Inside Israel's Undercover War Against Suicide
Terrorism, (New York: Random House, 2016). In Katz’s book, he discusses Lebanese Hizballah’s master-level skills
in training other proxies of Iran in the use of IED technology and camouflage techniques.
22
23
   Alex Horton, “Soleimani’s legacy: The gruesome, high-tech IEDs that haunted U.S. troops in Iraq,” Washington
Post, January 3, 2020, https://www.seattletimes.com/nation-world/soleimanis-legacy-the-gruesome-high-tech-
ieds-that-haunted-u-s-troops-in-iraq/.
24
   Shaan Shaikh "Iranian Missiles in Iraq," CSIS, December 11, 2019, https://missilethreat.csis.org/iranian-missiles-
in-iraq/.
25
   Note: Examples include various Palestinian “Resistance Factions” in Gaza, the Bahraini Saraya al-Mukhtar, and
Syrian Shia groups controlled by Lebanese Hizballah.

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Jaysh al-Mahdi, then the more directly Iranian-controlled Kata’ib Hizballah and Asa’ib Ahl al-

Haq, all utilized different types of IRAM against U.S. and Coalition forces during the Iraq War

(2003-2011). Kata’ib Hizballah also turned the IRAM into a major propaganda tool. The group

commissioned a website,26 a song,27 and propaganda news articles to celebrate the weapons

system.28 With these weapons, large drums would be filled with explosives, ball bearings, and

other frangible material.29

ANALYZING THE DEPOSITIONS

         Shaun Cook: The November 17, 2007 rocket attack discussed during the deposition

clearly refers to an IRAM strike on the Rustimayah Base. Kata’ib Hizballah, a group under the

direct control of the Islamic Republic of Iran and their IRGC-QF claimed an attack on the base

using a specialized IRAM device named the al-Ashtar Rocket. In fact, this was one of the first

publicly claimed operations by Kata’ib Hizballah when using this device.30 On November 17-18,

2007 two attacks on Al-Shaab and Al-Rustimayah were claimed as demonstrations of the new

weapon’s capability.31 From January 1, 2007-December 1, 2007 Kata’ib Hizballah listed 25

attacks against Rustimayah. This would make the site one of the most popular sites for Kata’ib

Hizballah to bombard in 2007.32 Thus within a reasonable degree of certainty based on my


26
   See: https://www.alashtr.com.
27
   See: “#‫األ ش ترص اروخ هللاحزب ك ت ائبصواري خ األ ش تر‬,” YouTube, March 3, 2021,
https://youtu.be/eSdtmenSr6M.
28
   “‫االم ري ك ان وح ير ةال موت ”ا ش تر”و هللاحزب ك ت ائب‬,” Al-Ebaa, February 15, 2016,
https://www.alebaa.tv/2016/02/15/53335/.
29
   “Improvised Rocket-Assisted Munitions (IRAM),” JIEDDO,
https://admin.govexec.com/media/gbc/docs/pdfs_edit/jieddo_ied_tri-fold_v3sm.pdf
30
   See: “‫ال م ق اوم ة سجل م ن‬.. ‫ف ي االم ري ك انت س ت ه دف ن وع ي ة ب ع م ل ي ة ”اال ش تر“ عن ال س ت ار ت زي ح هللاحزب ك ت ائب‬
‫ب غ دا د‬,” al-Ashtar, September 14, 2017, https://www.alashtr.com/2017/01/19/367/. Note: “Al-Ashtar” is a website
that is run by Kata’ib Hizballah-linked figures. It promotes the use of the IRAM of the same name.
31
   Note: Included is a video of an attack on the al-Sha’ab base which occurred in conjunction with the Ashtar rocket
attack on Rustimayah on the same date: https://kataibhezbollah.me/attack/2610.
32
   Rocket attack on attack on Rustimayah on December 1, 2007: https://kataibhezbollah.me/attack/2297
Rocket attack on attack on Rustimayah on December 1, 2007: https://kataibhezbollah.me/attack/2269.
Rocket attack on attack on Rustimayah on November 1, 2007: https://kataibhezbollah.me/attack/2196.

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knowledge and expertise, it is my opinion that this attack was committed with Iranian support,

inspiration, and funding.

        Frida Catherine Nichole (Nicole Frida) Deposition: Ms. Frida refers to a rocket attack

and then an IED attack in Baghdad that targeted sites she was working in. It was unclear if this

occurred at the Camp Victory site or closer to the IZ (Baghdad Green Zone). However, Kata’ib

Hizballah did claim a number of attacks on both sites during this period.33 Camp Victory, near

Baghdad Airport was a favored target for Kata’ib Hizballah and Asa’ib Ahl al-Haq. In fact,

Iranian-backed Iraqi Shia militia forces drastically upped their attacks against U.S. forces during

the 2010-2011 pullout period.34 Thus within a reasonable degree of certainty based on my

knowledge and expertise, it is my opinion that this attack was committed with Iranian support,

inspiration, and funding.


Rocket attack on attack on Rustimayah on October 20, 2007: https://kataibhezbollah.me/attack/2202.
Rocket attack on attack on Rustimayah on September 26, 2007: https://kataibhezbollah.me/attack/2208.
IED attack on Rustimayah on September 22, 2007: https://kataibhezbollah.me/attack/1995.
IED attack on Rustimayah on September 16, 2007: https://kataibhezbollah.me/attack/1917.
Rocket attack on Rustimayah on August 26, 2007: https://kataibhezbollah.me/attack/2207.
Rocket attack on Rustimayah on August 19, 2007: https://kataibhezbollah.me/attack/2565.
Rocket attack on Rustimayah on July 30, 2007: https://kataibhezbollah.me/attack/2210.
IED attack on Rustimayah on July 21, 2007: https://kataibhezbollah.me/attack/1975.
Rocket attack on Rustimayah on July 20, 2007: https://kataibhezbollah.me/attack/2566.
Rocket attack on Rustimayah on July 15, 2007: https://kataibhezbollah.me/attack/1928.
Rocket attack on Rustimayah on July 15, 2007: https://kataibhezbollah.me/attack/2198.
Rocket attack on Rustimayah on June 25, 2007: https://kataibhezbollah.me/attack/2206
Rocket attack on Rustimayah on June 17, 2007: https://kataibhezbollah.me/attack/2200.
Rocket attack on Rustimayah on May 20, 2007: https://kataibhezbollah.me/attack/2528.
Rocket attack on Rustimayah on May 12, 2007: https://kataibhezbollah.me/attack/1938.
Rocket attack on Rustimayah on May 5, 2007: https://kataibhezbollah.me/attack/1970.
Rocket attack on Rustimayah on April 15, 2007: https://kataibhezbollah.me/attack/2071.
Rocket attack on Rustimayah on April 5, 2007: https://kataibhezbollah.me/attack/1945.
Rocket attack on Rustimayah on April 3, 2007: https://kataibhezbollah.me/attack/2529.
Rocket attack on Rustimayah on January 22, 2007: https://kataibhezbollah.me/attack/2205.
Rocket attack on Rustimayah on January 15, 2007: https://kataibhezbollah.me/attack/1941.
Rocket attack on Rustimayah on January 9, 2007: https://kataibhezbollah.me/attack/1949.
33
   Rocket attack on Baghdad/Camp Victory July 15, 2007: https://kataibhezbollah.me/attack/2612.
34
   Interview with former senior U.S. policymaker (anonymous) for Iraq, May 2, 2021. See also: Tim Craig and Ed
O'Keefe, Washington Post, June 30, 2011, "U.S. military says Iran behind rising deaths," June 30, 2011,
https://www.washingtonpost.com/world/3-us-troops-killed-in-iraq-adding-to-deadly-
month/2011/06/30/AGrDQprH_story.html.

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       Joseph James III Deposition: The Taliban has independently launched attacks using

powerful IEDs since 2003. Nevertheless, new methods learned from the Iranians through

elements linked to some Taliban factions, including the Haqqani network. However, links to

Iranian interference in Bagram (see above) are present in a number of attacks as described by

Mr. James. Burying IEDs has a direct link to Lebanese Hizballah, other Iraqi Shia, and Iraqi

Sunni groups supplied by Iran. The tactic was spread around to other factions by IRGC trainers

and at the very least this has filtered down to Taliban, al-Qa’ida, and Haqqani Network factions

in Afghanistan and Pakistan. Thus within a reasonable degree of certainty based on my

knowledge and expertise, it is my opinion that this attack was committed with Iranian support,

inspiration, and funding.

       Randall Burns Declaration: Mr. Burns states that he was injured in the January 4, 2016

attack on Camp Sullivan in Afghanistan. I have previously submitted a report detailing Iran’s

role in this attack in Hammons, et al. v. Iran Case No 19-cv-02518 (D.D.C.). I’ve attached that

report as exhibit A and incorporate that opinion with respect to Mr. Burns. Thus within a

reasonable degree of certainty based on my knowledge and expertise, it is my opinion that this

attack was committed with Iranian support, inspiration, and funding.

COMPENSATION

My rates for expert work are $325.00/hour

PRIOR TESTIMONY

I have not given a deposition or trial testimony in the last four years.


Signed this 12th day of July, 2021.                    __/s/ Phillip Smyth___________________
                                                       Phillip Smyth




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           Exhibit 3
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                      UN ITED STA TES DIS TR ICT CO UR T

                      FOR THE DISTRICT OF C OL U MB IA



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      DANI E L BOTT O RFF, et al.,              )

                               Plaintiff s,     ) Ci vi l Act io n N o.

            v.                                  ) 18 -3122 ( CKK )

      THE I SL AMIC REPUBLI C OF IRAN,          )

                               Defe ndant.      )

      ---- - -- ---- - ------- ---------- -x




                   RE MO TE VIDEOTAPED DE P OS IT IO N ON

                            ORAL EXAMINA TIO N OF

                              CHASE B. CUL LEN

                               AUST IN, TEX A S

                              MARCH 25, 20 21




      Tran s cr ibed by:
      Lesl i e A. T o dd, CSR No 5129 a nd R PR
      Vall e y Cent e r, Cali fornia 920 82
      Lesl i ea todd 2 001@yah oo.com
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                                                                             2


 1                          P R O C E E D I N G S

 2                              - ------------ --- --

 3                     MR. TRAVERS:       This i s th e v id eo tap ed

 4    depo s it ion o f Chase Cullen, w ho 's a se rv ic ema n for

 5    the U .S . mi l itary.         While on ac ti ve du ty i n I ra q,

 6    he s u ff ered injurie s due to a n Ir an i an

 7    manu f ac ture d muniti ons.

 8                     This case ha s been f il ed b e fo re th e

 9    U.S. Di stri c t Court for the D is tr ic t o f Co lum bi a,

10    styl e d Bo tt orff v. Islamic R e public of Ir an ,

11    et a l .

12                     I'm Jeffrey Travers .        I' m l oc at ed in

13    Oran g e, Vir g inia.        I'm an att or ne y w it h th e M il ler

14    firm .       Toda y 's date is March 25 th , 2 02 1.

15                               C HASE B. CU LL EN ,

16                     having first been d u ly s wo r n, w as

17                     deposed, and testif i ed a s f ol lo ws:

18                                   EXAMINATI ON

19    BY M R . TRAV E RS:

20             Q       Ca n you state your ful l na me fo r t he

21    reco r d?

22             A       Ye s, si r.     My name is Ch as e B ra dfo rd

23    Cull e n.

24             Q       Ok ay.

25                     And where ar e you l o ca te d t od ay ?      Or
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                                                                           3


 1    what to wn?

 2            A      Cu r rent ly, I 'm in A u st in , T ex as ,

 3    down t ow n.

 4            Q      Ok a y.

 5                   And w ha t 's y ou r d at e o f bir th?

 6            A      My date of b ir th is                  ,

 7            Q      Ok a y.

 8                   Whe r e ab o ut s di d y ou go t o h igh s ch o ol?

 9            A      I a tten ded h ig h s ch o ol a t T hr ee Ri ve r s

10    Inde p en dent Sc hoo l Di str ict , as wel l a s S a n A ng e lo

11    Inde p en dent Sc hoo l Di str ict at Cent ral Hi g h

12    Scho o l.

13            Q      Ok a y.

14                   And d id yo u en t er t h e mi lit ary

15    imme d ia tely af ter h ig h s cho o l?

16            A      Ye s , ma 'am - - or, e x cu se m e - - yes , s i r.

17    Imme d ia tely fo llo wi ng , I en t ere d in to the Nat io n al

18    Guar d , and t he n e ve nt ual ly t ran siti one d o n to

19    acti v e duty af ter wa rd s.

20            Q      Al l rig ht.

21                   And w ha t y ea r d id y o u en ter int o t h e

22    Nati o na l Gu a rd ?

23            A      My orig ina l en lis tm e nt w as 20 02 .

24            Q      Ok a y.

25                   And w ha t y ea r d id y o u tr ans itio n f r om
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 1    the N at iona l Guard into the m il it ar y ?

 2             A     It was January 1st, 20 07 .

 3             Q     An d how long w ere y ou in t he mi lit ar y?

 4             A     Co mbine d, just shor t o f 14 ye ar s.         A bo u t

 5    13 y e ar s an d nine m onths.

 6             Q     Ok ay.

 7                   And when did you le a ve - - a re y ou st il l

 8    in t h e mili t ary?

 9             A     No .     I transit ioned ou t of th e Arm y

10    unde r h onor a ble ser vice -- un de r ho n or ab le

11    disc h ar ge o n August 1st, 2015 .

12             Q     Oh , oka y.

13                   And what was your r a nk w he n y ou le ft t he

14    Army ?

15             A     I was s ergeant E-5.

16             Q     Oh , oka y.

17                   And how many tours o f du ty di d you h av e?

18             A     I had f our sep arate to ur s of du ty, a ll

19    in I r aq .

20             Q     Ok ay.

21                   And we're go ing to t al k ab o ut t hat

22    expl o si on t h at occu rred in Ma rc h 20 1 3, b ut -- w ere

23    ther e a ny o t her exp losions or a tt ac k s yo u

24    expe r ie nced besides that one?

25             A     Ye s.     J anuary 5th, 201 0.
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 1                   Yeah, those are the tw o.

 2            Q      Oh , oka y.

 3                   And -- all r ight.        A nd w ha t w er e y ou r

 4    duti e s -- o r , actua lly -- wha t un it we re y ou

 5    serv i ng in i n Iraq during 201 3?

 6            A      Du ring both in stanc es, I w as as sig ne d t o

 7    Brav o T roop 1-7-CAV , 1st Brig ad e, 1 s t Ca lv ary

 8    divi s io n.

 9            Q      Al l rig ht.

10                   And what wer e you d u ti es d u ri ng yo ur - -

11    well , f irst during your 2013 to ur a n d al so du ri ng

12    your 20 10 t o ur?

13            A      Du ring my tour in 2 013 - - and t hat y ea r

14    mayb e i s li s ted inc orrectly.

15                   So 2013 is g oing to be C ON U S ti me.          I

16    woul d h ave b een bac k home by th en .

17            Q      Oh , oka y.

18            A      My last tour, and w hat y ou mi gh t b e

19    refe r ri ng t o , would have been 2 01 1- 2 01 2.

20            Q      Oh , oka y.

21            A      Du ring that ti me fr ame - - tha t was m y

22    four t h depl o yment o verseas -- m y re s po ns ib ili ti es

23    were , I was designa ted as a t ru ck c o mm an de r f or a

24    conv o y esco r t team, escorting c iv il i an 1 8- whe el er

25    oper a to rs a n d drive rs in and ou t of th e co unt ry in
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 1    an e f fo rt t o drawdo wn during th e tr a ns it io n f ro m

 2    Oper a ti on I r aqi Fre edom into Op er at i on E nd uri ng

 3    Free d om .     A n d essen tially our r es po n si bi li tie s

 4    were to dra w down an d to assis t wi th cl os in g o ut

 5    oper a ti ons i n Iraq, to move e qu ip me n t an d goo ds

 6    and s er vice s from p ersonnel o ut o f t he c ou ntr y.

 7            Q        An d I a pologiz e.    I ha d a typ o in my

 8    note s .      It w as 20 - - yeah, 20 13 .     T h at w as my

 9    mist a ke , an d I apol ogize.

10            A        Th at's fine.

11            Q        So , I'd like t o tal k a bo ut th e att ac k o n

12    Janu a ry 5th , 2010.

13            A        Ok ay.

14            Q        An d can you -- can you g iv e u s as mu ch

15    deta i l as y o u can a bout the g eo gr ap h ic l oc ati on ,

16    if y o u can r ecall?

17            A        Ye s.    W e were -- at th e ti me of th e

18    expl o si on, w e were located ap pr ox im a te ly 3 00

19    mete r s sout h -centra l of a sma ll t ow n c al le d

20    Huss a in iya i n Iraq.       It's app ro xi ma t el y 20 mi le s

21    nort h o f Sa d r City.       We were en te ri n g in to th e

22    city fr om a very la rge open a nd d es o la te f iel d to

23    the s ou th t h at was a common a cc es s p oi nt f or us as

24    a un i t.      An d when w e did most o f ou r o pe ra tio ns in

25    the t ow n, w e approa ched from th e so u th , be cau se
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 1    our j oi nt s e curity station wa s lo ca t ed a no the r

 2    kilo m et er o r so sou th of the ci ty .

 3             Q       Ok ay.

 4             A       So geog raphica lly w e w er e on th e b or de r

 5    or o n t he e d ge of t he souther n pa rt of t ow n,

 6    cent r al ly l o cated o n the city .

 7             Q       Ye ah.

 8                     And what typ e of ve h ic le w e re y ou in a t

 9    the t im e?

10             A       At the time, w e wer e i n a 115 1 -- M- 11 5 1

11    high mo bili t y, mult i-wheel pu rp os e v eh ic le .         We

12    were in a H u mvee.

13             Q       Ok ay.

14             A       An up-a rmored Humve e.

15             Q       Oh , oka y.

16                     And how many vehicl e s we re in y our

17    conv o y?

18             A       Th ere w as thre e tot al.

19             Q       An d wer e you a t the fr on t or mi ddl e or

20    end?

21             A       No , I w as in t he mi ddl e.    My tr uck

22    comm a nd er w a s the p latoon lea de r as li eu te nan t.

23    He t y pi call y rode m iddle posi ti on i n t he v ehi cl e

24    line .       And o ur orde r of march a lm os t a lw ay s

25    incl u de d hi m somewh ere in the m id dl e .
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 1            Q       Ye ah, o kay.

 2                    And what was the pu r po se - - o r why w er e

 3    you t ra vell i ng on t hat day, o r wh at we re y ou do ing

 4    that da y?

 5            A       So , we were do ing s ome th in g c al led a

 6    left - se at/r i ght-sea t ride.      O ur r ep l ac em en t h ad

 7    arri v ed at o ur join t security s ta ti o n, a nd we w ere

 8    fami l ia rizi n g them with the l oc al a r ea , wi th th e

 9    loca l p opul a tion.     We were es se nt ia l ly g iv ing t hem

10    a to u r/ guid e of the area, and s ho wi n g th em ar ea s

11    of i n te rest , hotspo ts, and th in gs t h at t he y n ee ded

12    to b e k ept o f aware of while th ey t r an si ti one d

13    into ou r po s ition t o take ove r ou r d ut ie s.

14                    So, we were prepari n g to d r aw do wn fr om

15    the c ou ntry when th is happene d, a nd we w er e o ut

16    that da y to show th em around.

17            Q       Ok ay.

18                    And how long did yo u h av e l ef t in yo ur

19    tour wh en t h is occu rred?

20            A       A littl e less than a w ee k.

21            Q       Ok ay.

22                    And can you describ e w ha t h ap pe ned

23    duri n g the e xplosio n -- befor e an d d ur in g the

24    expl o si on?

25            A       So , bef ore we came to th e sou th si de o f
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 1    the t ow n wh i le we w ere making o ur a p pr oa ch , w e

 2    disc o ve red a small, anti-pers on ne l l an d mi ne.         We

 3    clea r ed it, and cal led the ex pl os iv e o rd na nce

 4    disp o sa l te a m from our base t o co me re co ve r i t.

 5    When -- whi l e they were busy do in g t ha t, w e l ef t

 6    and h ea ded f urther north towa rd s th e c it y, an d as

 7    we a p pr oach e d, we t ook the mo me nt a s a o pp ort un ity

 8    to s h ow som e of the chokepoin ts i n t he a re a t o the

 9    unit th at w a s trave ling with us .         W e p ut o ur

10    dism o un ts o u t on th e ground a nd t he y w al ke d t he

11    chok e po int, which w as a small c an al br id ge th at

12    went ov er, o bviousl y, a canal .

13                   There was a constru c ti on s i te n ear by , so

14    ther e w ere s everal spoiled pi le s or pi le s of di rt

15    to t h e left and the right.          A nd o ur di sm ou nts

16    walk e d invi s ibly -- visually cl ea re d t he

17    chok e po int b efore w e came thr ou gh w i th t he

18    vehi c le s.   T here wa s some rad io i nt e rf er en ce, a nd

19    I wa s n' t ab l e to co mmunicate ov er t h e ra di o w it h

20    our d is moun t s, but I was stil l ab le to m ak e e ye

21    cont a ct and they wa ved us thr ou gh .         As w e -- as I

22    -- s o , our s enior s cout's veh ic le w a s in f ron t, he

23    was d is moun t ed at t he time, b ut h is dr iv er an d

24    gunn e r were both in the vehic le .          T h ey m ov ed

25    forw a rd fir s t.    Mys elf and th e li eu t en an t and m y
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 1    driv e r, we d rove fo rward afte r th em , a nd o ur re ar

 2    elem e nt cam e behind us a few se co nd s l at er .           As we

 3    went th roug h the ch okepoint, it w as sh ap ed in k ind

 4    of a n s -cur v e.

 5            Q       Ye ah.

 6            A       We woul d come in an d t ur n lef t and t he n

 7    turn ba ck r i ght aga in.       When we c ro s se d ov er th e

 8    cana l , an e x plosion went off in f ro n t of u s.            I

 9    didn ' t see a nything after the e xp lo s io n, a nd mo st

10    of - - r eall y , the o nly thing I re me m be r ab out i t

11    was b ei ng l i fted up out of th e tu rr e t, a nd I wa s

12    slam m ed int o the ov er-shield th at w a s mo un ted o ver

13    my h e ad .    M y 240 Br avo machin e gu n w as t hr own o ut

14    of t h e moun t .    I di dn't have a lo ck i ng p in in t he

15    pint l e, and it slam med into m e an d k no ck ed me b ack

16    down in side the tru ck.

17                    And at some point, I w as u n co ns cio us .            I

18    don' t k now e xactly how long I w as o u t.          It

19    coul d n' t ha v e been any longer t ha n 3 0 se co nds .

20    But w he n I w oke bac k up, I wa s la yi n g wi th my h ead

21    agai n st the radio o n the insi de o f t he t ru ck.               I

22    stoo d u p, a n d there was a lot o f sm o ke .         T her e was

23    a fi r e in t h e truck in front of u s.          O ur s eni or

24    scou t 's veh i cle was on fire b ec au se th ey h ad ta ken

25    the b la st.     And we pulled our v eh ic l e in f ron t of
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 1    thei r s to s t op -- t o stop it fr om r o ll in g for wa rd

 2    when it was obvious that the dr iv er wa sn 't ab le to

 3    stop th e ve h icle.

 4                   Once we stop ped it, al l of ou r dis mo un ts

 5    rush e d in a n d pulle d the driv er a nd th e gu nne r

 6    both ou t.     T he driv er had suf fe re d s om e sh rap ne l

 7    to h i s eye, had los t a thumb, a nd h a d su pe rfi ci al

 8    shra p ne l wo u nds all over his bo dy .        Th e gu nne r,

 9    Serg e an t Kr o ft, he was hit wi th t he la rg es t p ar t

10    of, w el l, w h at was explained to m e l at er w as an

11    EFP o r a tr i ple arr ay EFP.        I t ha d h it h im in t he

12    top p or tion of his thighs, an d we nt al l th e w ay

13    acro s s, sev e ring hi s femoral ar te ry on b ot h s id es

14    and o n each leg.        A nd we work ed f or ap pr ox ima te ly

15    12 m i nu tes t o susta in him whi le t he me de va c

16    arri v ed .   W h en it d id, we dro ve h im an d th e

17    inju r ed sol d iers on the hood of m y v eh ic le an ot her

18    200 m et ers s outh of where it ha d de t on at ed an d set

19    up a n L Z.

20                   When the Bla ckhawks la nd ed , w e loa de d

21    them in to t h e vehic le, and th en w en t b ac k to th e

22    expl o si on s i te to q uestion so me l oc a l na ti ona ls

23    that we re i n the ar ea, and to w or k w it h EO D t o

24    perf o rm a p o st-blas t analysis , an d t o fi nd ou t

25    what ex actl y had hi t us and h ow i t w as d et ona te d.
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 1            Q      An d wha t -- an d the ve hi cl e t ha t g ot

 2    hit, wh at t y pe of v ehicle was t ha t?

 3            A      It was also th e sam e m ak e and m ode l, a

 4    Humv e e.

 5            Q      An d did you ge t a c han ce t o s ee th e

 6    dama g e to t h e vehic le?

 7            A      Ye s.     A fter th e veh icl e wa s b ro ugh t ba c k

 8    to t h e base , myself and the s en io r s co ut a nd my

 9    driv e r all v oluntee red to go ou t an d r ec ov er

10    shra p ne l fr o m the i nside of t he v eh i cl e.

11            Q      An d, if you ca n, ca n y ou d esc ri be wh at

12    the v eh icle looked like?

13            A      Ye ah.

14            Q      Wh ere t he dama ge wa s a nd - - o r --

15            A      Th ere w as a ve ry la rge h ol e, ab out t he

16    size of my f ist, in the drive r' s si d e do or as w ell

17    as t h e pass e nger's side door be hi nd th e dr ive r --

18    sorr y , excu s e me -- on the pa ss en ge r 's s id e.        S o,

19    the T C' s do o r and t he door be hi nd t h e TC , whi ch is

20    all b ot h on the pas senger's s id e, b o th h ad a ho le

21    in i t a bout large e nough to p ut y ou r h an d thr ou gh.

22            Q      Ri ght.

23            A      An d the n on th e ins ide o f the v ehi cl e,

24    the p ro ject i le that had passe d th ro u gh h ad

25    esse n ti ally turned to shrapne l an d b ou nc ed ar ou nd
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                                                                          13


 1    insi d e the v ehicle.

 2            Q        Ye ah.

 3            A        Be cause of the way -- be ca use o f t he w a y

 4    two o f the E FPs wer e facing, th ey b o th s tr uck e ach

 5    othe r b efor e hittin g the vehi cl e, a n d wh at we

 6    foun d i nsid e of the vehicle w as s hr a pn el t hat w as

 7    both co pper and ste el.

 8            Q        Mm m.

 9            A        An d the way it was exp la in ed to me l at e r

10    by o u r EOD t echs is that they u se d e xp lo si ve

11    weld i ng to c ause so mething th at h ad th e he at

12    rete n ti on o f copper but the d en si ty of s te el to

13    hit t he veh i cle wit h.

14            Q        Ok ay.

15            A        An d tha t's why it p eel ed t hro ug h a nd

16    then tu rned to shra pnel after wa rd s.          S o ev ery th ing

17    insi d e of t h e vehic le that ha d a ho l e in i t, we

18    were ab le t o pull s hrapnel ou t th at wa s pa rt

19    copp e r and p art ste el togethe r.

20            Q        An d it sounds like you h av e s om e

21    expe r ti se i n identi fying thos e ty pe s o f bo mbs .       Is

22    that co rrec t , or is that just f ro m y ou r

23    expe r ie nce?

24            A        I' ve de alt wit h EFP s b ef or e, yo u k no w,

25    pre- an d po s t-blast s.
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                                                                           14


 1            Q      Ye ah, y eah.

 2            A      So , I'v e had - - tha t's c er tai nl y t he

 3    firs t t ime I 've eve r seen one t ha t w as s et up t o

 4    -- t h e firs t time I 've ever s ee n tw o t ha t wer e set

 5    up t o s trik e each o ther befor e hi tt i ng t he ta rg et

 6    like th at.

 7            Q      Oh , oka y.

 8            A      It was incredi bly g eni us .        I' ve ne ve r

 9    seen an ythi n g like that, and th e am o un t of da ma ge

10    it d i d was i ncompar able.       I'v e se en se ve ra l E FP --

11    well , I 've s een the damage it d oe s t o se ve ral

12    vehi c le s, a n d I've never seen t ha t t yp e of da ma ge

13    done by an E FP.        Us ually it's j us t a v er y lar ge

14    hole , a nd i t will p ass throug h an d c on ti nu e t o

15    dama g e thin g s in it s path.       B ut t hi s t yp e man ag ed

16    to g o t hrou g h, and then spall i n se v er al - -

17    seve r al sma l l piece s.

18            Q      Ye ah, o kay.

19                   And when -- and can yo u ju s t -- wh en y ou

20    say t ri ple a rray, w hat do you m ea n b y th at ?           Or if

21    you - - for a lay-pe rson.

22            A      So ther e were three se pa ra te ex plo si ve l y

23    forc e d proj e ctiles --

24            Q      Ok ay.

25            A      -- set up insi de th e m ou nd of d irt o n
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 71 of 358
                                                                        15


 1    the r ig ht s i de of t he s-curve , as w e w en t thr ou gh,

 2    of c o ur se, n one of them were vi si bl e , th ey we re

 3    cove r ed .    O n e of th em was fir ed o r d et on at ed

 4    inde p en dent l y of th e other tw o.       It wa s al so

 5    copp e r.     Th e other two were d et on at e d

 6    simu l ta neou s ly and, one was p oi nt ed sl ig ht ly up ,

 7    the o th er w a s point ed slightl y do wn .        Th ey we re

 8    posi t io ned a t highe r and lowe r el ev a ti on s on th e

 9    dirt pi t, o r around the dirt bu rn .

10                     And so, esse ntially , y ou h a ve t hre e

11    expl o si ons g oing of f at once:        Th re e s ep ar ate

12    proj e ct iles being f orcefully th ro wn at t he ve hi cle

13    at a hi gh v e locity with a lar ge a mo u nt o f hea t

14    behi n d them .

15            Q        Ok ay.

16            A        An d whe n I say trip le ar ra y, I jus t me a n

17    thre e s epar a te EFPs faced in th re e s ep ar at e

18    dire c ti ons.

19            Q        Al l rig ht.

20                     And were the re any e ne my c o mb at ant s in

21    the a re a th a t you'r e aware of ?

22            A        We susp ected t wo lo cal n at ion al s o f

23    havi n g some t hing to do with s om e pa r t of t he

24    expl o si on, b ut we w ere never -- w e w er en 't ab le to

25    esta b li sh w h ether o r not they w er e i nv ol ve d.
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                                                                         16


 1             Q       Al l rig ht.

 2                     And do you k now how th ey w e re s et of f?

 3    And i f ther e 's any classified i nf or m at io n, yo u can

 4    just -- you don't h ave to ans we r it , b ut - -

 5             A       So they were r emote de to na ted a t t he

 6    time .       But t he meth od that wa s do ne , a s fa r a s I

 7    know an d th e last I checked, it w as st il l

 8    clas s if ied a nd was highly sen si ti ve .        Bu t I c an

 9    tell yo u it was nev er -- it h ad n ev e r be en se en

10    befo r e by a n ybody i n the EOD co mm un i ty , an d i t

11    defe a te d ou r counte r radio wa ve d et o na ti on

12    tech n ol ogy t hat we carried in o ur v e hi cl es .

13             Q       Al l rig ht.

14                     So, it was a n extre m el y so p hi st ica te d

15    weap o n?

16             A       Ye s, it was an incr edi bl y sop hi sti ca te d

17    weap o n, and it -- h ad it not be en f o r th e way i t

18    was s et up, our cou nter measu re s wo u ld h av e

19    stop p ed it f rom det onating at a ll .

20             Q       Oh , oka y.

21                     And the forc e -- so r ry - - a nd h ow fa r

22    away wa s yo u r vehic le from th e le ad ve hi cl e

23    that --

24             A       Yo u kno w, I wi sh I cou ld t ell y ou th at

25    we w e re spa c ed apar t, the way w e' re su pp os ed to
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 1    be, b ut unf o rtunate ly we were n' t.         W e we re

 2    prob a bl y le s s than 20 feet fr om t he ve hi cl e i n

 3    fron t o f us when it detonated .

 4            Q        Al l rig ht.

 5                     And it still had a t re me nd o us i mpa ct o n

 6    your ve hicl e ?

 7            A        Oh , it did.    A nd I sti ll - - e ve ryo ne

 8    insi d e was p rotecte d, you kno w, p hy s ic al ly .

 9    Howe v er , ev e ryone i nside of m y ve hi c le s us tai ne d a

10    trau m at ic b r ain inj ury.     I su st ai ne d a t ra uma ti c

11    brai n i njur y .     It p hysically li ft ed me o ut of t he

12    turr e t, and , like I said, had i t no t b ee n for t he

13    over - sh ield , I woul d have bee n co mp l et el y eje ct ed

14    out.

15            Q        Al l rig ht.

16                     And after yo u had d o ne t he

17    inve s ti gati o n, did you receiv e me di c al t re atm en t

18    afte r wa rds?

19            A        I did.   I was teste d f or t he ef fec ts o f

20    a tr a um atic brain i njury base d on a ba se li ne th at

21    I es t ab lish e d befor e I left.       S o I w as g iv en a --

22    basi c al ly a cogniti ve functio n te st as w el l a s a

23    reac t io n ti m e test --

24            Q        Ye ah.

25            A        -- for my brai n.     A nd th en , I w as gi ve n
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                                                                          18


 1    some an ti-i n flammat ory medica ti on t o h el p wit h

 2    head a ch es, a nd it w asn't unti l we ek s l at er , g oi ng

 3    thro u gh a r e verse-d eployment pr oc es s t ha t I w as

 4    eval u at ed w i th the intra -- t ra um at i c br ai n

 5    inju r y.

 6            Q      Ye ah.

 7                   And are you still a lo t -- di d you

 8    rece i ve any -- have you -- no , so rr y - - ha ve yo u

 9    rece i ve d an y combat awards fr om t ha t e xp lo sio n or

10    from an y ot h er -- o r from oth er p ar t s of y our

11    serv i ce ?

12            A      I recei ved sev eral com ba t- rel at ed aw ar d s

13    thro u gh out a ll four of my dep lo ym en t s.       Fo r t ha t

14    part i cu lar c ase, I was awarde d an A R CO M fo r

15    hero i sm .   A n d my dr iver was a wa rd ed an A RC OM wi th

16    valo r .

17            Q      Ye ah.

18                   And did the soldier s i n th e f ir st

19    vehi c le , di d -- wer e they -- di d th e y re co ver

20    or d i d --

21            A      Sp ecial ist (in decip her ab le ).

22            Q      -- did they --

23            A      Sp ecial ist Oma r's e ye co ul dn' t be --

24    they co uldn ' t do an ything abo ut i t.         S o he is

25    with o ut a r i ght eye .
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                                                                            19


 1            Q       Ye ah.

 2            A       An d he' s still miss ing h is th um b.        B ut

 3    he r e co vere d fairly well, all t hi ng s c on si der ed .

 4    Spec i al ist K roft di ed about f iv e ho u rs l at er af ter

 5    he w a s hit w ith the IED, and th ey w e re n' t abl e to

 6    get h is ble e ding un der contro l.          So he d id no t

 7    make it .

 8            Q       An d did you kn ow th em we ll pr io r t o th e

 9    expl o si on?

10            A       Ye ah.     There w as on ly 13 o f u s in ou r

11    sect i on , an d we ope rated inde pe nd en t ly o f our

12    Brav o s ecti o n.       So we're real ly , re a ll y cl ose .

13    Spec i al ist K roft an d I were b ot h se n t to t he

14    prom o ti on b o ard tog ether.       We b ot h h ad m ad e t he

15    cuto f f scor e for pr omotion to s er ge a nt t og eth er ,

16    and h e was p robably the close st t hi n g to a tr ue

17    peer in the unit, b ecause I w as s ti l l lo we r

18    enli s te d bu t I had been -- we 'd b ot h b ee n sel ec ted

19    for p ro moti o n.

20            Q       Mm m.

21            A       So , yea h, Spec ialis t K ro ft an d me we re

22    real l y clos e .

23            Q       I' m sor ry.

24                    And if you d on't mi n d, a nd I kn ow it 's

25    quit e d iffi c ult -- can -- did - - ca n y ou t ell m e
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                                                                          20


 1    how t he eve n ts of t hose days af fe ct yo ur l ife

 2    emot i on ally now or in the pas t?

 3            A        Em otion ally, w ell, it' s -- I re fus ed t o

 4    beli e ve tha t I had PTSD for a r ea ll y l on g tim e, so

 5    much so tha t it rui ned my mar ri ag e.          I - - and m y

 6    wife ha d tr i ed to g et me some h el p w it h it , b ut I

 7    fail e d to s e e it.      I guess it w as h a rd f or me t o

 8    ackn o wl edge that I was having t ro ub l e de al ing w ith

 9    it.    I beca m e a ver y closed-o ff a nd is ol at ed

10    pers o n.      I' m a comp lete intro ve rt .    I do n' t l ik e

11    bein g a roun d people .      I don't l ik e d ea li ng wi th

12    peop l e.      Ba s ically, I don't l ik e de a li ng w ith

13    peop l e.      I r efuse t o deal wit h pe op l e.

14                     I have a pre tty bad , n eg at i ve v iew o f

15    the w or ld, I would say.         I th in k mo s t pe op le wo uld

16    prob a bl y sa y that I have a ne ga ti ve vi ew o f t he

17    worl d .    I d o n't nec essarily t hi nk i t 's b ad , b ut --

18    ever y on e th a t I kno w has said t ha t t he y th ink i t's

19    horr i bl e.     S o I gue ss that ma ke s me ki nd o f a

20    pess i mi st n o w.    I h ave seen w ha t pe o pl e ar e

21    capa b le of, and tha t has defi ni te ly ch an ge d m e.

22                     Emotionally speakin g , I do n 't h ave m an y

23    -- a n y of t h em left .     I'm sti ll c ap a bl e of

24    laug h in g an d findin g things f un ny , b ut a s far a s

25    feel i ng hap p iness a nd joy and t hi ng s l ik e tha t, I
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                                                                              21


 1    don' t f eel t hem any more, not th e wa y I k no w t ha t I

 2    used to .     I can def initely st il l fe e l sa d.           T ha t

 3    one' s n ever going a way.

 4             Q     Ok ay.

 5                   And are you current l y be in g t re ate d fo r

 6    PTSD ?

 7             A     I was f or a wh ile.       I' ve j ust k ind o f

 8    resi g ne d my s elf to it.

 9             Q     Ye ah.

10             A     Bu t no, not cu rrent ly.

11             Q     Ok ay.

12                   And do you s till ha v e an y - - do yo u ha ve

13    -- c a n you d escribe what the ef fe ct s o f th e T BI

14    have be en?

15             A     Ye ah, I 'll be hones t, I di dn' t kno w or

16    noti c e the e ffects until my w if e ha d b ro ug ht it up

17    to m e t hat I was ha ving troub le r em e mb er in g

18    thin g s.    An d , again , I refuse d to b e li ev e it un til

19    she a sk ed m e what I had for d in ne r o ne n ig ht, a nd

20    I wa s n' t ab l e to re member wha t I ha d e at en th e

21    nigh t b efor e .    And that has n ev er c h an ge d.         T il l

22    this da y, s t ill, I can't tell y ou w h at I h ad fo r

23    dinn e r the n ight be fore.       The re a re ce rt ai n b it s

24    and p ie ces o f my da y from yes te rd ay th at a ren 't

25    ther e , whic h is fun ny 'cause I ca n r ec al l
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                                                                       22


 1    ever y th ing t hat I d id ten yea rs a go , d ow n to th e

 2    last , s mall e st deta il, but my s ho rt - te rm m emo ry

 3    has b ee n da m aged.

 4                   I've been di agnosed wi th t r au ma tic b ra in

 5    inju r y, and there's not anyth in g th a t ca n be do ne

 6    abou t i t.    B ut --

 7            Q      Ye ah.

 8            A      -- it's just k ind o f o ne o f t ho se th in g s

 9    I de a l with it.        So , I carry a no te b oo k wi th me

10    and I w rite everyth ing down n ow .

11            Q      An d -- sorry - - did yo u en ter a not he r

12    care e r when you lef t the Army ?          O r l ef t th e

13    mili t ar y?

14            A      Af ter I transi tione d f ro m the A rmy , I

15    went in to p r ivate s ecurity fo r a li t tl e bi t, an d

16    sinc e t hen, I have settled in to o cc u pa ti on al

17    safe t y for - - in th e construc ti on i n du st ry .

18            Q      Ye ah, o kay.

19                   And those ar e all t h e qu es t io ns I ha ve .

20                   Is there any thing t h at I d i dn 't as k

21    abou t t hat y ou want to tell t he c ou r t?

22            A      No .     It 's wort h men tio ni ng I' ve ha d on e

23    othe r p erso n al expe rience wit h ex pl o si ve ly fo rc ed

24    proj e ct iles , but I -- and it wa s in 20 11 , but w e

25    were in an R G-33, a nd if anyo ne 's n o t fa mi lia r
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                                                                            23


 1    with th at, i t's suc h a heavil y ar mo r ed v eh icl e

 2    that wh en w e were h it with th e EF P, it d id no th ing

 3    to t h e vehi c le.

 4            Q        Ye ah.

 5            A        An d eve ryone i nside wa s so we ll

 6    prot e ct ed t h at no o ne experie nc ed a n y TB I and

 7    conc u ss ion w ave at all.       So, ye ah - - s o I hav e had

 8    two p er sona l experi ences with E FP s d et on at ing o n

 9    me.    Ye ah.

10            Q        Al l rig ht.

11                     And sorry, I forgot to a sk , d o you h av e

12    any c hi ldre n ?

13            A        Ye s, I have fo ur li ttl e gi rls .

14            Q        Al l rig ht.

15                     And has your PTSD a f fe ct ed yo ur

16    rela t io nshi p with t hem at all ?

17            A        Ye ah.   Yeah, t he -- ye s, i t h as .       I' m

18    prob a bl y no t as swe et and car in g as I co ul d b e

19    with my kid s when I do get to s ee t h em .            A nd I

20    know th at I come of f as kind of r ou g h ar ou nd th e

21    edge s w ith t hem.       A nd I -- no ne o f t he m un der st and

22    what ' s goin g on.       I 've never ha d th e t al k wit h any

23    of t h em .     I don't t hink any o f th em ar e ol d e no ugh

24    to u n de rsta n d it, s o -- yeah, i t af f ec ts m y

25    rela t io nshi p with t hem.      And wh en I ' m -- w her e
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                                                                          24


 1    most pa rent s would feel legit im at el y e xc it ed an d

 2    over j oy ed a n d full of pride a nd h ap p in es s to se e

 3    thei r c hild r en doin g somethin g, I d o n' t.        I'm n ot

 4    able to gen e rate th ose feelin gs n at u ra ll y, an d so

 5    I ju s t kind of have to fake i t.

 6            Q      Ye ah.

 7            A      An d I w as -- I know th at 's wr on g, bu t I

 8    -- w h en you don't f eel someth in g, y o u do n' t f ee l

 9    it.

10                   MR. TRAVERS:       Yeah.

11                   And thank -- yeah, t ha nk y o u so mu ch f or

12    your te stim o ny.      I' m gonna st op r ec o rd in g, an d I

13    can - - I'll just ta lk to you fo r a c ou pl e of

14    minu t es aft e rwards if that's al l ri g ht .

15                   THE WITNESS:       All r i gh t.

16                   (Whereupon, the dep o si ti on of

17                   CHASE B. CUL LEN was co nc lu d ed .)

18

19

20

21

22

23

24

25
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                                                                           25


 1                   DIS T R IC T O F CO L UM BI A A T LAR GE:

 2

 3                 I, L e sl ie A. T odd , No t ar y P u bli c i n

 4    and f or the Di str ic t of Col u mbi a, d o h ere b y c er t if y

 5    that th e fo r eg oin g vi deo tap e d d epos iti on w as

 6    prov i de d to me by c ou nse l f o r t he P lai nti f f i n t hi s

 7    matt e r.

 8                 I do fu rth er c ert if y t ha t t h e d epo s iti on

 9    was t ra nscr i be d b y me an d i s , t o th e b est of my

10    know l ed ge a n d abi li ty , a n a c cur ate and co r rec t

11    reco r d of t h e dep os it ion .

12                 I he r eb y c er ti fy th at I am n eit her an

13    atto r ne y fo r a ny pa rt y, nor am I re lat ed t o a ny

14    part y c onne c te d w it h thi s a c tio n, n or am I

15    fina n ci ally in ter es te d i n t h is acti on.

16                 Give n u nde r my ha nd a n d sea l th is 1 5th da y

17    of A p ri l 20 2 1.

18

19

20

21

22                                  _ ___ ____ ___ __ _ ____ __ _ ____ _
                                    L esl ie T odd , N otar y P ubli c
23                                  D ist rict of C o lumb ia

24     My C o mm iss io n Exp ir es :
       Febr u ar y 2 9, 2 024
25
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           Exhibit 4
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                                                                     1


                        UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF COLUMBIA



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      DANIEL BOTTORFF, et al.,                  ) Civil Action No.

                        Plaintiffs,             ) 18-3122 (CKK)

           v.                                   )

      THE ISLAMIC REPUBLIC OF IRAN,             )

                           Defendant.           )

      --------------------------------x




                      REMOTE VIDEOTAPED DEPOSITION

                          ON ORAL EXAMINATION OF

                                DOUGLAS FARGO

                          RUCKERSVILLE, VIRGINIA

                                APRIL 12, 2021




      Transcribed by:
      Leslie A. Todd, CSR No 5129 and RPR
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Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 84 of 358
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 1
                        P R O C E E D I N G S
 2                        ------------------

 3                   MR. HAN:     This is the videotaped

 4    deposition of Douglas Fargo, who was a service member

 5    of the U.S. military and his son deceased, Adam

 6    Fargo, while on active duty in Iraq, suffered

 7    injuries and death due to Iranian manufactured

 8    munitions.

 9                   This case has been filed before the

10    U.S. District Court for the District of Columbia,

11    styled Bottorff v. The Islamic Republic of Iran.

12                   I'm Kyung Jae Han, located in Orange,

13    Virginia.     Today's date is 12 April 2021.

14                   This is a videotaped deposition with the

15    deponent in Ruckersville, Virginia.

16                             DOUGLAS FARGO,

17                   having first been duly sworn, was

18                   deposed, and testified as follows:

19                              EXAMINATION

20    BY MR. HAN:

21            Q      So could you state your name and address

22    for the record?

23            A      Yes.    My name is Douglas Alan Fargo.          My

24    address is                                 Ruckersville,

25    Virginia, 22968.
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                                                                     3


 1            Q      Thank you, sir.

 2                   What is your date of birth?

 3            A

 4            Q      Thank you, sir.

 5                   And where did you get your high school

 6    education?

 7            A      I'm sorry.      Where did I get my what?

 8            Q      Where did you get your high school

 9    education?

10            A      Oh.     So two years in Michigan and then I

11    graduated from Garfield Senior High School in

12    Woodbridge, Virginia.

13            Q      Thank you, sir.

14            A      At the time it was Woodbridge; it's now

15    Dale City.

16            Q      Thank you, sir.

17                   How are you related to the deceased, Mr.

18    Adam Fargo?

19            A      He was my second son.

20            Q      Okay.     And when is his date of birth?

21            A      His date of birth was February 28th,

22    1984.

23            Q      Thank you, sir.

24                   Now I will start asking questions about

25    your son's military career leading up to the date of
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 1    the explosion.       I know that these subjects might be

 2    very heavy and difficult for you.             So whenever you

 3    need to pause, please let me know.

 4            A      Okay.

 5            Q      When did your son enter the military?

 6            A      December of 2004.

 7            Q      And had the war against Iraq begun back

 8    then?

 9            A      I believe so, yes.

10            Q      And was your -- did your son ever expect

11    to be deployed to Iraq?

12            A      I think he expected to be deployed, but I

13    don't think he knew until they finally came down with

14    orders as to where he was going to go.

15            Q      Okay.

16                   And why did your son join the Army, his

17    motive?

18            A      I think part of his motive was that his

19    grandfather was a veteran of both World War II and

20    Korea.      And I, myself, am a veteran, fourteen years

21    active duty, two years national guard.              His other

22    grandfather, his maternal grandfather, was a retired

23    lieutenant colonel.        And his older uncle was also

24    retired lieutenant colonel.           His great uncle was

25    retired Navy.       So there was a lot of military in the
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 1    family.     And I think that the additional couple

 2    things was not really motivated to finish college,

 3    but he always was motivated to help people.                And so

 4    when the time came, not only did he enlist, and not

 5    only did he got through basic, but he asked for and

 6    received additional training as a medical specialist

 7    and then from there accepted an assignment with the

 8    101st Airborne Division.

 9            Q      Thank you for your family's service.

10                   And how many tours of duty did your son

11    serve -- was that the only one?

12            A      Yeah, that was the only one.           His unit

13    deployed in late 2005.         I want to say like November,

14    December timeframe to get in theater and then they

15    actually went into combat mode, I think, it was

16    January of 2006.

17            Q      And which branch was he in?

18            A      So he was a medical specialist.            So I'm

19    not sure what that branch is.           Ninety two or ninety

20    four.

21            Q      It's more like Navy, Air Force.

22            A      Oh, Army.     He was Army.

23            Q      Army.

24                   And do you remember his unit?

25            A      Yes.    So once he got assigned to active
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 1    -- to a unit after all the training, he was with the

 2    4th Brigade, let me see, Headquarters and

 3    Headquarters Company, 4th Brigade, 101st Airborne.

 4    Then the 4th Brigade, when they deployed, they were

 5    actually redesignated.         If I remember correctly they

 6    were attached to 4th Infantry Division and then they

 7    became the -- so his particular brigade became the

 8    506th.      So his combat unit was the 506th Infantry

 9    Regiment, combat regiment.

10            Q      As an Army medic what were his ordinary,

11    routine duties?

12            A      He was responsible for providing

13    immediate medical care and assistance to the units

14    that he was assigned to.          So being in the

15    Headquarters Company, there are several medics and so

16    within the brigade they then -- I don't know if the

17    right term is cross-attach or assign a medic to the

18    units -- the smaller units.           He was actually the

19    medic for the engineer company that was attached to

20    the regiment.

21            Q      And what was his latest rank?

22            A      So he was a -- I think he -- I'm pretty

23    sure he made specialist 4 in early July of 2006.               And

24    then he was posthumously promoted to the rank of

25    corporeal.
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 1            Q      And did he ever plan to leave the Army

 2    after the tour -- what was his plan afterward?

 3            A      I don't think he had a plan.           I think

 4    that he was more than willing to finish his tour, to

 5    see where, you know, where he would go with that.

 6    And then decide from there.           I don't remember any

 7    conversations whether it was going to be one way or

 8    the other.

 9                   I know that I can tell you that he was a

10    very gung-ho soldier and so he participated in many

11    of the training beyond what a medic had to do.                 So,

12    as an example, 101st Airborne, is primarily infantry

13    soldiers that have gone through air assault training

14    but not all the ancillary, such as medics and drivers

15    and whatever, admin -- they don't necessarily do

16    that, but he was very motivated to support his unit

17    to include successfully finishing out air assault

18    school.

19                   And then he also was promoted in the

20    least time in grade, and the least time in service to

21    the rank of specialist 4, so he was only -- I think

22    you have to be able to do all that like in 18 months.

23            Q      And has he told you about any other

24    explosions than the one that took his life?

25            A      He did tell me about at least one.              So in
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                                                                         8


 1    February of 2006, which was in his first mission

 2    under fire, he was in an engineer unit as I

 3    indicated, he was the medic for the engineers, and

 4    the engineers were on a route-securing mission and

 5    Adam was in like the third vehicle back.               The first

 6    vehicle of the mini-convoy was hit, not only with

 7    from what I understand an IED, but also small arms

 8    fire and so on.       And it was at that moment in time

 9    that he gained a lot of recognition because four

10    soldiers were injured and he helped all four of those

11    soldiers to -- with their wounds and to get them out

12    of that combat area.         And that would have been in

13    February.

14                   I'm sure that he ran into others, but I

15    can't tell you that I know about them.              The next one

16    I knew about was the one that he was involved in

17    directly.

18            Q      That previous explosion, did he say

19    anything about the bomb being remotely set up or what

20    damage was done to the vehicle?

21            A      I don't think I know the details about --

22    that it was a remotely detonated.             That would be my

23    guess.      But my understanding is that it was placed in

24    the road and so it blew up from the bottom of the

25    vehicle, that's the best I can tell you what I know
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 1    about that mission.

 2            Q      Thank you.

 3                   Now let's move on to the unfortunate

 4    explosion.      So what was the date of the explosion?

 5            A      July 22, 2006.       I mean, it could have

 6    been the 21st because, you know, I don't know the

 7    time zones.

 8            Q      Yeah.

 9            A      So it was either the day before -- no

10    that was the day I was notified that was his official

11    date of death is the 22nd.

12            Q      When was the last communication with your

13    son before he was in the explosion?

14            A      Gee, I want to say maybe a week or a

15    little less than a week, four or five days before he

16    got a chance to call -- to make a phone call.                  I

17    think he really wanted to talk to his mom, but we

18    didn't, you know, we had a really short chat with him

19    at that time.       We just happened to -- it just

20    happened to be the next time that he had a

21    conversation.

22                   I physically saw him when he -- in March.

23    It was March-April timeframe when he got to -- he got

24    a few days' leave and he came back stateside for a

25    really short period of time.
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 1            Q      So, the explosion, did it happen during

 2    his mission?

 3            A      Yes.    The -- he was in another convoy,

 4    the engineer unit that he was in was given a route

 5    clearing mission through the streets of Sadr City in

 6    Baghdad and their job obviously was to check for and

 7    clear any debris or anything that might be in the way

 8    of a future convoy that's coming through of that

 9    area, keep that road clear.           But they were short on

10    personnel and so I think the lieutenant of the

11    platoon, engineer platoon, or engineer company that

12    he was with was back in country, but it was like the

13    first day back and he gets like two or three days to

14    re-acclimate, and so the sergeant was in charge of

15    this particular mission and this particular patrol.

16    And I think they were also -- I don't know who was

17    missing or who wasn't missing but, you know, one of

18    the many things that Adam tried to do with every unit

19    that he went to was enhance his capability to support

20    that unit.      So besides being their medic and he also

21    tried to learn about all the equipment, to include

22    how to drive the vehicles, and so the -- he was

23    driving the vehicle that the sergeant who was in

24    charge of the element, for that particular mission

25    was it, and in fact, I can't remember the type of
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 1    vehicle off the top of my head, but anyway it would

 2    seat up to five people.

 3                   So my son Adam, even though he was a

 4    medic, he was the driver.          So that would put him in

 5    the left front, the sergeant was in the right front.

 6    There were two soldiers in the back seat and there

 7    was a fifth soldier standing up in the turret.

 8                   And they came down the road.           There was

 9    bridge abutments.        I don't remember now the stories

10    whether the bridge was all in tact or whether it was

11    just the abutments on the sides.            And when the lead

12    vehicle which Adam was in and Adam was driving, his

13    side of the bridge abutment, somewhere, you know,

14    four or five feet up apparently was an IED.                At least

15    that's what I was told.          And it was remotely

16    detonated right when the vehicle got there.                So the

17    blast came through the driver's door and four out of

18    the five soldiers were injured.

19            Q      This remotely detonated bomb damaged the

20    car from the side, if I'm understanding you, correct?

21            A      Correct.     That's correct.       From the

22    driver's side which would be the left side front.

23            Q      The vehicle, although you might not

24    remember exactly what it was, was it an armored

25    Humvee sort of vehicle, or...
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 1            A      You know, I don't know what the engineers

 2    were driving at the time.          My understanding was that

 3    they were not reinforced on the sides.              I think that

 4    we, the U.S. government, started making some inroads

 5    in reinforcing the bottom because they were getting a

 6    lot of detonations coming from the road and the road

 7    service.     But, to the best of my knowledge, at this

 8    point in time, they were not necessarily reinforced.

 9    So, yes, it was a Humvee type vehicle.              It could have

10    been a Humvee.       I just don't remember off the top of

11    my head.

12            Q      And just to confirm certain details, it

13    happened from south of Baghdad, which direction from

14    the city?

15            A      Um, I don't know --

16            Q      It's okay if you don't remember.

17            A      All I remember is that they were in Sadr

18    City, wherever that's located within Baghdad.                  So, if

19    you can pin it down by that.

20            Q      And assuming that you don't know whether

21    it was the 21st or the 22nd, it happened sometime at

22    night, the explosion?

23            A      It would have been in the evening from

24    what I understand.        I got notified like the day of

25    the 22nd.     My understanding is that he was killed
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 1    earlier.     So, I made the assumption it was after

 2    midnight, but with the time zones I can't be sure,

 3    but his official date of death is July 22nd.

 4            Q      And did the Army representatives inform

 5    you about the accident, did they mention anything

 6    about whether there were suspects or any suspicious

 7    activities in the area?

 8            A      They did not, no.

 9            Q      They did not.

10                   And you said four of the five people in

11    the vehicle were injured.          And, according to your

12    intake sheets, you said your son was either in the

13    vehicle, second or third; is that correct?

14            A      Second or third?

15            Q      Yes.

16            A      He was in with the sergeant that was

17    running the patrol mission, so I belive I was told

18    one of those.       I can't remember to be honest.

19            Q      And, other than your son, have you ever

20    communicated with any injured soldiers who were in

21    that vehicle, your son's colleagues or comrades?

22            A      Initially we were in contact with them

23    about within a year or so.           I'm trying to think of

24    who -- I think the captain, which was the commander

25    of the engineer company came to the funeral, but
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 1    everybody else was on mission or injured and couldn't

 2    make that.       But, within a year or so, I -- one or two

 3    of them I talked to by phone.           I actually went to

 4    Fort Campbell, Kentucky when the unit came back or

 5    sometime after the unit -- excuse me -- were

 6    re-deployed back to the States and I met one or two

 7    of the members and I don't remember which ones were

 8    which at this point.         I mean it's -- you know, the

 9    anniversary is coming up, 15 years.             So I kept a

10    couple of the -- I think I have a couple of the

11    sergeants' names in my phone.

12                    Can you hand me my phone, honey?           Hold on

13    one second.

14            Q       If you could -- yeah, if you could

15    provide them later on via e-mail.

16            A       Sorry.

17            Q       Yeah.

18                    And did anything break out as impressive

19    or memorable about what they told you or...

20            A       They were all -- you know, they were all

21    pretty upset.       Four out of the five soldiers

22    sustained injuries.        The only one who didn't was the

23    one who would have been in the passenger rear side

24    seat.       The guy standing up in the turret was hurt in

25    the legs.       I know that the sergeant -- I want to say
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 1    lost his arm.        And so the left side and the front

 2    were where the injuries were.           I believe that Adam

 3    was the only one that was killed by that explosion.

 4            Q      And uh --

 5            A      They were under fire --

 6            Q      Yes.

 7            A      -- and the sergeant.         I was going to say

 8    they were under -- they came under fire after the

 9    mini-convoy was stopped and this vehicle was hit.

10                   I don't remember them saying about any

11    other vehicles being hit, but I did remember them

12    saying that they came under fire.             So they were

13    trying to protect themselves and anybody who couldn't

14    get out of the vehicle, to then seek some shelter,

15    and don't ask me which side 'cause I don't remember

16    -- or don't remember being told -- and so it took a

17    while before they could try to get back in there and

18    try to get Adam extracted from the vehicle.

19            Q      Have you had a chance to see the vehicle

20    that was actually damaged?

21            A      See the vehicle?

22            Q      Yes.

23            A      No.

24            Q      That your son or anyone else --

25            A      No.
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                                                                         16


 1            Q      And has the Army representative who's

 2    communicated with you given you any more detail that

 3    it was an advance IED, did they suspect any specific

 4    kind of bomb?

 5            A      No.     All I was told was -- 'cause at the

 6    time I think us over here, we're hearing a lot about

 7    IED.    This was the first time I think I've heard of

 8    an advance IED.        And I guess the difference is that

 9    an advance had armor piercing material in it.                  I

10    don't know if that's a shape charge or mini pieces of

11    a shape charge or something.           And that was what I

12    understood at the time made a difference between

13    these types of explosive devices.

14            Q      So the description was remotely detonated

15    advanced IED?

16            A      Correct.

17            Q      So I assume that losing your son would

18    have left lasting psychological damage to family

19    members.     Have you ever sought medical treatment for

20    that or anyone in the family (inaudible) therapy.

21            A      You mean myself or in the family?

22            Q      Yourself or the immediate family members

23    of your son.

24            A      Yeah.     I was kind of knee deep in

25    alligators at that moment because Adam's mother was
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 1    severely ill with Parkinson's disease and it really

 2    started getting bad after that.            So I would say that

 3    she definitely was affected psychologically.                   She was

 4    already severely affected physically and so I would

 5    say that, yeah, she took it pretty hard.               And in fact

 6    she passed away in 2009.

 7                   As far as other family members, you know,

 8    I think the military members were empathetic because

 9    they had been in, you know, similar situations

10    before, especially his grandfather.             His grandfather

11    was an infantryman in World War II and then was

12    promoted and was actually an infantry lieutenant in

13    Korea, and had more than ample opportunity to come

14    under fire.      He, himself, didn't get wounded, but the

15    actions of what happened to his grandson forty

16    whatever, fifty years later, caused him to have

17    problems and it brought back a lot of memories for

18    him that would be considered PTSD.

19            Q      Yeah.

20            A      I can't vouch for too many of others.               I

21    mean, everybody was you know upset about it and --

22                   UNIDENTIFIED SPEAKER:         (Inaudible.)

23                   THE WITNESS:      Yeah.    I think that maybe

24    the next one that took it the worst was probably was

25    his younger sister.
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                                                                        18


 1                     So, you know, this occurred in July of

 2     2006.       She was going to Virginia Tech at the time so

 3     the -- you had the Virginia Tech shooting in 2007.

 4     Then her mother dies in 2009, you know.              Just for her

 5     it felt like one thing after another.             So I

 6     definitely think that she was affected.

 7             Q       So, um --

 8             A       Not anybody else that I can think of that

 9     was severely affected.         If that makes any sense.

10             Q       So could you help me better understand

11     your son's family tree?         So, he had you, as a father,

12     and let's see his mother.

13             A       Right.

14             Q       And siblings?

15             A       Right.   So his paternal grandfather was

16     the World War II vet.         His maternal -- his mom's

17     father -- maternal grandfather was a retired Army

18     officer.       His -- and then his father, me.           I was

19     active duty Army person and then his mother for lack

20     of a better term could say she was an Army brat

21     because her father was career Army and then also his

22     uncle, which would have been his mother's older

23     brother, was another one.          And then his grandmother,

24     his maternal grandmother's brother, was the great

25     uncle that was career Navy.
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 1                   And then his immediate family, his mother

 2     and I, we had three children.           So he had an older

 3     brother, then Adam and then his younger sister.

 4            Q      And your son was neither married nor had

 5     any offspring?

 6            A      That's correct.

 7            Q      Did you receive any honor or medal due to

 8     his sacrifices?

 9            A      So he received the Bronze Star for Valor,

10     Purple Heart.      I can't remember how many -- good

11     conduct medal, Iraqi Freedom.           I can get the list

12     that I have somewhere if you really need to know.

13     It's like nine awards and decorations to include his

14     air assault wings.

15            Q      It certainly helps if you have it, but it

16     doesn't (inaudible.) -- obviously because we can

17     search (inaudible.) -- too.

18            A      Okay.

19            Q      All right, um, yeah, these are usually

20     all the questions I have to you except if there is

21     anything you want to add for the court, possibly

22     jury, the public, your lawyers.

23                   UNIDENTIFIED SPEAKER:         What's the purpose

24     of all this?

25            A      I guess -- I kinda guess I would like to
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                                                                      27


 1                   DISTRICT OF COLUMBIA AT LARGE:

 2

 3                  I, Leslie A. Todd, Notary Public in

 4     and for the District of Columbia, do hereby certify

 5     that the foregoing videotaped deposition was provided

 6     to me by counsel for the Plaintiff in this matter.

 7                  I do further certify that the deposition was

 8     transcribed by me and is, to the best of my knowledge

 9     and ability, an accurate and correct record of the

10     deposition.

11                  I hereby certify that I am neither an

12     attorney for any party, nor am I related to any party

13     connected with this action, nor am I financially

14     interested in this action.

15                  Given under my hand and seal this 6th day

16     of May 2021.

17

18

19

20

21                                    _____________
                                     __________________________
                                     Leslie Todd, Notary Public
22                                   District of Columbia

23                                   My Commission Expires:
                                     February 29, 2024
24

25
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           Exhibit 5
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 1                       UNITED STATES DISTRICT COURT

 2                       FOR THE DISTRICT OF COLUMBIA

 3

 4     --------------------------------x

 5     DANIEL BOTTORFF, et al.,                 ) Civil Action No.

 6                       Plaintiffs,            ) 18-3122 (CKK)

 7          v.                                  )

 8     THE ISLAMIC REPUBLIC OF IRAN,            )

 9                       Defendant.             )

10     --------------------------------x

11

12
                    REMOTE VIDEOTAPED DEPOSITION ON
13
                             ORAL EXAMINATION OF
14
                               ROBERT A. REUTER
15
                                MARCH 24, 2021
16
                           MERIDIANVILLE, ALABAMA
17

18

19

20

21

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Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 105 of 358
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 1                       P R O C E E D I N G S

 2                         -----------------

 3                   MR. TRAVERS:       I'm recording now.

 4                   This is the videotaped deposition of

 5     Robert Reuter, who was a serviceman for the United

 6     States military.       While on active duty in Iraq, he

 7     suffered injuries due to Iranian manufactured

 8     munitions.

 9                   This case has been filed before the

10     U.S. District Court for the District of Columbia,

11     styled Bottorff, et al., v. The Islamic Republic of

12     Iran.

13                   I'm Jeffrey Travers.         I'm located in

14     Orange, Virginia.       Today's date is March 24, 2021.

15                             ROBERT A. REUTER,

16                   having first been duly sworn, was

17                   deposed, and testified as follows:

18                               EXAMINATION

19     BY MR. TRAVERS:

20             Q     For the record, can you state your full

21     name and address?

22             A     It's Robert Aaron Reuter.          I live

23                                    in Meridianville, Alabama

24     35759.

25             Q     Okay.     Are you in Alabama today?
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                                                                      3


 1            A      I am.

 2            Q      And what's your date of birth, sir?

 3            A

 4            Q      Okay.     And where did you go to high

 5     school?

 6            A      Oxford High School.         That's in Oxford,

 7     Alabama.

 8            Q      And did you enter the military

 9     immediately after high school?

10            A      A few months, but yeah.

11            Q      And what year was that?

12            A      2002.

13            Q      Okay.     And at the time you entered, had

14     the war with Iraq started?

15            A      It had, yes.

16            Q      Okay.     Sorry.

17            A      No, go ahead.

18            Q      All right.      And you entered knowing that

19     you might be deployed to Iraq?

20            A      Yes.     It was -- yeah.      I think anybody

21     (inaudible) -- after the wars had already started

22     goes in with the presumption that there's a high

23     probability that you're going to war.

24            Q      Right.     And why did you join the

25     military, if you don't mind me asking?
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 1             A     Patriotism.      It's a -- it kinda ran in

 2     the family.      Both my parents worked in defense

 3     contracting.      My father was prior military.           It was

 4     kind of a rite of passage, I would say.

 5             Q     Good for you, sir.

 6                   And let's see, 2000, and how many tours

 7     of duty did you have in Iraq?

 8             A     I had one tour of duty in Iraq.

 9             Q     And when did that start?

10             A     It started in 2005.

11             Q     Okay.

12             A     And it ended at the end of 2006.             I want

13     to say December of 2006, yeah.

14             Q     Okay.     And what branch of the military

15     did you serve in?

16             A     The Army.

17             Q     Okay.     What were your duties over in

18     Iraq?

19             A     I was a combat medic.

20             Q     Okay.     What unit were you in?

21             A     I was in the 619th ground ambulance unit.

22             Q     Okay.     And what was your rank?

23             A     I was an E4.

24             Q     All right.      And when did you leave the

25     military?
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 1            A      In 2007.

 2            Q      Okay.     Can you tell us why you left the

 3     military?

 4            A      I wasn't looking forward to -- I had

 5     served my term, and --

 6            Q      Okay.

 7            A      I got blown up a couple of times while

 8     serving that term, and I was just not willing to risk

 9     being blown up again.

10            Q      Understandable.        And let's see --

11            A      And plus the pay sucks, man.

12            Q      Right, yeah.       And have you been working

13     since leaving the military?

14            A      Yeah, I have.

15            Q      What's your career or what's your field

16     of work?

17            A      So right now I support the Department of

18     Defense in fielding new equipment.

19            Q      Okay.

20            A      Training folks how to use that equipment.

21            Q      And is that a government job or a private

22     contractor?

23            A      I'm a contractor that works directly for

24     the government.

25            Q      Okay.     And now I'm going to ask you about
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 1     the IED attacks you experienced.

 2                   So you experienced or -- you were

 3     attacked twice by IEDs; is that correct?

 4             A     That is correct.

 5             Q     And one was on December 25, 2005; is that

 6     correct?

 7             A     That is correct, yes.

 8             Q     And the second one was February 5th,

 9     2006?

10             A     I don't know about the exact date, but it

11     was whenever the Super Bowl was.

12             Q     Okay.

13             A     So I remember distinctly because we were

14     up late trying to watch the Super Bowl and we had to

15     roll out that morning.

16             Q     Okay.     All right.     So it would have been

17     the day after the Super Bowl in 2006?

18             A     Here in the States.

19             Q     Okay.     And on December 25, 2005, can you

20     walk us through the details of what happened?

21             A     Absolutely.      We were -- we were on a

22     supply drop.      We were coming out of Tikrit, or I

23     believe it was FOB Spiker, the Tikrit region of Iraq.

24     We were scheduled to do a three-day run.              We were

25     going to hit Kirkuk, and then go down to Balad, and
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 1     then back up to Tikrit.         It was kind of one of our

 2     standard supply drops, supply runs, and we provided

 3     convoy security for the supply trucks.

 4            Q      Okay.

 5            A      We had left Tikrit pretty early in the

 6     morning.     We were headed to Kirkuk.          I think we may

 7     -- for some reason we didn't take the typical highway

 8     across.    We kinda took a jog over to what they would

 9     call Highway 2.       You go up the 2 to Kirkuk.          And we

10     may have been four hours into the trip, we were lead,

11     we were the lead truck.         And, you know, kind of out

12     of nowhere, the whole front of our truck got blown

13     off.

14            Q      Okay.

15            A      (Inaudible.)

16            Q      What kind of truck was it?

17            A      It was an up-armored Humvee.

18            Q      Okay.     And can you continue from the --

19     from when the bomb exploded?

20            A      Yeah, of course.

21                   So the bomb explodes, and there are four

22     of us sitting in the vehicle.           I was sitting in the

23     back right passenger seat, we had a driver, a TC, and

24     another gentleman that was kinda sitting in the

25     gunner's turret.       Yeah, the bomb exploded.          It was
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 1     later determined that it was an explosive penetrating

 2     EFP, explosive something penetrate, and the EFP went

 3     through the front of the truck at an angle.               We were

 4     probably doing thirty or forty miles an hour.                  The

 5     truck obviously comes to a halt, the engine block,

 6     it's melting, catches on fire.           We all try to get out

 7     of the truck.      The driver had his shoulder -- tons of

 8     shrapnel in his shoulder.          There was lots of blood,

 9     obviously, and the sudden halt kinda made everybody,

10     you know, hit their heads, hit their knees.               It was

11     -- yeah, you go from forty miles an hour to nothing.

12     It was an impact.

13            Q      Right.

14            A      We all dismounted the truck, and tried to

15     find lanes of fire to -- or we tried to assess the

16     situation to determine if -- you know, what exactly

17     attacked us.      At the time there were several

18     different IED-type of -- type of trigger or remotes.

19     We would later determine that ours was -- there was

20     no actual hostile enemy in the area.             Ours was set up

21     with what the bomb tech called a -- like a garage

22     door opener.      They got the IR to cross the road.                 We

23     had what they called a rhino at the time that sticks

24     out in front that was supposed to kinda deter some of

25     that, but we were told that the way they angled the
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 1     EFP was to counteract the rhino that was on the front

 2     of the truck.

 3            Q      Right.

 4            A      And...

 5            Q      And who was it that told you later that

 6     it was an EFP?

 7            A      It was the bomb techs.          So once we were

 8     struck, we stopped.        You know, we -- I was the medic,

 9     so we got a guy bandaged -- I got the driver bandaged

10     up.   We put him on a bird.         We made an LZ, put him on

11     a bird, and sent him back to Balad -- or to Balad.

12     And after that, the bomb techs came out because there

13     were -- it was like a series of rock walls -- we were

14     about to enter a town or a small village, and there

15     was a series of rock walls, and it was believed that

16     the EFP came from a painted piece of Styrofoam that

17     was set up next to the rock wall or in the rock wall.

18     So bomb techs came out to explore the other sections

19     of the rock wall, you know, in order to assess then

20     -- to deactivate, and they found two more in the

21     upper two sections.

22            Q      Okay.

23            A      So they were able to take apart those and

24     tell us exactly what we were hit with.

25            Q      Okay.     Do you recall the name of the town
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 113 of 358
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 1     that you were near?

 2             A       It was about 45 miles south of Kirkuk,

 3     but maybe -- I'm sorry, 45 minutes out to Kirkuk, but

 4     that's different when you were going 30-40 miles an

 5     hour.       I'm sure I could look it up.        If I had a map

 6     of Iraq, I could probably pull it up and tell you.

 7             Q       Okay.    Yeah.    If I actually need that

 8     information, we will contact you.

 9             A       Absolutely.      Sure.

10             Q       And it was the driver you bandaged up?

11             A       Yeah.

12             Q       Did he end up surviving?

13             A       He did, thank goodness.        He had several

14     broken bones in his arm and his shoulder, he had a

15     laceration to his neck, he was bleeding pretty bad,

16     but we were able to keep him alive.

17             Q       Cool.

18                     And were you able to see the damage to

19     the truck or the Humvee?

20             A       Absolutely.      There --

21             Q       Sorry.

22             A       There was nothing left of the front end.

23     It had -- it looked like it kinda penetrated the

24     right front corner, and it barely missed, we'll call

25     it, a cab -- like a cab with the Humvee.
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 1            Q      Okay.

 2            A      But on its way through, it had sent

 3     projectiles through the -- almost like through the

 4     dash --

 5            Q      Okay.

 6            A      -- of the Humvee.        We all experienced --

 7     like we all -- everyone in the vehicle had some

 8     pieces or fragments either of the vehicle or of the

 9     bomb kinda wedged in their bodies.            Yeah.     The whole

10     engine compartment was melted.           The 50-cal that was

11     mounted on top had released into the engine

12     compartment.      So we had to -- obviously, there were

13     fears of ammunition that were going to catch fire and

14     start popping.

15                   So, yeah, we kinda evacuated the area,

16     but ... sorry, it's off topic what the vehicle

17     description is.

18            Q      No, that's actually -- that's actually

19     relevant.     If there were any -- were there any enemy

20     combatants in the area?

21            A      On our table drill that -- we had been

22     told that there -- that that was a high -- they

23     called it a high priority zone.

24            Q      Okay.

25            A      Before every convoy, you go through
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 1     almost like a debrief, and, you know, you plan your

 2     hot points, some of your chokepoints, your areas of

 3     risk.

 4             Q       Okay.

 5             A       And that was identified as an area of

 6     risk.       On that explosion, we did not have any

 7     combatants that were returning fire as -- after we

 8     were struck.       Yeah.

 9                     On the second one we did, in February --

10     no, I'm sorry, December -- yeah, December was

11     Christmas, that was on Christmas Day.             In February,

12     we were hit, and, yeah, we had enemy fire from up

13     there in Iraq.

14             Q       Okay.   And as far as the damage to the

15     truck, was there any visible hole or --

16             A       Oh, yeah.

17             Q       -- in the armor?

18             A       Yeah.   Man, so there was a visible hole

19     from -- maybe the size of a football.

20             Q       Okay.

21             A       I would say.

22             Q       Oh, okay.

23             A       And, man, it just seemed like the engine

24     block did not stop.         You know, that's made of cast

25     iron steel, so it's -- the way that it penetrated --
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 1     yeah, it was kinda -- it was something we had never

 2     seen before at the time.

 3            Q      Okay.     And let's see.      And can you --

 4     sorry -- can you describe the physical injuries you

 5     suffered from the bombing?

 6            A      Yeah.     I've lost a lot of mobility in my

 7     right shoulder.       Kinda the right side of my body, my

 8     right knee.      I've had multiple knee surgeries,

 9     stents.    The way the truck came to an abrupt stop,

10     there's the steel crossbars that kinda come up, so I

11     hit my head -- I hit my head pretty good off the

12     front a bit.      Fragments or vehicle parts, or maybe it

13     was part of the explosive devise, kinda rippled down

14     my right leg, on the inside of my left thigh.

15            Q      And that's it -- were you able to get --

16     are there any of those pieces still in your body?

17            A      Yeah, there actually are.          I've got some

18     pieces still in my leg.

19            Q      Okay.     And in addition to the driver, did

20     you have to -- as a medic -- did you have to treat

21     anyone else's injuries during that bombing?

22            A      Yes.    So the driver was the most serious.

23     He probably had some minor life threatening -- life

24     threatening injuries if we didn't stop the bleeding

25     and get him on a bird.
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 1                   Then we call him the TC, or the commander

 2     of the vehicle, the sergeant in charge, he broke his

 3     right shoulder.       Yeah.    But he was -- we were able to

 4     get him kinda slinged up and put on a bird as well.

 5     But...

 6            Q      Did you yourself receive any medical

 7     treatment after the explosion?

 8            A      I did not.      I was kinda self-treated.

 9            Q      Right.

10            A      But, yeah, they, uh -- when we got back

11     to camp, when we got back to Spiker, we -- they made

12     me go and see a doctor, and he -- they tried to pull

13     some of the smaller fragment stuff out, but they just

14     said, over time your body will push the rest out.

15            Q      Umm.

16            A      They treated my head.         I had a big gash

17     going down the middle of my forehead.             So they put

18     some staples -- they put some staples in it, they did

19     do that.     So, yeah, there was like a piece of my --

20     the top of my head that was kinda -- like the skin

21     had kinda folded over and they put in a bunch of

22     staples.

23            Q      Okay.

24            A      Yeah.

25            Q      And --
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 1             A     I forgot about that.

 2             Q     And let's see.       And do you have any

 3     cognitive issues from that head injury?

 4             A     Blurred vision.        Man, I never wore

 5     glasses before.       I don't know if it had anything to

 6     do with that.      Maybe I'm just getting old, right.

 7             Q     Right.

 8             A     Yeah, man, blurred -- immediately

 9     following, yeah, everything was blurry.              They said

10     that we definitely experienced concussions.               And I

11     get headaches frequently now.           Yeah, I definitely get

12     headaches.     I probably get headaches three to four

13     times a month, and I never got headaches before that,

14     so...

15             Q     Right.     And are they like migraine

16     headaches?

17             A     Absolutely, yeah.        They're to a point

18     where you gotta go to a room and turn the lights off

19     and kinda just relax for a little bit.

20             Q     And do you have to take any medication

21     for those headaches?

22             A     Sometimes.      You know, it just depends.          I

23     try to keep it over the counter.            Advil.

24             Q     Yeah.     All right.     And from that, do you

25     receive -- or after you returned from Iraq through
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 1     today, have you received any treatment for your

 2     physical injuries like your knee injury?

 3             A      Yup.    I've had multiple surgeries on my

 4     knee, yeah.      I've had a surgery on my shoulder.            I've

 5     had a surgery on my knee.

 6             Q      Okay.

 7             A      And -- yeah.

 8             Q      Okay.    And, let's see, have you been

 9     diagnosed with post traumatic stress disorder?

10             A      Yeah.    Seventy percent from the VA.

11             Q      Okay.    And is it mainly from -- and I

12     don't know how it works -- but for the PTSD -- is it

13     -- do you ascribe it to one bombing or the other, or

14     is it the whole tour?

15             A      I think the way they described it, it was

16     a combination of the two within the time frame.

17             Q      Okay.    And I'll ask you more about the

18     PTSD, but for the next one, I will just go through

19     the second bombing on February 5th -- in February

20     2006.

21                    And can you go into detail about what

22     happened there?

23             A      Yeah.    We were leaving Kirkuk, heading to

24     Balad.      I think we were -- I don't exactly remember

25     what the mission was -- I don't know if we did convoy
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 1     security or we were on a medical supply pick up.               And

 2     that was a weird day because we had just passed an

 3     Iraqi bus that had just graduated like a group of

 4     Iraqi police people or police cadets and it had blown

 5     up on our way there.        So we were back and forth

 6     trying to get them off of a bus.            And it was a little

 7     bit messy.       But once we kinda regrouped from it, we

 8     were about an hour and a half outside of Balad, I

 9     believe, and -- at this time we were in the -- so it

10     was a group of about six military Humvees, and we

11     were in the back.       Oh, yeah, we were the trail

12     vehicle, and we decided to split and take different

13     routes.       We were kinda doing some route

14     reconnaissance.       There was a convoy coming up from --

15     there was a convoy that was scheduled to -- you know,

16     maybe thirty minutes behind us, so we had offered to

17     take an alternate route.         And when we did that, we

18     were struck by what the bomb tech would describe as

19     an EFP, similar to what we were hit with before.

20                     And we were in a little bigger truck this

21     time.       We were in like a five-ton gun truck.          That's

22     what they were referred to, and -- like a Peterbuilt,

23     like a bigger version of a semi-truck, kinda similar.

24             Q       What was the armor like on that truck?

25             A       The armor wasn't the best on that truck,
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 1     you know.     I think we had armored doors, and, you

 2     know, I think it was up-armored, fully up-armored.

 3            Q      Okay.

 4            A      'Cause I remember the turret hatch had

 5     armor around it, and typically those didn't.               But,

 6     yeah, a fully up-armored truck.

 7            Q      And so you're an hour and half outside of

 8     Balad.     Was that north, east, west, south?

 9            A      North.     It would have been north of

10     Balad.     Let me see, north -- northwest.

11            Q      Okay.     And do you recall what road you

12     were on, or if it had a name?

13            A      I think we may have been on Route 2

14     again.     Yeah -- actually, I know we were on Route 2.

15            Q      Okay.     And --

16            A      I think we took Route 25 to 2; Route 25

17     over to 2, and then yeah --

18                   MR. TRAVERS:       I've got to mute for just a

19     second 'cause I've got a train coming.              I'm going to

20     mute for a second.        You can hear it.

21                   Sorry about that.        They blast their horns

22     when they come through town.

23                   (Brief pause in deposition.)

24     BY MR. TRAVERS:

25            Q      And when you split off, were you then the
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 1     first vehicle in the convoy?

 2             A       We were, yeah.     So when we split, yeah,

 3     we rotated, and we became the first vehicle in the

 4     convoy.       That's right.

 5             Q       Okay.   And can you describe the

 6     explosion?

 7             A       Absolutely.    So now it's kinda coming

 8     back.       I distinctly remember we were in between two

 9     Iraqi police checkpoints.

10             Q       Okay.

11             A       So there was almost a sense of

12     complacency, because we could see the first

13     checkpoint that we had just driven through, and we

14     could -- the second checkpoint was maybe three to

15     five miles further ahead, but you could see their

16     cars, their lights.        So as we crossed through the

17     first checkpoint, we were kinda directed -- it almost

18     looked like there had been an explosion that was

19     buried under the ground, under the concrete.

20             Q       Okay.

21             A       So we were directed to leave the asphalt

22     and go into, you know, a section of the desert that

23     we were under the impression that had been cleared by

24     EOD.    So we did that.       And, you know, we were

25     probably on that section for a couple of miles, and
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 1     there was like a small -- there were a few of us --

 2     there were small -- like, you know, they're not

 3     concrete, but they're like block buildings that sit

 4     on top of a ridge line, and as we diverted there, we

 5     were hit with an EFP and some suppressive fire.

 6            Q      Okay.

 7            A      Which was a little concerning, because,

 8     again, the truck, it was smoked and it was filled

 9     with dust, so we couldn't tell if it was on fire.

10     But we knew we couldn't get out because we could hear

11     the ping of incoming rounds.

12                   But this time it came from the left side.

13            Q      Okay.

14            A      The left side of the vehicle.            But it

15     didn't penetrate the cab.          It had just disabled the

16     whole front of it, very similar to the first one

17     where the engine was just -- it just had a giant hole

18     through it.

19            Q      Okay.     And did it come from the side --

20     did it come from the side or the bottom?

21            A      Yeah.     (Inaudible.)

22            Q      And did you experience any shrapnel?

23            A      No, not this time, no shrapnel.            There

24     were some injuries.        I think the driver had a bad --

25     a broken left leg.
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 1            Q      All right.

 2            A      But nothing penetrated the hole on this

 3     explosion.     And, again, they set the -- they set --

 4     their trajectory was off.          I think this time they

 5     used some kind of infrared.          They didn't say it was a

 6     garage door opener.        I think the last time they used

 7     a garage door opener, but this time they used

 8     something -- yeah, an infrared light to kinda trigger

 9     the device.      Or there was speculation that they could

10     have called -- they had cell phones where they could

11     have called, triggered it with a cell phone.

12            Q      Was the vehicle disabled?

13            A      Absolutely.

14            Q      And did you -- were you able to see the

15     damage?

16            A      Yes.    Afterwards, yes.

17            Q      Can you describe what it looked like?

18            A      It was destroyed.        Our truck didn't have

19     a front on it, so we were -- the whole front of the

20     truck -- well, actually, the truck did have a front.

21     It still had a wheel base, but there was a

22     penetration from the left side that went through the

23     engine block, and kind of -- it almost looked like it

24     dispersed inside the block.          But, yeah, you could

25     tell where some of it came out the front and some of
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 1     it kind of angled around the driver's side.

 2            Q      Yeah, okay.      How fast were you going when

 3     the explosion occurred?

 4            A      We were lucky this time.          That's exactly

 5     what the tech said.        We were doing about 15-20 miles

 6     an hour.     We had slowed down because of the uneven

 7     terrain.

 8            Q      Oh, okay.

 9            A      But there was speculation that, you know,

10     increasing speed by like ten more miles per hour,

11     then that trajectory may have been on par with like

12     penetrating the hull -- going to the hull instead of

13     the engine block.

14            Q      Okay.     So did you say hull or hole?

15            A      The hull of the truck.

16            Q      That'd be where you were sitting?

17            A      You got it, yes.

18            Q      Okay.     And you were under fire when it

19     occurred.     What did you do next after realizing you

20     were under fire?

21            A      We got on the radio, and the trucks

22     behind us started returning fire from the direction

23     that the fire was coming from.           And there wasn't a

24     lot we could do.       I kinda just sat there and waited

25     for the smoke to clear and the fog to clear, and once
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 1     we received some feedback as to which direction the

 2     fire was coming from, we were able to egress the

 3     vehicle on the opposite side and kinda get some

 4     suppressive fire in the direction in which we thought

 5     it was coming from.

 6            Q      All right.      And can you recall how long

 7     they were firing on you?

 8            A      Maybe ten minutes, fifteen minutes.

 9     Everything seems like two or three hours at the time,

10     but, realistically, it's probably fifteen, twenty

11     minutes.

12            Q      Right.     And after they stopped, did you

13     stay in the area?

14            A      We did.     Well, we had the other team.               So

15     the other team circled back.

16            Q      Okay.

17            A      And they were able to -- we did identify

18     that there were some white pickup trucks, you know,

19     after a brief fire fight.          They were hauling ass

20     across the desert the other way.            So the other team

21     had circled around, and they were in pursuit.                  And

22     once we kinda got the all-clear, we were just like --

23     you know, kinda assessing the damage, making sure

24     that no one had been hit or hurt.            We stayed put and

25     waited for EOD and for recovery vehicles.
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 1            Q      Okay.     And did you treat the driver

 2     during that time?

 3            A      I did, yeah.       I just kinda -- he got some

 4     splints -- cut his pants off, hooked up some splints

 5     and got him taped up.

 6            Q      And were you injured physically during

 7     that time?

 8            A      No, I wouldn't say I was injured

 9     physically during that encounter.

10            Q      Okay.

11            A      I was fortunate.

12            Q      And was anyone else injured?

13            A      Just the driver.        He had a broke leg and

14     he was pretty gashed up on the left side of his body.

15            Q      Did he survive?

16            A      He did survive, yeah.

17            Q      And did you have a chance to speak to the

18     bomb technicians after the bombing?

19            A      Absolutely, we did.

20            Q      Okay.     And did they inform you it was an

21     EFP?

22            A      They did, yes.

23            Q      And all right.

24            A      One of the largest ones they've ever seen

25     too, I remember that.
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 1            Q      Oh, really?      Okay.

 2                   I think I've got everything I need on the

 3     specifics of the attack.

 4            A      Okay.

 5            Q      Now we've got to -- I've got to ask you,

 6     so you've been diagnosed with PTSD by the VA; is that

 7     correct?

 8            A      That's correct, yeah.

 9            Q      And can you tell us how that affects you

10     day-to-day?

11            A      Oh, man.     Yeah, it definitely affects

12     your ability to sleep; to -- there's a little bit of

13     anxiety, you know, when you encounter certain

14     situations that otherwise are completely normal.

15     There's -- yeah, you know, you have some pretty wild

16     dreams.    Yeah.    That's hard to describe.

17            Q      I understand.       And were you married at

18     the time of the bombing?

19            A      I was not, no.

20            Q      And are you married now?

21            A      I'm not, no.

22            Q      Do you have any children?

23            A      I do.     I have a young daughter.         She's

24     six.

25            Q      And --
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                                                                      26


 1             A     It definitely affects personal

 2     relationships.      You know, when you wake up, you know,

 3     after doing some weird shit in your sleep, they tend

 4     to make me wary sometimes.

 5             Q     Yeah, okay.

 6             A     My temperament's a little different,

 7     yeah.

 8             Q     And were you ever married?

 9             A     I'm not.

10             Q     Yeah.

11                   So is it fair to say that -- has the PTSD

12     affected any like long-term relationships?

13             A     Absolutely.      I would believe that that's

14     fair to say.

15             Q     Yeah.

16             A     I see a shrink at the VA to try to fix

17     that, but -- so...

18             Q     Yeah, okay.

19                   Do you take any medications?

20             A     I try not to, but there's sometimes.

21     I've been some prescribed some medication to help me

22     sleep at night.

23             Q     Okay.

24             A     It's kind of -- yeah.         I do, yeah.

25                   MR. TRAVERS:       Sorry, another train's
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 130 of 358
                                                                      27


 1     coming.

 2                   (Brief pause in deposition.)

 3                   MR. TRAVERS.       I'm sorry about that.

 4                   THE WITNESS:       No worries.

 5     BY MR. TRAVERS:

 6            Q      Has PTSD affected your relationships,

 7     like friendships or relationships with other family

 8     members?

 9            A      It has, sure.       It definitely kinda

10     alienates you from other people that don't

11     particularly understand a combat environment, right,

12     or some of the things that have been endured or

13     witnessed.     I would say so.

14            Q      Yeah.

15            A      It's hard to admit, but it's for sure.

16            Q      And has it affected your relationship

17     with your daughter at all?

18            A      I would like to hope not, and I will need

19     to work on improving that, but -- I could be in

20     denial, but I sure hope not.

21            Q      Are there any activities that you used to

22     enjoy prior to --

23            A      Oh, man, all kinds of stuff.

24            Q      -- the attack that you really -- that you

25     can't enjoy now either physically or because of the
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 131 of 358
                                                                      28


 1     PTSD?

 2             A     Absolutely.      I used to golf and surf and

 3     waterski, and, you know, I was -- I played a lot of

 4     sports growing up, you know, softball, you know,

 5     stuff like that.

 6             Q     Yeah.

 7             A     Yeah.     I don't really get to enjoy those

 8     things as much.       I still try to get out every once in

 9     a while, but since the injuries, it's just not the

10     same.

11             Q     Yeah.     And those are the things that you

12     would be doing now but for those injuries?

13             A     Of course.

14             Q     Okay.     And, yeah, I think I've got

15     everything I need.

16                   Before I stop the deposition, is there

17     anything you want to say to the judge before -- say

18     to the judge that I haven't asked about -- about the

19     attacks or how you feel about them?

20             A     Not particularly.        If you guys have any

21     questions or need anything from me, just let me know.

22             Q     Okay.

23                   MR. TRAVERS:       I will stop the deposition

24     and stop recording, and then I will just talk to you

25     for a couple minutes afterwards if that's all right.
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                                                                      29


 1                   THE WITNESS:       Okay.    Sure.

 2                   MR. TRAVERS:       Okay.    I'm now ending the

 3     deposition.

 4                    (Whereupon, the deposition of

 5                  ROBERT A. REUTER was concluded.)

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                                                                      30


 1                    DISTRICT OF COLUMBIA AT LARGE:

 2

 3                  I, Leslie A. Todd, Notary Public in

 4     and for the District of Columbia, do hereby certify

 5     that the foregoing videotaped deposition was provided

 6     to me by counsel for the Plaintiff in this matter.

 7                  I do further certify that the deposition was

 8     transcribed by me and is, to the best of my knowledge

 9     and ability, an accurate and correct record of the

10     deposition.

11                  I hereby certify that I am neither an

12     attorney for any party, nor am I related to any party

13     connected with this action, nor am I financially

14     interested in this action.

15                  Given under my hand and seal this 5th day

16     of May 2021.

17

18

19

20

21                                   __________________________
                                     Leslie Todd, Notary Public
22                                   District of Columbia

23                                   My Commission Expires:
                                     February 29, 2024
24

25
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           Exhibit 6
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                                                                        1


                      UN ITED STA TES DIS TR ICT CO UR T

                       FOR THE DISTRICT OF C OL U MB IA



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       BOTT O RF F, e t al.,                    )

                            Pla intiffs,        ) Ci vil A ct ion No.
                                                  18 -3 12 2 (C KK )
               v.                               )

       THE I SL AMIC REPUBLI C OF IRAN,         )

                            Def endant.         )

       ---- - -- ---- - ------- ---------- -x




                      RE MOTE VIDE OTAPED DEPOSI TI ON

                          ON O RAL EXAMINA T IO N OF

                                  SHAN E SMIT H

                            BRADENTON, F LOR ID A

                                MAY 25, 202 1




       Tran s cr ibed by:
       Lesl i e A. T o dd, CSR No 5129 a nd R PR
       Vall e y Cent e r, Cali fornia 920 82
       (202 ) 4 13-2 7 33
       Lesl i ea todd 2 001@yah oo.com
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 136 of 358
                                                                             2


 1                           P R O C E E D I N G S

 2                            - ---- --- -- - ---- -- -

 3                     MR. H AN :    Th is is t h e vi deo tape d

 4     depo s it ion o f Sha ne S mit h, w ho was a s erv i cem an

 5     for t he U.S . m ili ta ry .       Whi l e o n ac tiv e d u ty in

 6     Iraq , h e su f fe red i nj uri es d ue to I ran ian

 7     manu f ac ture d m uni ti on s.

 8                     Thi s ca s e ha s b ee n f il ed be fore th e U. S .

 9     Dist r ic t Co u rt fo r th e D ist r ict of Col omb i a,

10     styl e d Bott o rf f v . Is lam ic R e pu bli c of Ir a n e t a l .

11                     I'm K yu n g Ja e H an , l oc at ed in O r an g e,

12     Virg i ni a.    T od ay' s da te is 2 5th May 20 21.

13                     Thi s is a vi de o ta pe d d ep osi tion wi t h t h e

14     depo n en t in Br ade nt on , F lor i da.

15                                    S HAN E SM ITH ,

16                     hav i n g f ir st b e en d u ly s wor n, w a s

17                     dep o s ed , a nd t e st if i ed a s f ollo w s:

18                                     EX AM I NATI ON

19     BY M R . HAN:

20            Q        Wo u ld y ou st at e y ou r n am e a nd a ddr es s

21     for t he rec o rd ?

22            A        Sh a ne S mit h,

23     Brad e nt on, F lo rid a 34 212 .

24            Q        An d , si r, wh at is y o ur d at e o f bir th ?

25            A
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 137 of 358
                                                                             3


 1              Q      Wh ere d id you get y our h ig h s ch ool

 2     educ a ti on?

 3              A      Wo odinv ille Hi gh in Wa sh in gto n Sta te .

 4              Q      Wa s the re any post- hig h sc hoo l

 5     educ a ti on?

 6              A      Ye s.   I have a n Ass oci at e' s f ro m

 7     Wash i ng ton, and I g ot a Bache lo r' s a t Ch ic o S ta te

 8     in C a li forn i a.

 9              Q      I' ll mo ve on t o que sti on s abo ut yo ur

10     mili t ar y ca r eer.

11                     So, when did you st a rt w or k in g for t he

12     mili t ar y?

13              A      In 2005 , may.

14              Q      So , the war ha s -- had t he wa r beg un

15     back th en?

16              A      Ye s, it was cu rrent ly ac ti ve.

17              Q      Di d you expect to b e d ep lo yed t o I ra q?

18              A      Ye s.

19              Q      Wh at wa s your reaso n f or j oin in g t he

20     Army ?

21              A      Ki nd of a mult itude of r ea son s.        T he re

22     was t he pat r iotic e lement, an d al so I ha d som e

23     frie n ds goi n g in it , and I di d li ke th e Mo ntg om ery

24     G.I. Bi ll t h at was associated t o it al l.            So. ..

25              Q      Ho w man y tours of d uty i n Ira q did y ou
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                                                                         4


 1     have ?

 2              A    I did o ne tour in I raq .

 3              Q    An d dur ing tha t tou r, wh ic h b ra nch w er e

 4     you i n?

 5              A    Ar my.

 6              Q    Wh at un it were you in?

 7              A    35 09nth , 4th o f the 25 th I nfa nt ry.

 8              Q    Wh at wa s you d uty?

 9              A    I was a n infan try s erg ea nt .

10              Q    An d wha t was y our l ate st r ank ?

11              A    My last rank w hen I go t ou t w as

12     staf f -s erge a nt, E-6 .

13              Q    Wh en di d you l eave the A rm y?

14              A    In 2010 .      June 26th te ch ni cal ly .

15              Q    An d why did yo u lea ve?

16              A    Pe rsona l reaso ns an d c on ti nue d

17     depl o ym ents , and I had some - - I di d n' t wa nt to

18     get a ny fur t her inj ured becau se I h a d a wi fe.

19              Q    An d hav e you b een w ork in g pos t- mil it ar y ?

20              A    I have, interm itten tly .

21              Q    Ye s, si r.

22                   Now I will m ove on t o th e d es cr ipt io n

23     abou t t he d a y of ex plosion.

24              A    Ok ay.

25              Q    So , how many e xplos ion s to tal d id yo u
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                                                                          5


 1     suff e r from your du ty?

 2              A      We ll, t hey ran ge fr om di re ct ex pos ur e t o

 3     ligh t .     I'd say som ewhere aro un d se v en , bu t

 4     prob a bl y tw o promin ent ones r eg ar di n g th is ca se .

 5              Q      So , we' ll focu s on tho se t wo.

 6              A      Ok ay.

 7              Q      Le t's g o on wi th th e e ar li er on e.

 8              A      Ok ay.

 9              Q      Yu p.

10                     What's the d ate of e xp lo si o n?

11              A      Ye ah, I was ch eckin g m y pi ctu re s o ut ,

12     and I h ave o ne of M ay 21st of 2 00 7, an d on e e it her

13     Augu s t 31st -- I th ink around A ug us t 3 1s t of 20 07.

14     Yeah .

15              Q      We will first go wi th th e May 2 1st .

16                     Could you de scribe, wh at w a s th e d ay

17     like le adin g up to the explos io n?          W er e yo u a t

18     duty or jus t --

19              A      Ye ah, w e were actua lly - - we ha d a

20     plan n ed rai d .       We w ere going in to a co mp ou nd, a nd

21     look i ng for some hi gh-value t ar ge ts , a nd i t w as a

22     mult i -u nit t ask for ce, some d oi ng c o rd on in g, an d

23     some do ing o ther th ings.         I w as - - i t wa s dur in g

24     the a ct ual d rive in to the com po un d a re a on on e of

25     the r ou tes t hat my Humvee got h it w i th a n EFP , and
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                                                                        6


 1     it h i t the f ront-en d on -- no , th e d ri ve r' s s id e,

 2     dama g ed the vehicle on the fr on t cl i p, a nd yo u can

 3     see t he lit t le molt en slacks of t he EF P th at hi t

 4     it, a nd I a c tually have some pi ct ur e s of i t t oo .

 5     It r o ck ed t h e Humve e, kind of s ma ck e d my h ead

 6     agai n st the side wi ndowing on t ha t, an d th e

 7     rebo u nd of i t, naus ea, headac he , di s or ie nt ati on .

 8     That su cked .

 9            Q       Re gardi ng the ident ifi ca ti on th at th e

10     inci d en t wa s caused by an EFP , di d y ou f ig ure o ut

11     by l i ke cer t ain cha racteristi cs o r d id t he bo mb

12     squa d t ell y ou late r on?

13            A       It 's pr etty ob vious wh en y ou ge t h it

14     with a EFP b ecause it's diffe re nt f r om , yo u k no w,

15     your st anda r dized I ED, which bl ow s o ff o f

16     shra p ne l.   T his one you can a ct ua ll y s ee i n t he

17     Humv e e that I have with my ph ot os , e ve n go t m e

18     righ t n ext t o it.     It's molte n me ta l m el te d i nt o

19     the a ct ual i tself, and it loo ks l ik e k in d of

20     divo t s that had bee n melted i nt o it fr om w her e the

21     frag m en ts o f it hit .

22            Q       Wa s --

23            A       An d we did hav e an act iv e bun ch of E FP s

24     in t h e area , that w as actuall y pa rt of t he

25     (ind e ci pher a ble) th at we were g oi ng to t he ra id is
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 141 of 358
                                                                          7


 1     they we re s u spected to be par t of t h e ce ll .

 2            Q       An d you were i n the Hu mv ee th at wa s

 3     dire c tl y hi t ?

 4            A       Ye s.    I was th e TC, so I w as ba sic al ly

 5     the f ro nt p a ssenger seat or t he p er s on i n cha rg e

 6     of t h at veh i cle.

 7            Q       We re th ere any one - - I a ss ume o bvi ou sl y

 8     ther e w ould have be en other c as ua lt i es , ri ght ?

 9            A       Ye s.    T here we re ot her p eo ple w ith in t h e

10     vehi c le , ye s .

11            Q       Do you remembe r any of t he ir na mes o r - -

12            A       I belie ve my d river wa s Mi nda l.

13     M-I- N -D -A-L .     And I think I h ad e it h er S er and o

14     (sp) or Fri d ay on t he gun.         I d on 't re me mb er wh o

15     was i n the p assenge r seats on t he b a ck .         I ca n

16     prob a bl y fi n d their names, th ei r fi r st n am es, b ut

17     I do n 't rea l ly read ily rememb er t he m .

18            Q       Ye ah, I mean, it's oka y if yo u don 't .

19            A       Ok ay.

20            Q       At leas t you w ere d efi ni te ly th ere .

21                    Other then t hat, I w il l ju s t qu ick ly

22     iden t if y th e EFP ch aracterist ic s, b a se d on th e

23     phot o y ou h a ve (ina udible.)

24            A       Yo u've broken up ju st a li ttl e bit h er e .

25            Q       Oh , sor ry.
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                                                                            8


 1                   So, based on the ph o to - -

 2            A      Ba sed o n the p hoto, I he ar d t ha t p ar t.

 3            Q      Ye s.

 4                   Based on the photog r ap h yo u h av e w it h

 5     you, yo ur d a maged H umvee, was t he re bi g da mag e

 6     like a punc t ure to the armor or - -

 7            A      Ye ah.    Give me one sec on d, I wi ll pu ll

 8     up t h e phot o so I c an look at i t as I' m te lli ng

 9     you.

10            Q      Ye s.

11            A      Ma y 21s t.    So the f ron t en gin e cli p wa s

12     knoc k ed off .    The - - and that 's l ik e t he h ood a nd

13     ever y th ing o n the f ront end w as g on e .       T he fr on t

14     tire wa s sh r edded, and the ac tu al c a ge o f it ha s

15     some mo lten slag on the front , on t h e fr on t - - on

16     the d ri ver' s door a nd the dri ve r' s r ea r do or.        For

17     the p le xi-g l ass, th e thick, y ou k no w , bu ll et- pr oof

18     glas s , you c an see the little m el te d s la gs th at

19     hit i t.

20                   I don't know if you ca n vi e w --

21            Q      Ye s.

22            A      Le t's s ee.

23            Q      If we c an actu ally get t ha t p ho to la te r

24     on, i t woul d be rea lly great.

25            A      Th at's the doo r.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 143 of 358
                                                                              9


 1            Q        Ye s.

 2            A        It 's no t the b est p hot o, a ngl e, so - -

 3     but y ou can see the tire here , an d t he w ho le fr ont

 4     end o f the v ehicle is gone.            So , th e re 's t he fr ont

 5     of t h e vehi c le.       Th at's actua ll y me ri gh t the re

 6     (ind i ca ting ) .      The whole fron t of t h e ve hi cle 's

 7     gone , a nd I ' m getti ng in here , an d r ec ov er ing s ome

 8     of m y g ear.

 9                     You can see these m o lt en s l ag m ark s, a nd

10     that ' s how y ou know it was an E FP b e ca us e the y

11     just pl ug r i ght int o it.         And t he y k in d of ju st

12     dril l a s th e y melt through th e ve hi c le .

13                     So the prima ry one h it t he fr on t e nd a nd

14     just bo re t h rough t here.         So th is i s a ll , you

15     know , s econ d ary out lining ele me nt s o f th e EFP .

16            Q        Th ank y ou.     Th at wa s r ea ll y h el pfu l.

17                     And you expe rienced a ve ry si mi lar

18     atta c k on t h e 31st too?

19            A        We ll, t he 31st was wha t we ca ll a

20     vehi c le -bor n e IED, and my com po un d g ot h it by i t.

21     And I a ctua l ly have a vehicle - - a v id eo o f t he

22     vehi c le dri v ing in, exploding , an d y ou t he n c an

23     see t he per c ussion (indeciphe ra bl e) bl ow in g

24     thro u gh whe r e I was in the to we r.

25                     And, at the time, w e d id a se co nda ry
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 144 of 358
                                                                         10


 1     raid , a nd w e picked up the ce ll l ea d er s as soc ia ted

 2     to i t , and I was in volved in on t ha t a ls o.            We

 3     were to ld t h at was actually a n Ir an i an t ha t w e had

 4     pick e d up a s part o f that cel l.        An d t he y got

 5     pick e d up b y specia l forces o nc e we ca pt ur ed th em,

 6     brou g ht 'em back to the compo un d.          T he y ha d

 7     actu a ll y co m e in, s pecificall y gr ab b ed o ne of o ur

 8     deta i ne es, a nd took 'em somew he re .        An d we we re

 9     late r i nfor m ed that he was ac tu al ly as so ci ate d to

10     an I r an ian c ell.

11            Q       Th ank y ou, sir .

12                    That one, th at vide o a s we l l if yo u ha ve

13     it, w e' ve - - (inaud ible.)

14            A       I can s end tho se ov er, y es .

15            Q       Ye s.

16                    Now we will move on to t he ph ys ica l an d

17     psyc h ol ogic a l damag es you've su st ai n ed .

18            A       Mh -hmm.

19            Q       So , wha t were your inj ur ie s?

20            A       At the time, I had sus ta in ed so me

21     inju r ie s.   I didn't get flown b ac k t o -- f or

22     medi c al , bu t it was after the t ou r, an d I --

23     spec i fi call y when I was also ge tt in g o ut o f t he

24     mili t ar y, I had bee n diagnose d wi th an M RI of a

25     TBI, PT SD.     I had e ssential t re mo rs , a nd I ha d to
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                                                                        11


 1     unde r go spe e ch ther apy, and w as a ss i gn ed s ome

 2     diff e re nt d e vices t o help me wi th m e mo ry r eco ve ry.

 3     And I 'v e si n ce been rated by th e VA fo r th ose

 4     also , s o I h ave a 1 00% rating f or P T SD .        B ut un der

 5     ther e , I do have ra tings for TB I, t i nn it us , w hi ch

 6     is i m pa ct/e x plosion damage to t he e a rd ru ms , a nd

 7     then I have essenti al tremors w hi ch is a ls o d am age

 8     caus e d by, y ou know , explosio n.

 9            Q      Co uld w e -- we do h ave s om e o f you r

10     medi c al rec o rds, so I won't a sk y ou ab ou t the

11     spec i fi c ty p es of d isabilitie s or d i se as es .

12     (Ina u di ble. )

13                   Describe in lay ter m s -- ( i na ud ibl e. )

14            A      Oh , I'm starti ng to lo se y ou ag ain .

15            Q      Oh , sor ry.

16            A      Wh en yo u were looki ng at w hat ev er.

17            Q      Si r, so , we do know th e sp eci fi cs ab ou t

18     the i ll ness e s you h ave curren tl y --

19            A      Ok ay.

20            Q      -- due to the attac k s in ce we h ave t he

21     medi c al rec o rds, bu t, could y ou t el l m e, j ust i n

22     lay t er ms, t he majo r difficul ti es y o u ha ve be ca use

23     of P T SD , or disabil ities?

24            A      Oh , I'm -- I'v e had in te rm itt en t w or k

25     issu e s beca u se of a nxiety, be ca us e o f he ad ach es ,
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 146 of 358
                                                                            12


 1     beca u se of t he -- j ust the wh ol e sl e w of i ssu es .

 2     I ha v e diff i culty m aintaining e mp lo y me nt .      An d in

 3     addi t io n to it, I'm frequentl y un ab l e to g o o ut in

 4     publ i c, esp e cially with the c ro wd s a nd d ri vin g,

 5     espe c ia lly w ith the driving.        I t' s h ar d to le t

 6     down yo ur g u ard bec ause I'm a lw ay s o n a co nst an t

 7     figh t t o fl i ght, th e hyper-vi gi la nc e .      Y ou kn ow , I

 8     am a t t imes cripple d with hea da ch es du e to th e

 9     TBI.

10                   It's really impacte d m y li f e.         I k in da

11     had h op es o f life t aking a di ff er en t d ir ec tio n.          I

12     mana g ed to g et thro ugh colleg e wi th mu ch

13     diff i cu lty, but I'v e run into j us t t he se b arr ie rs

14     and w al ls t h at I ca n't seem t o ge t p as t wi th it .

15     I've en ded u p havin g to do -- y ou k n ow , co mpl et e

16     an i n -p atie n t progr am in Wash in gt on St at e wit h the

17     VA, b ec ause at the time, I ha d a fu l l br ea kdo wn

18     beca u se of m y disab ilities.        An d, y o u kn ow , b ei ng

19     unab l e to, y ou know , work and m ai nt a in a nd ca re

20     for y ou r fa m ily bec ause of mi li ta ry in ju ri es.

21                   It took a lo t of ti m e an d a l ot of

22     ther a py to, you kno w, even be a bl e t o ac ce pt th at

23     fact th at I just -- I'm not g oi ng t o b e ab le to .

24            Q      Wh o's y our imm ediat e f am il y, in clu di ng

25     your sp ouse and chi ldren?
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 147 of 358
                                                                           13


 1              A      I have my wife , Hea the r Sm ith .       Sh e' s

 2     actu a ll y my militar y caregive r, s o t he V A has

 3     assi g ne d he r as my caregiver fo r wh e n th es e c om e

 4     up.      I have a seven year-old so n Ka y de n an d m y

 5     adop t ed dau g hter Sh aughnessy.

 6              Q      Ok ay.

 7                     Has PTSD eve r affec t ed y ou r r el ati on sh ip

 8     with yo ur i m mediate family or f ri en d s, t ho se th at

 9     are p re ciou s to you ?

10              A      Ye ah.    It's ha rd to ma in ta in fr ien ds ,

11     make on es, d efinite ly.        I've lo st m o st o f my

12     frie n ds , wi t h the e xception o f a co u pl e mi lit ar y

13     vehi c le s th a t have -- or frie nd s th a t ha ve be en

14     with th at.      My wife threatene d to l e av e me un le ss

15     I we n t and g ot -- w ent into a n in -p a ti en t pro gr am.

16     So, y ou kno w , she w as at the po in t w he re s he wa s

17     leav i ng me.     She wa s, Go get he lp , o r sh e' s d on e.

18     Yeah .

19              Q      So rry.

20                     Did you rece ive any ho no r o r me dal d ue

21     to y o ur sac r ifices?

22              A      I do ha ve an A RCOM, ye s.       No Pu rpl e

23     Hear t , but I do hav e an ARCOM .         I b e li ev e it

24     actu a ll y ev e n menti oned the E FP e xp l os io n.

25              Q      Oh , gre at.
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                                                                            14


 1                   Thank you fo r your s er vi ce s o n tha t.

 2            A      Th ank y ou.

 3            Q      Is ther e anyth ing y ou wa nt to a dd,

 4     anyt h in g yo u want t o add for th e co u rt , ju rie s,

 5     like so me o f the la wyers if t hi s ca s e pr oc eed s?

 6            A      Ye ah, I mean, you g o i n th ere e xpe ct in g

 7     cert a in sce n arios, but when y ou h av e o ut si de

 8     agen t s that are -- they know, w ha t o ur e qu ipm en t

 9     capa b il itie s are an d they're he lp in g t o de sig n

10     thes e t ools , specif ically des ig ne d t o ki ll an d

11     maim us , it was -- it's reall y, i t a mp li fi ed an y

12     inju r ie s th a t we wo uld run in to .      I t t ur ne d

13     scen a ri os i n to, you know, com pl et e c ha os .          Yo u

14     know , I 've l ost sev eral frien ds t o E FP S.         You

15     know , t he V B IED tha t come thr ou gh w o ul d no t h av e

16     even be en p o ssible without ac tu al - - y ou k now , a

17     cell -- so, they ha d these ce ll s th a t wo ul d c om e

18     arou n d, and they wo uld help b ui ld a ve hi cl e, an d

19     they wo uld f ind a p erson and tr ai n t he m to co mm it

20     suic i de by d riving these vehi cl es i n to w al ls,

21     comp o un ds, a nd truc ks.     You k no w, t h e wa r wou ld

22     not h av e be e n nearl y as bad w it ho ut th es e -- wi th

23     thes e - - wi t hout th is outside i nf lu e nc e.       Tha t' s

24     not j us t me .    We wo rk with th e lo ca l s an d, yo u

25     know , t he l o cals, t hey got it e ve n w or se t han u s
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 149 of 358
                                                                           15


 1     beca u se the y don't have the a rm or .         So , it 's --

 2     what do you do at t hat point.            Yo u k no w, g ett in g

 3     hit, yo u kn o w, we h ave a lot of e qu i pm en t and w e

 4     can w al k aw a y from injuries t ha t ar e j us t

 5     comp l et ely d ebilita ting, woul d ha ve be en , but ,

 6     even wi th t h e armor and every th in g t ha t we ha ve ,

 7     our b od ies s till ex perience t he s ho c k wa ve s, we

 8     get t hr own a round, we get the se w hi p la sh p rob le ms

 9     and w e get t hese, y ou know, o n- re pe a t is su e T BI s.

10     And, yo u kn o w, here I am with a T BI .          I ha ve

11     memo r y issu e s.    I h appen to d o -- I ha d to ha ve

12     spee c h ther a py.    An d I'll sit t he re in a

13     conv e rs atio n with s omeone tha t I in t im at el y k no w,

14     and I c an't remembe r their na me s ud d en ly , you

15     know .

16                     It impacts y ou in s o m an y w ay s

17     thro u gh out l ife tha t it just -- i t l it er al ly

18     chan g ed my l ife, an d it kind of i n a w ay r uin ed

19     it.      Yo u kn o w, I wa s at a poi nt w he r e I wa s

20     suic i da l fo r a whil e.     You kn ow , it ' s -- m y l if e

21     has c ha nged in a wa y that I w is h it ha d no t

22     beca u se of - - direc tly due to t he se in ju ri es.

23                     MR. HAN:     Th ank you fo r yo u r an swe rs ,

24     and I w ill t urn off the recor de r, b u t I' ll

25     obvi o us ly a n swer so me of your q ue st i on s an d a ll .
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 150 of 358
                                                                      16


 1                   THE WITNESS:       Yeah.     A ll r i gh t.

 2                   (Whereupon, the dep o si ti on of

 3                   SHANE SMITH was con c lu de d. )

 4

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                                                                            17


 1                   DIS T R IC T O F CO L UM BI A A T LAR GE:

 2

 3                  I, L e sl ie A. T odd , No t ar y P u bli c i n

 4     and f or the Di str ic t of Col u mbi a, d o h ere b y c er t if y

 5     that th e fo r eg oin g vi deo tap e d d epos iti on w as

 6     prov i de d to me by c ou nse l ( v ia exte rna l h a rd dr i ve )

 7     for t he Pla i nt iff i n thi s m a tte r.

 8                  I do fu rth er c ert if y t ha t t h e d epo s iti on

 9     was t ra nscr i be d b y me an d i s , t o th e b est of my

10     know l ed ge a n d abi li ty , a n a c cur ate and co r rec t

11     reco r d of t h e dep os it ion .

12                  I he r eb y c er ti fy th at I am n eit her an

13     atto r ne y fo r a ny pa rt y, nor am I re lat ed t o a ny

14     part y c onne c te d w it h thi s a c tio n, n or am I

15     fina n ci ally in ter es te d i n t h is acti on.

16                  Give n u nde r my ha nd a n d sea l th is 2 nd day

17     of J u ne 202 1 .

18

19

20

21

22                                   _ ___ ____ ___ __ _ ____ __ _ ____ _
                                     L esl ie T odd , N otar y P ubli c
23                                   D ist rict of C o lumb ia

24      My C o mm iss io n Exp ir es :
        Febr u ar y 2 9, 2 024
25
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           Exhibit 7
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                                                                        1


                      UN ITED STA TES DIS TR ICT CO UR T

                       FOR THE DISTRICT OF C OL U MB IA



       ---- - -- ---- - ------- ---------- -x

       DANI E L BOTT O RFF, et al.,             )

                        Plaint iffs,            ) Ci vil A ct ion No.

            v.                                  ) 18 -3122 ( CKK )

       THE I SL AMIC REPUBLI C OF IRAN,         )

                         Defe ndants.           )

       ---- - -- ---- - ------- ---------- -x




                   RE MO TE VIDEOTAPED DE P OS IT IO N ON

                            ORAL EXAMINA TIO N OF

                              BOBB Y WILSON , JR.

                             KISS IMMEE, FL O RI DA

                                MARC H 24, 2 0 21




       Tran s cr ibed by:
       Lesl i e A. T o dd, CSR No 5129 a nd R PR
       Vall e y Cent e r, Cali fornia 920 82
       (202 ) 4 13-2 7 33
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 154 of 358
                                                                           2


 1                           P R O C E E D I N G S

 2                            - ------------ --- --

 3                    MR. TRAVERS:      This i s th e v id eo tap ed

 4     depo s it ion o f Bobby Wilson, J r. , wh o w as a se rv ice

 5     memb e r for t he U.S. military.          Wh il e o n ac tiv e

 6     duty in Ira q , he su ffered inj ur ie s d ue t o Ira ni an

 7     manu f ac ture d muniti ons.

 8                    This case ha s been f il ed b e fo re th e

 9     U.S. Di stri c t Court for the D is tr ic t o f Co lum bi a,

10     styl e d Bo tt orff v. The Isl ami c Re pu blic o f Ir an,

11     et a l .

12                    I am Jeffrey Traver s .        I a m l oc ate d in

13     Oran g e, Vir g inia.     Today's da te i s M ar ch 2 4, 20 21.

14                    This is a vi deotape d d ep os i ti on wi th t he

15     depo n en t.

16                    Can I ask yo u where ar e to d ay , sir ?

17                    THE WITNESS:      Yes.     I' m in Ki ss imm ee ,

18     Flor i da .

19                    MR. TRAVERS:      Okay.

20                              BOBB Y WILSON , JR. ,

21                    having first been d u ly s wo r n, w as

22                    deposed, and testif i ed a s f ol lo ws:

23                                EXAMINATI ON

24     BY M R . TRAV E RS:

25            Q       Ca n you just s tate you r fu ll na me ag ai n
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 155 of 358
                                                                                 3


 1     for t he rec o rd ?

 2              A      Ye s .    M y n am e is Bo b by W il s on , Jr.

 3              Q      Ca n you te ll m e y ou r - - wh a t is yo ur

 4     date of bir t h and c ur ren t a d dre ss?

 5              A      Ye s .    D ate o f bir th is                     Cur re n t

 6     addr e ss is                                     K i ss im m ee ,

 7     Flor i da , 34 7 44 .

 8              Q      An d do you m in d t el l in g me wh er e y ou

 9     went to hig h s cho ol ?

10              A      Ye s .    I we nt t o h ig h s ch oo l i n Det ro i t ,

11     Mich i ga n.    C oo ley H ig h S cho o l.

12              Q      Di d you jo in t he mi l it ar y d ir ec tly a f t er

13     high sc hool ?

14              A      No .     I wen t to Hi gh l an d Pa r k Co mmu ni t y

15     Coll e ge .    T h er e I g ot my tw o -ye ar d egr ee, and t h en

16     work e d for C hr ysl er C orp ora t ion and Am eri c an

17     Airl i ne s be f or e I j oi ned th e Ar my, 198 6.

18              Q      Ve r y go od.     An d 1 98 6 - - yo u j oi ned t h e

19     Army in 198 6 ?

20              A      Ye s .

21              Q      An d whe n d id y ou le a ve t he Ar my ?

22              A      20 1 1 -- Fe br ua ry 20 1 1.

23              Q      An d wha t w as y our r a nk w he n y ou le ft t he

24     Army ?

25              A      Se r gean t F ir st Cl as s .    I r e ti re d.
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                                                                             4


 1              Q       Ok ay.     And how many to ur s in Ir aq we re

 2     you p ar t of ?

 3              A       Pa rt of one to ur.

 4              Q       An d did you se rve a nyw he re or w ere y ou

 5     part of any other t ours overs ea s pr i or t o Ira q or

 6     afte r ?

 7              A       Ye s.     O peratio n Jus t C au se , P an ama .

 8              Q       Ok ay.     And whe n wer e y ou d epl oy ed to

 9     Iraq ?       Or i f you ca ll it that .

10              A       Ap ril 2 007 unt il Ma y o f 20 08.

11              Q       Gr eat.     And wh at we re yo ur du ti es ov er

12     in I r aq dur i ng that time?

13              A       Mi litar y trans ition te am m emb er , t as ke d

14     with tr ain- u p of th e Iraqi Ar my .

15              Q       An d wha t unit were you i n?

16              A       My unit was th ree - - 3 rd o f - - the 3 rd

17     5 MT T , Mili t ary Tra nsition Te am .          3 d B ri ga de of

18     the T hi rd D i vision of the Mil it ar y T ra ns it ion

19     Team , o ut o f Fort R iley, Kans as .

20              Q       Di d you have t o go thr ou gh a sp eci al iz e d

21     trai n in g to be able to train th e Ir a qi t ro ops ?

22              A       Ye s.     I went t o a t hre e- mo nth t rai n- up

23     prio r t o th e deploy ment.

24              Q       An d now I've g ot to as k yo u, wh at wa s

25     the d at e of -- what was the d at e wh e n yo ur --
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                                                                         5


 1     actu a ll y, w h at was the date t ha t th e e xp lo sio n

 2     occu r re d?

 3            A        Th e dat e was a round , I t hi nk it wa s,

 4     eith e r May 6 th or 7 th of 2007 .

 5            Q        Ok ay.   And can you des cr ib e t he

 6     geog r ap hic l ocation where the a tt ac k o cc ur red ?

 7            A        Ye s, si r.   It was i n n or th ern I raq , in

 8     the D iy ala P rovince , about, I g ue ss , 6 0 or 80

 9     kilo m et ers n orth of Baghdad - - no rt h ea st o f

10     Bagh d ad .

11            Q        Ok ay.   And was ther e a s pe cif ic ro ad y o u

12     were on , or -- if y ou recall?

13            A        We ll, t he road s wer e r ef er red t o a s

14     rout e s, and I belie ve the rou te w as ca ll ed Ro ut e

15     -- e i th er R o ute Red or Route Pu rp le , o ne o f t he

16     two.    T hat w as our reference fo r th e r oa ds th at we

17     mapp e d out.

18            Q        Ok ay.   And wha t typ e o f ve hic le we re y o u

19     trav e li ng i n ?

20            A        I was t ravelin g in a c on vo y o f Hum ve e

21     11-5 2 's , he a vily up -armored H um ve es .

22            Q        Ok ay.   And whi ch -- wi th in th e con vo y,

23     whic h v ehic l e were you in, as f ar a s l ik e the l ead

24     vehi c le or t he seco nd or thir d?

25            A        I was i n the s econd ve hi cl e.
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                                                                              6


 1              Q       An d whe re were you hea de d to?

 2              A       We were headed back to t he Fo rw ard

 3     Oper a ti ng B a se.       We had been ou t fo r a bo ut th re e

 4     days .       So i t was ab out mid to e ar ly af te rn oon o n a

 5     -- i t w as a sunny d ay.

 6              Q       Ok ay.     And can you jus t de scr ib e t o me

 7     what oc curr e d --

 8              A       Ri ght.

 9              Q       -- abou t the e xplos ion ?

10              A       Ri ght.     While en ro ute b ac k t o the

11     Forw a rd Ope r ating B ase, just be fo re we h it th e --

12     I be l ie ve i t 's the last town be fo re we g ot to o ur

13     oper a ti ng b a se, we travel in 50 -m et e r in cr eme nt

14     sepa r at ions between the vehic le s.           I w as f oll ow ing

15     the I ra qi b a ttalion commander .          I w a s a dr ive r at

16     the t im e, w i th my c ommander s it ti ng in t he ri gh t

17     seat .       And j ust bef ore we hit a c he c kp oi nt ,

18     betw e en the Iraqi c ommander's v eh ic l e an d our s, an

19     IED w en t of f , heavi ly damagin g hi s v eh ic le an d

20     dama g in g ou r s as we ll.       I'm n ot s ur e i f it wa s

21     remo t el y tr i ggered or if we h it t he sp ot , but t hen

22     the e xp losi o n occur red.        It t hr ew u p a b un ch of

23     debr i s and s and --

24                      MR. TRAVERS:       I thi n k yo u' r e on mu te ,

25     sir.     A ll r i ght.
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                                                                             7


 1                    THE WITNESS:        Out a t o ur ( i na ud ibl e. )

 2     BY M R . TRAV E RS:

 3            Q       Di d it explode unde rne at h one o f t he

 4     vehi c le s, o r in bet ween, or - -

 5            A       We ll, w e were trave lin g at a hi gh ra te

 6     of s p ee d.

 7            Q       Oh , oka y.

 8            A       So it d etonate d tow ard s th e b ac k o f th e

 9     Iraq i c omma n der's v ehicle tow ar d th e f ro nt of o ur

10     -- i n b etwe e n.      So as I said be fo re , w e al way s

11     kept a 50-m e ter dis tance.         So I w ou l d sa y 20- 25

12     mete r s betw e en us, more so cl os e to ou rs .

13            Q       Ok ay.     What ty pe of ve hi cl e w as th e

14     Iraq i c omma n der dri ving?

15            A       He was in an 1 1-51 whi ch i s - - it wa s a n

16     up-a r mo red H umvee a s well.

17            Q       Ok ay.     And can you des cr ib e t he da ma ge ,

18     to t h e best of your recollect io n, o f t he I raq i

19     Humv e e and t he U.S. Humvee?

20            A       Ye s.     H e suffe red s ign if ic ant d ama ge t o

21     the b ac k re a r area behind the w he el , t ha t too k the

22     rear ti re o f the ba ck deck, b le w th e h at ch of f of

23     his v eh icle ; the fr ont of our s, i t d am ag ed th e

24     fron t f ende r .      It h ad some da ma ge - - a l it tle

25     dama g e to t h e engin e, though we f ou n d ou t lat er on
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                                                                             8


 1     heav y m arks in the door -- th e fr on t w in ds hie ld

 2     was c ra cked .      Prior we had a st ee l p la te w eld ed to

 3     the b ot tom o f the v ehicle, so t ha t i f we c ame

 4     acro s s any I EDs, th is would h el p le s se n th e i mp act

 5     beca u se the r e's no protection u nd er n ea th .

 6                      Some damage under t h e ve hi c le .          As I

 7     said be fore , the wi ndshield w as c ra c ke d, b ut we

 8     were ab le t o contin ue through i t af t er t he bl as t

 9     occu r re d.

10              Q       Wa s the re any damag e t o th e s te el pl at e

11     that yo u ha d ?

12              A       Ye ah.    There w as so me sc or ing ; the re w a s

13     some he avy p ockmark s from shr ap ne l.          A nd a s I s aid

14     befo r e.      We had shr apnel in t he b od y p ar ts , a s

15     well , o f th e vehicl e that had t o be ch an ge d o ut .

16              Q       Ri ght.    And we re th ere - - do yo u r ec al l

17     if t h er e we r e any e nemy comba ta nt s i n th e are a?

18              A       No ne th at we c ould see a c oup le of

19     buil d in gs t o the ri ght, a cou pl e bu i ld in gs to t he

20     left .       None that we could ide nt if y.

21              Q       An d who else w as in th e ve hic le wi th

22     you?       I don ' t know if you sti ll r ec a ll t he ir

23     name s .

24              A       I forgo t what my ma jor 's n ame w as.

25     Yeah , i t's b een a w hile ago.          M y ma j or , th e
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                                                                                9


 1     gunn e r, ano t her E7, our inter pr et er wa s in th e

 2     vehi c le , ou r Iraqi interprete r --

 3            Q      Ri ght.

 4            A      -- was in the vehic le as w ell .

 5            Q      An d did you ta lk wi th an yo ne ab out t he

 6     atta c k afte r it occ urred as t o wh o m ay h av e d on e

 7     it o r - -

 8            A      Ye s.     W e had a meet ing a ft erw ar ds.        Th e

 9     majo r s ent a report up to Bag hd ad o n t he i nci de nt.

10     All i nc iden t s are r eported up t o hi g he r

11     head q ua rter s on wha t had happ en ed .         Th e fi ve

12     W's - - who, what, w hen, how, wh er e, wh at t ime o f

13     day i t had h appened .

14            Q      Ye ah.     And do you k now i f thi s was a n

15     EFP b om b?

16            A      We susp ected t hat i t w as .         It l eft a

17     larg e i mpre s sion, f rom what t he g un n er c ou ld te ll

18     us - - b ecau s e, as I said, bef or e we co nt in ued o n,

19     it l e ft a p r etty go od sized h ol e in th e gr oun d.

20     And s o we'r e not su re.        We th in k so .

21            Q      Ye ah, o kay.      A ll ri ght .

22                   So the gunne r had a go od v i ew o f t he

23     crat e r it l e ft?

24            A      Ye s.     Y es.   An d the fo ll ow -on v ehi cl es

25     also le t us know, y ou know.          Be ca us e o nc e we go t
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 162 of 358
                                                                         10


 1     hit, ev eryo n e else veered off t he r o ad .         T he ot her

 2     two g un tru c ks, the American gu n tr u ck s, t wo ot her

 3     11-5 2 's wit h our ot her teamma te s, t h ey v ee red o ff

 4     the r oa d.     A nd we h ave a dril l th at we c on duc t

 5     that if one vehicle is disabl ed , th e n we f orm a

 6     peri m et er t o protec t it until w e ca n d o an

 7     extr a ct ion o r a rec overy, wha t to d o i n th e

 8     vehi c le .

 9            Q        Ye ah.    And as part of yo ur se rv ice ,

10     you' r e a -- would y ou say tha t yo u' r e fa mi lia r

11     with th e di s tinctio ns between a n EF P a nd a no rm al

12     IED?

13            A        Ye s.    Y es.   We had sta rt ed en co unt er in g

14     -- e a rl y in 2007, t here was a n us ua l ly h ig h

15     inci d en ce o f EFPs b eing disco ve re d, be ca us e a l ot

16     of o u r vehi c les, it causes a ca ta st r op hi c eff ec t

17     when yo u hi t an EFP other tha n an I E D.           So me of

18     the I ED s ha v e been like -- we f ou nd li ke a -- 1 55

19     roun d s wire d togeth er, and th e bl as t i s to tal ly

20     diff e re nt.

21                     If it catche s you a t t he r i gh t poi nt , it

22     can - - we'v e notice d that it ha s ac t ua ll y lif te d

23     the v eh icle s up off the groun d an d u pe nd ed th em

24     onto th eir r oofs.        So what we h ad - - g oi ng th ro ugh

25     the r ou tes, the rou te clearan ce t ha t - - yo u
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                                                                              11


 1     norm a ll y go ahead o f a convoy i f av a il ab le .          Bu t

 2     we h a ve run upon co nvoys that w er e h it a nd

 3     vehi c le s we r e upend ed on thei r ro of s , no m att er if

 4     they we re h e avy arm ored tanks , Br ad l ey 's o r

 5     Humv e e' s, i t usuall y was cata st ro ph i c if t hey w ere

 6     hit i n the r ight sp ot which w as l ik e d ir ec tly u p

 7     unde r t hem.        It too k the full b ru nt an d li fte d

 8     them of f th e ground .        (Witnes s co ug h in g. )   Ex cu se

 9     me.

10            Q        So if t his one had exp lo de d r ig ht

11     bene a th one of your vehicles, i f wo u ld h av e b ee n

12     cata s tr ophi c ?

13            A        Ye s, ye s.    Bas ed on th e si ze of th e

14     crat e rs , ye s .      We g ot lucky.    W e be l ie ve m ayb e it

15     woul d h ave b een, be cause we w er e tr a ve li ng at a

16     high ra te o f speed.

17            Q        Ri ght.

18            A        Th at wa s -- ye ah.

19            Q        An d you r convo y was ab le t o k ee p g oi ng

20     afte r t he e x plosion without s to pp in g ?

21            A        Ye s.     W e were able to co nt inu e on, b ut

22     at a mu ch s l ower pa ce.        The b at ta li o n co mm and er 's

23     vehi c le and our veh icle were -- y ea h , we m ade i t.

24            Q        Oh , oka y.

25                     Can you desc ribe th e p hy si c al i nju ry y ou
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 164 of 358
                                                                           12


 1     suff e re d fr o m the e xplosion?

 2            A        Wh en th e explo sion fir st o ccu rr ed, t he r e

 3     was a l oud - - there was a lou d ex pl o si on , the re

 4     was a f lash , I hit my head on t he w i nd sh ie ld, a nd

 5     late r I was seeing -- and it ga ve m e s om e sta rs .

 6            Q        Ri ght.

 7            A        An d und er the steer ing w he el, I wa s ab l e

 8     to - - I gue s s I sta yed consci ou s -- I di dn 't go

 9     unco n sc ious -- and was able t o ma in t ai n co ntr ol of

10     the v eh icle and pus h through it .          B u t th en wh en I

11     got b ac k to the aid station, I ha d a b la ck an d

12     blue br uise over my upper lef t fo re h ea d an d I

13     star t ed suf f ering s ome severe h ea da c he s.       It

14     actu a ll y ca u sed sta rs when it f ir st hi t.

15            Q        Ok ay.

16            A        An d the n the e ars p opp ed f rom t he lo ud

17     expl o si on.

18            Q        Ri ght.

19            A        An d so. ..

20            Q        An d did you -- and how l on g a ft er th at

21     did y ou sta y in Ira q?

22            A        Ab out, I would say, le t' s see , abo ut

23     nine mo re m o nths, n ine or ten m or e m on th s.

24            Q        Ok ay.

25            A        Th is wa s early on i n t he d epl oy men t.
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                                                                           13


 1            Q        Ye ah, o kay.

 2                     And did you continu e s uf fe r in g phy si ca l

 3     effe c ts fro m the ex plosion?

 4            A        Ye s.     I starte d hav ing b ad he ad ach es ,

 5     and s o I we n t to a few aid st at io ns .            Wh en I fi rst

 6     got c he cked out in the aid st at io n, I go t che ck ed

 7     for a c oncu s sion -- and so th ey t ho u gh t I mig ht

 8     have ha d a c oncussi on -- at a s ma ll ai d st ati on in

 9     the m id dle o f nowhe re.        So af te r st i ll

10     expe r ie ncin g severe headaches a nd b l ur ri ne ss an d

11     blur r ed vis i on, I c ontinued t o go t o a id s tat io ns.

12     When we -- w henever we would ge t to la rg er

13     inst a ll atio n s, larg e operatin g ba se s , I ch eck ed in

14     a co u pl e ti m es just to see if I c ou l d ge t bet te r

15     trea t me nt.    And the n I got be tt er t r ea tm en t o nc e I

16     got b ac k to the Sta tes.          The VA t oo k u p th e

17     trau m at ic b r ain inj ury treatm en t.       I h ad b een

18     iden t if ied, and the y said, Ok ay , al l r ig ht .

19            Q        Ho w lon g have you b een t re ate d for t he

20     TBI?

21            A        It was about f our y ear s.       I s ti ll ta ke

22     the m ed icat i on.       I' m still se en b y t he V A for t he

23     TBI.

24            Q        Ri ght.     And wh at ty pe of m edi ca tio n we r e

25     you p re scri b ed for it?
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 166 of 358
                                                                            14


 1              A       I was p rescrib ed su mat ri pt an.     I t hi nk

 2     it's su matr i ptan.        Yes.

 3              Q       Ok ay.    And are ther e a ny s ide e ffe ct s

 4     with th at m e dicatio n?

 5              A       Th ere a re a fe w, no t t oo m any .    He av y

 6     drow s in ess.     Basica lly, when yo u ta k e it , you n eed

 7     to l a y down because you're no t ab le to f un cti on ;

 8     you' r e not - - you d on't have to ta l c la ri ty be ca use

 9     thes e h eada c hes are blinding so me ti m es , to th e

10     poin t w here I have to get out o f li g ht a nd so un d,

11     tota l s ensi t ivity.       So, yeah, i t' s a d eb il ita ti ng

12     poun d in g of the hea d.

13              Q       Ri ght.    And ho w oft en do t hey o ccu r pe r

14     year ?

15              A       We ll, I get th em th ree , fo ur ti mes a

16     mont h .

17              Q       Ri ght.

18              A       So I wo uld say -- I wo ul d hav e to

19     calc u la te f o rty, fi fty times a ye ar , I g ue ss.

20              Q       Ok ay.

21              A       I don't really coun t t he m.

22              Q       An d how long d o the y l as t, or h ow lo ng

23     does ea ch h e adache last?

24              A       Us ually they'r e a d ay.     So met im es th ey

25     last fo r tw o days - -
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                                                                          15


 1              Q       Ri ght.

 2              A       -- befo re they subs ide .       A nd, y eah , th e y

 3     usua l ly put me down pretty go od .

 4              Q       An d hav e you s uffer ed an y emo ti ona l

 5     dist r es s fr o m exper iencing th e ex pl o si on , lik e

 6     PTSD or any t hing si milar?

 7              A       Ye ah.     From ex plosi ons , I do ha ve so me

 8     -- s o me rea c tions t o loud noi se s an d l ik e car

 9     back f ir es o r firewo rks someti me s, t h ey c au se me to

10     jump .       And I have h ad cases o f my w i fe t el lin g me

11     that I wake up in t he middle of t he ni gh t, an d I

12     just sw eep e verythi ng off the d re ss e r wi th a

13     one- a rm swo o p.        I d on't know wh y th a t is .   Bu t,

14     yeah , a cou p le of t hings.

15              Q       Ri ght.     Are yo u cur ren tl y mar ri ed?

16              A       Ye s.

17              Q       Ok ay.     And do you m ind t el lin g me yo ur

18     wife ' s name ?

19              A       Ye s.     Y senia W ilson .

20              Q       Ok ay.     Were yo u mar rie d to he r at th e

21     time of the explosi on as well ?

22              A       Ye s.

23              Q       An d has that h ad an ef fe ct on y our

24     rela t io nshi p with h er negativ el y?

25              A       Ye ah, a little .      Sh e s ay s tha t I'm a
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 168 of 358
                                                                          16


 1     litt l e diff e rent th an when I we nt - - w he n I

 2     depl o ye d, a little more irrit ab le o r e as il y

 3     irri t at ed, s he says , from zer o to a hu nd re d, a

 4     moun t ai n ou t of a m olehill.

 5            Q      Ri ght.      And do you hav e an y c hi ldr en ?

 6            A      Ye s.     I have t wo so ns.     On e 2 9 and o ne

 7     26.   At the time, t hey were a l it tl e y ou ng er, l ike

 8     18 a n d 9, o r -- yea h.

 9            Q      An d hav e the h eadac hes c au sed y ou --

10     prev e nt ed y o u from enjoying l ik e pl a yi ng s por ts or

11     anyt h in g so c ially t hat you co ul d ha v e do ne be fo re

12     the e xp losi o n that you can't do n ow af te r

13     suff e ri ng t h e TBI?

14            A      Ye ah.      I'm not as s oci ab le , m or e

15     intr o ve rt, s tay mor e to mysel f.        It , u h -- I gu ess

16     my p e rs onal i ty just -- I feel a l it t le s af er in

17     the h ou se, y ou know , not as a bl e to be a ro und

18     larg e c rowd s or gat herings.        I ha ve a li tt le mo re

19     anxi e ty abo u t it th an I did b ef or e.

20            Q      Ri ght.

21                   And then whe n you r e ti re d f ro m the A rm y,

22     had y ou pla n ned -- did you pl an o n e nt er in g

23     anot h er car e er, or -- did you p la n o n en te rin g

24     anot h er car e er that the TBI m ay h av e p re ve nte d you

25     from en teri n g?
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 169 of 358
                                                                             17


 1            A        Ye ah, I did.       And t he TB I had s ome

 2     effe c t.     Wh e n I got out, I wa s an i n st ru ct or fo r

 3     the A rm y, b u t there were some p er io d s of t ime

 4     wher e I wou l d have to take of f fr om wo rk d ue to

 5     the h ea dach e s.

 6            Q        Ri ght.

 7            A        Th e deb ilitati ng he ada ch es , I j ust

 8     coul d n' t do it.        An d being an i ns tr u ct or r equ ir es

 9     you t o be o n hand, be on your f ee t f or e ig ht,

10     mayb e n ine h ours a day, be at te nt iv e , st ay

11     focu s ed , an d delive r the educ at io na l m at er ial .

12            Q        Ok ay.     Is ther e any thi ng e lse y ou wa nt

13     to s a y abou t the da y of the a tt ac k o r th e bra in

14     inju r ie s, a n ything that I hav en 't a s ke d ab out ?

15            A        Ye ah.     The mem ory i s a l it tle b it no t a s

16     stro n g as i t was.        As I said be fo re , w he n it

17     happ e ne d ea r ly in t he tour, t he m ed i ca l at ten ti on

18     was p re tty l imited.         But I ke pt t ry i ng t o go to

19     clin i cs whe n ever I could to g et c he c ke d ou t b y the

20     best me dica l people that were a va il a bl e in th e

21     clin i cs .    S o when I got back, l ik e I s ai d, I we nt

22     thro u gh the therapy , and I st il l se e t he m, an d so

23     I do n 't for g et.

24            Q        Ye ah.

25            A        Ye ah.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 170 of 358
                                                                       18


 1                   MR. TRAVERS:       Thank yo u so mu ch fo r

 2     shar i ng you r story and for gi vi ng u s y ou r tim e.

 3     I'm g oi ng t o stop r ecording a nd s pe a k wi th yo u

 4     brie f ly aft e r I sto p recordin g an d l et y ou kn ow

 5     wher e w e go from he re.       But t hi s is go in g to en d

 6     the d ep osit i on.

 7                   (Whereupon, the dep o si ti on of

 8                   BOBBY WILSON , JR., w as c on c lu de d.)

 9

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Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 171 of 358
                                                                            19


 1                   DIS T R IC T O F CO L UM BI A A T LAR GE:

 2

 3                  I, L e sl ie A. T odd , No t ar y P u bli c i n

 4     and f or the Di str ic t of Col u mbi a, d o h ere b y c er t if y

 5     that th e fo r eg oin g vi deo tap e d d epos iti on w as

 6     prov i de d to me by c ou nse l f o r t he P lai nti f f i n t hi s

 7     matt e r.

 8                  I do fu rth er c ert if y t ha t t h e d epo s iti on

 9     was t ra nscr i be d b y me an d i s , t o th e b est of my

10     know l ed ge a n d abi li ty , a n a c cur ate and co r rec t

11     reco r d of t h e dep os it ion .

12                  I he r eb y c er ti fy th at I am n eit her an

13     atto r ne y fo r a ny pa rt y, nor am I re lat ed t o a ny

14     part y c onne c te d w it h thi s a c tio n, n or am I

15     fina n ci ally in ter es te d i n t h is acti on.

16                  Give n u nde r my ha nd a n d sea l th is 5 th day

17     of A p ri l 20 2 1.

18

19

20

21

22                                   _ ___ ____ ___ __ _ ____ __ _ ____ _
                                     L esl ie T odd , N otar y P ubli c
23                                   D ist rict of C o lumb ia

24      My C o mm iss io n Exp ir es :
        Febr u ar y 2 9, 2 024
25
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           Exhibit 8
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                                                                      1


 1                       UNITED STATES DISTRICT COURT

 2                       FOR THE DISTRICT OF COLUMBIA

 3

 4     --------------------------------x

 5     DANIEL BOTTORFF, et al.,                 ) Civil Action No.

 6                       Plaintiffs,            ) 18-3122 (CKK)

 7          v.                                  )

 8     THE ISLAMIC REPUBLIC OF IRAN,            )

 9                       Defendant.             )

10     --------------------------------x

11

12
                    REMOTE VIDEOTAPED DEPOSITION ON
13
                             ORAL EXAMINATION OF
14
                              NICHOLAS L. McCOY
15
                          WEST FRANKFORT, ILLINOIS
16
                               MARCH 24, 2021
17

18

19

20

21

22

23
       Transcribed by:
24     Leslie A. Todd, CSR No 5129 and RPR
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                                                                      2


 1                        P R O C E E D I N G S

 2                         -------------------

 3                   MR. TRAVERS:       Good morning.

 4                   THE WITNESS:       Good morning.

 5                   MR. TRAVERS:       I am just going to read a

 6     little preamble.

 7                   This is the videotaped deposition of

 8     Nicholas L. McCoy, who was a serviceman for the U.S.

 9     military.     While on active duty in Iraq, he suffered

10     injuries due to manufactured munitions.

11                   This case has been filed before the

12     U.S. District Court for the District of Columbia,

13     styled Bottorff, et al., v. The Islamic Republic of

14     Iran, et al.

15                   I'm Jeffrey Travers, an attorney for the

16     Miller Firm.      I am located in Orange, Virginia.

17     Today's date is March 24, 2021.

18                   This is a videotaped deposition with the

19     deponent in West Frankfort, Illinois.

20                             NICHOLAS L. McCOY,

21                   having first been duly sworn, was

22                   deposed, and testified as follows:

23                                EXAMINATION

24     BY MR. TRAVERS:

25            Q      For the record, can you state your full
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                                                                      3


 1     name?

 2             A     Nicholas Lee McCoy.

 3             Q     And do you mind stating what your date of

 4     birth is and your current address?

 5             A     Sure.                .   Current address is

 6                           West Frankfort, Illinois 62896.

 7             Q     Thank you.      And where did you go to high

 8     school?

 9             A     Here in West Frankfort.          Frankfort

10     Community High School.

11             Q     Okay.     And did you join the military

12     after high school?

13             A     Yes.

14             Q     And can you just briefly state how you

15     came about joining the military?

16             A     I just joined the early -- the delayed

17     entry program at 17.        I had to get waivers from my

18     parents, and I joined within a month, I guess, after

19     high school.

20             Q     Okay.     What year was that?

21             A     2004.

22             Q     When you joined, did you anticipate that

23     you would be going to Iraq?

24             A     Yes.

25             Q     And how many tours of duty did you do in
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 176 of 358
                                                                           4


 1     Iraq?

 2             A     Just the one.

 3             Q     Okay.     What unit were you in in Iraq?

 4             A     The 172nd Striker Brigade, combat team,

 5     out of Ft. Wainwright, Alaska.

 6             Q     Okay.     What was your rank while in Iraq?

 7             A     E-3.    Private First Class.

 8             Q     And did you leave the military after that

 9     first tour?

10             A     I left during that first tour.

11             Q     Okay.     When did your first tour start in

12     Iraq, or do you have the date when you first went to

13     Iraq?

14             A     It was around the middle of August 2005.

15     So probably the 14th of August or so, I would say.

16             Q     Okay.     And I want to go through the

17     details of the IED attack.          And do you recall the

18     exact date when that attack occurred?

19             A     Yes.    I've got it written down here.           It

20     was October 12, 2005.

21             Q     Can you describe the area where or the

22     geographic location?

23             A     Well, we were on a convoy between Mosul,

24     Iraq at the FOB Morez and the Camp Rawah, Iraq.                My

25     wife at the time was stationed there, at Camp Rawah.
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                                                                          5


 1            Q      Okay.

 2            A      And I was going to visit her.            It was

 3     kind of out in the middle of the desert.              I think it

 4     was about a five- or six-hour convoy.             And, yeah,

 5     that was pretty much the trip, out in a dustbowl.

 6            Q      Okay.     Do you recall what road?

 7            A      It was just us driving through the desert

 8     the whole time.       So, I don't think there was any

 9     specific streets or anything like that.

10            Q      Okay.     Do you recall approximately what

11     hour it occurred, what hour into the journey the

12     attack occurred?

13            A      We were almost -- we were probably within

14     an hour being back to base, on the way back to FOB

15     Morez.

16            Q      What type of vehicle were you in?

17            A      A up-armored HEMTT wrecker.

18            Q      Okay.     And "HEMTT," is that an

19     abbreviation for something?

20            A      I can't remember exactly what it is

21     anymore.     It's highly mobile equipment transport.

22     It's one of the 8x8 vehicles.

23            Q      And can you describe what type of armor

24     it had?

25            A      It had up-armor.        I don't know too much
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 178 of 358
                                                                       6


 1     about it.     It was the same thing that was on the

 2     Humvees for the most part.

 3            Q      Okay.     And do you know how many vehicles

 4     were in your convoy?

 5            A      Honestly, I couldn't tell you.            I know it

 6     was more than 12, less than 20.

 7            Q      Okay.     And what position was the vehicle

 8     you were in?

 9            A      I was next to last.

10            Q      Okay.     Yeah, now I've got to ask you, if

11     you could describe what happened as far as the

12     explosion to the best of your memory.

13            A      Okay.     Well, we were, like I said,

14     probably within an hour or so of returning to base,

15     and we were just following all of the vehicles in

16     front of us, and we had the final truck in our

17     convoy, the gun truck, which is a Humvee, was right

18     behind us and I was in the passenger seat of our

19     HEMTT.     My sergeant was driving us, and we were, you

20     know, just driving through the desert.              You can't see

21     50 feet in front of you sometimes 'cause the dust is

22     so thick.     But all of a sudden, I heard this -- well,

23     saw, I guess, first, the dust coming up, out from

24     underneath the trailer on the truck right in front of

25     us, and shrapnel started hitting our truck, and one
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                                                                      7


 1     of the tires was blown off of their trailer, in front

 2     of us.     And it flew across the windshield right in

 3     front of me, and I had to call in the attack to the

 4     -- you know -- lead convoy truck --

 5            Q      Yeah.

 6            A      -- to let them know what was going on.

 7     And then when -- we had to stomp the gas and get out

 8     of there, find a place to, you know, settle down and

 9     try to assess what happened.           And then they sent a

10     Humvee off to try to figure out, you know -- there

11     was a small boy, I guess, that they had told me was

12     12 years old, and maybe -- who had a half dozen sheep

13     with him, and he was the only person in the area that

14     we could find.      So -- and then I had to go underneath

15     that blown up truck 'cause I was a mechanic and had

16     to chain up the axles and put the tire back on it and

17     all that so we could move on our way.

18            Q      Okay.     And was the truck that got hit,

19     was that the same type of truck you were in?

20            A      Similar.     I believe it was a PLS, which

21     is a little bit bigger than the HEMTT, and then it

22     had a convoy trailer behind it.

23            Q      Okay.

24            A      Which was actually what was hit.

25            Q      Okay.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 180 of 358
                                                                      8


 1            A      So probably ten or twelve feet or so

 2     back, and I would have been, you know, right above it

 3     when it went off.       So...

 4            Q      Okay.     And can you describe what the --

 5     and what was the type of the armor of the vehicle

 6     that got hit?

 7            A      There was no armor on the trailer.

 8            Q      Okay.

 9            A      So I don't know about the vehicle itself.

10            Q      Okay.     Can you describe the -- can you

11     describe what the damage or -- can you describe the

12     damage on the trailer and the vehicle that was

13     pulling it?

14            A      It was mainly on the trailer 'cause it

15     was made to go off on a certain spot.

16            Q      Yeah.

17            A      But it hit the bottom of the axle, I

18     guess, on that trailer, and it destroyed the axle.

19     It blew the tire and the brake assembly off in front

20     of the truck that I was in, and then it blew the --

21     blew a hole in the bottom of the trailer probably

22     right through the CONEX on the trailer, probably two

23     or three feet across.

24            Q      Okay.

25            A      And, you know, there was -- it was an
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 1     empty trailer so mostly just (inaudible) inside.               And

 2     then above that was -- the ceiling of the CONVEX was

 3     bowed upwards and bowed outwards, and you could see

 4     where shrapnel had gone through in every direction.

 5            Q      Yeah.     Where the bomb hit, was there just

 6     one big hole?

 7            A      Yes.

 8            Q      Okay.     And I don't know if you can

 9     remember, but do you recall how high -- how wide the

10     hole was the bomb initially hit?

11            A      I would say probably two and a half to

12     three feet across.

13            Q      Okay.     And were you injured in the

14     explosion?

15            A      Not physically, no.

16            Q      Okay.     Can you describe how it felt, like

17     emotionally, when the explosion went off?

18            A      It was one of those things I didn't

19     really realize what had really happened until the

20     tire went flying across in front of me and I saw the

21     black smoke coming out from underneath the trailer

22     and it was just a scary moment, you know, 'cause the

23     only thing I could think was that something else was

24     going to hit, you know, and it was going to hit its

25     intended target, you know, which was probably me.
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                                                                      10


 1             Q     Yeah.

 2             A     And the sergeant, you know, in my truck.

 3     So...

 4             Q     Okay.     And you had to get after -- right

 5     after the explosion, you said you had to go and

 6     repair the -- one of the other vehicles.

 7             A     Yes.     The -- as soon as the explosion

 8     went off, it knocked the brake system off the truck.

 9     So I had to crawl on the ground, in the desert,

10     underneath this truck, you know, not knowing if I'm

11     going to lay on one of those bombs or something, and

12     immediately, you know, chain up the axle and stuff so

13     that the truck could roll again.

14             Q     Yes.     And how long was your convoy

15     stalled as a result of the explosion?

16             A     I would say at least 30 minutes to 45

17     minutes before I could get it going again.

18             Q     Right.     And were you debriefed at all for

19     the explosion as to who caused it, or did they know

20     who had done it?

21             A     No, I wasn't.

22             Q     And you eventually made it to the other

23     base and saw your wife, correct?

24             A     Well, that was after I had seen her at

25     the other base.
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                                                                             11


 1             Q       Okay.

 2             A       At Rawah.    So I was on the way back to

 3     Morez.       But I did make it back to Morez, and then,

 4     you know, I guess I was off the rest of the day.                  I

 5     don't remember at this point, but...

 6             Q       How long -- and when did you end up

 7     leaving Iraq?

 8             A       Well, shortly after that, that's when I

 9     started having issues with -- you know, they didn't

10     know what it was at the time, so they decided they

11     were going to chapter me out instead of military

12     retiring or medically retire me or anything like

13     that.       They just decided to chapter me out, like on a

14     chapter 13 discharge for other physical or emotional

15     conditions or something along those lines.               And so

16     they sent me back probably in October, or -- well, it

17     had to have been November I guess of that year, 2005,

18     and then they sent me back to Alaska.

19             Q       Okay.   And do you believe that was as a

20     result of experiencing that explosion and attack?

21             A       Yes, sir.

22             Q       Okay.   And can you just describe how that

23     trauma from that attack has affected your life after

24     the military?

25             A       Well, it's -- I believe it directly, you
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                                                                        12


 1     know, caused me to get divorced from wife who I was

 2     over there in Iraq with at the time.             And then, you

 3     know, I ended up getting divorced again shortly after

 4     that from another woman who I had met here locally.

 5     And, you know, I've had severe PTSD.             You know, I was

 6     diagnosed through the VA hospital.            And, you know,

 7     I've had to quit jobs that, you know, were decent

 8     jobs because I couldn't handle it, you know.

 9            Q      Yeah.

10            A      And they didn't know why for a while.

11     And then the VA finally said, you know, I had PTSD.

12     And so it's been a lot of anxiety, a lot of paranoia,

13     and memory loss, and, you know, so on.

14            Q      Do you still receive treatment at the VA

15     for the PTSD?

16            A      No.     I was seeing a psychiatrist there

17     for a while.

18            Q      Yeah.

19            A      And I realized that it was something that

20     I'd better deal with on my own and -- than talking to

21     people about.       So...

22            Q      Yeah.     Have you ever applied for

23     disability?

24            A      Yes.     I'm a 100% permanently and totally

25     unemployable through the VA for the PTSD.
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                                                                      13


 1            Q      Okay.

 2            A      And Social Security disability also for

 3     the PTSD.

 4            Q      Let's see.        And did you have any children

 5     at the time of the attack?

 6            A      No.

 7            Q      Do you have any children now?

 8            A      Yes.    One daughter.

 9            Q      And has the PTSD affected your

10     relationship with her?

11            A      I would say so, yes.

12            Q      Okay.     And you're not currently married?

13            A      No, I'm not married.

14            Q      Okay.     Let's see.     How long was your

15     first wife -- how long did she stay in Iraq after you

16     had left?

17            A      I think she was there for another 12

18     months or so.

19            Q      Okay.     And is there anything -- I guess

20     you were a teenager, but was there anything that you

21     used to enjoy before the attack, before entering the

22     military, you know, like sports or anything socially

23     where now you can't -- that you can't really do

24     anymore because of the PTSD?

25            A      Sure.     Yeah.    I've always been into
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                                                                           14


 1     sports, not something like I did through school or

 2     anything really.

 3             Q     Yeah.

 4             A     But I did play basketball and golf and

 5     things like that.       But, you know, it's hard for me to

 6     be out in public anymore, you know.             I've lived in

 7     this house for almost 15 years now, and I feel like I

 8     barely ever leave it, you know, 'cause, you know,

 9     everything around me, the anxiety and everything else

10     is, you know, it's hard to deal with, for sure.

11             Q     Yeah.     Is it difficult for you to

12     maintain friendships or make friends because of the

13     PTSD?

14             A     Yes.    I don't have any friends.          I

15     haven't had any relationships since my second ex-wife

16     which was about ten years ago now.            So...

17             Q     Okay.     Let's see.

18                   Is there anything else that stands out

19     about the events from that day that you would like to

20     mention or talk about?

21             A     Well, I'm not sure what else to say.             It

22     has definitely affected my whole life, for sure, my

23     future plans and everything else.            I mean I had

24     originally planned, you know, I was going to do six

25     years, and that's what I signed up for, and I ended
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                                                                      15


 1     up doing less than two because of the IED attack.

 2            Q      Yeah.

 3            A      And I wasn't able to, you know, fulfill

 4     my original commitment which has bothered me, you

 5     know, also through the years.           And then the fact that

 6     I had -- you know, I had planned on being a military

 7     lifer essentially, and then getting out and trying to

 8     get a government job and stuff and --

 9            Q      Yeah.

10            A      Instead I got booted out without my

11     consent, essentially, just saying, you know, we don't

12     know what you have, but we have to force you out.

13            Q      Yeah.

14            A      You know, I ended up practically going

15     bankrupt, trying to pay bills and everything at that

16     point 'cause I had no income.           You know, they didn't

17     see me -- they didn't want to give me, I guess,

18     medical retirement or anything like that.

19            Q      Yeah.

20            A      So I didn't get anything from the VA

21     until 2007, I guess it was.          So over a year and a

22     half after I got out, before they even diagnosed me

23     with PTSD, and then it took -- it took until October

24     2010, I believe it was, before they finally gave me

25     100% without employability, and, you know, decided
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 1     that's what I should have gotten the whole time.

 2            Q      Okay.     And was there -- I forget if

 3     you've mentioned it, but do you recall the name --

 4     was there anyone else injured in the attack?               Or --

 5            A      I'm sure some of the guys might have PTSD

 6     that were part of it, but I couldn't tell you because

 7     I barely saw them right after -- you know, just after

 8     it happened.      Like I said, they sent me home pretty

 9     quick after that.

10            Q      And do you recall the names of anyone

11     else who had directly witnessed the bombing?

12            A      No, I don't.

13            Q      Okay.

14            A      It was kind of one of them deals I was

15     thrown into, you know, so I didn't really know

16     anybody.     And my sergeant, I honestly can't remember

17     his name --

18            Q      Okay.

19            A      -- because that was 14 years ago, or

20     whatever it was.       So...

21            Q      Okay.

22                   MR. TRAVERS:       That's all the questions I

23     have right now.

24                   THE WITNESS:       Sure.

25                   MR. TRAVERS:       I will stop recording,
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                                                                       17


 1     unless there is anything else you want to add.

 2                   THE WITNESS:       If you don't mind, give me

 3     a second to look through here.

 4                   I do have the combat action badge also

 5     from that, you know, that attack, vehicular.

 6                   MR. TRAVERS:       Okay.

 7                   THE WITNESS:       And yeah, I would say, you

 8     know, I thought would be it -- besides -- I would

 9     just mention the fact that, you know, I have

10     migraines all the time due to this, and I can't

11     sleep, you know, nauseous and shaky and everything.

12     And I've been going through this for years, and the

13     VA has tried multiple medications and stuff, and they

14     -- you know, none of them seem to have any effect.

15     So I'm kinda stuck where I'm at, you know.

16                   MR. TRAVERS:       Okay.    Thank you very much

17     for your testimony.        I will stop recording, and then

18     I can just talk to you briefly after.

19                   THE WITNESS:       Sure.

20                    (Whereupon, the deposition of

21                    NICHOLAS L. McCOY was concluded.)

22

23

24

25
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                                                                      18


 1                    DISTRICT OF COLUMBIA AT LARGE:

 2

 3                  I, Leslie A. Todd, Notary Public in

 4     and for the District of Columbia, do hereby certify

 5     that the foregoing videotaped deposition was provided

 6     to me by counsel for the Plaintiff in this matter.

 7                  I do further certify that the deposition was

 8     transcribed by me and is, to the best of my knowledge

 9     and ability, an accurate and correct record of the

10     deposition.

11                  I hereby certify that I am neither an

12     attorney for any party, nor am I related to any party

13     connected with this action, nor am I financially

14     interested in this action.

15                  Given under my hand and seal this 5th day

16     of May 2021.

17

18

19

20

21                                   __________________________
                                     Leslie Todd, Notary Public
22                                   District of Columbia

23                                   My Commission Expires:
                                     February 29, 2024
24

25
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           Exhibit 9
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                                                                          1


 1                      UNITED STATES DISTR IC T CO URT

 2                      FOR TH E DISTRICT O F CO L UM BI A

 3

 4     ---- - -- ---- - ------- ---------- -- x

 5     BOTT O RF F, e t al.,                    ) Ci vi l Act io n N o.

 6                       Plai ntiff,            ) 18-3122 ( CK K )

 7          v.                                  )

 8     THE I SL AMIC REPUBLI C OF IRAN,         )

 9                        Defen dant.           )

10     ---- - -- ---- - ------- ---------- -- x

11

12
                      RE MOTE VIDE OTAPED DEPOSI TI ON
13
                          ON O RAL EXAMINA T IO N OF
14
                           MICH AEL PAUL FIS SL ER
15
                            LAWTON, PENN SY L VA NI A
16
                                MARC H 18, 2 0 21
17

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22

23     Tran s cr ibed by:
       Lesl i e A. T o dd, CSR No 5129 a nd R PR
24     Vall e y Cent e r, Cali fornia 920 82
       (202 ) 4 13-2 7 33
25     Lesl i ea todd 2 001@yah oo.com
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                                                                            2


 1                           P R O C E E D I N G S

 2                              ----------- --- -- --

 3                    MR. MILLER:      This i s t he v i de ot ape d

 4     depo s it ion o f Micha el Fissler , wh o w as a

 5     serv i ce man f or the United Sta te s mi l it ar y.       W hi le

 6     on a c ti ve d u ty in I raq, Micha el F is s le r su ffe re d

 7     inju r ie s du e to Ira nian-manuf ac tu re d m un it ion s.

 8                    This case ha s been f il ed b e fo re th e U. S.

 9     Dist r ic t Co u rt for the Distri ct o f C ol um bi a,

10     styl e d Bo tt orff ver sus The Is la mi c Republ ic o f

11     Iran , e t al .

12                    I'm Pete Mil ler wit h M il le r D el laF er a.

13     For t he sak e of cla rity, the de po ne n t' s cl ien t ID

14     is 1 0 .0 09.0 1 .

15                    Today is the 18th o f M ar ch 20 21 .

16                    Sir, please raise y o ur r ig h t ha nd an d

17     repe a t afte r me.

18                             MICHA EL PAUL FI SS LE R ,

19                    having first been d u ly s wo r n, w as

20                    examined and testif i ed a s f ol lo ws:

21                                  E XAMINAT I ON

22     BY M R . MILL E R:

23            Q       An d ple ase sta te yo ur fu ll na me ag ai n.

24            A       Mi chael Paul F issle r.

25            Q       An d whe re do y ou cu rre nt ly li ve ?
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                                                                             3


 1            A       La w ton, Pe nn sy lva ni a .

 2            Q       Al l rig ht.    An d w ha t i s yo u r da te of

 3     birt h ?

 4            A

 5            Q       Ok a y.   And w he re di d y ou g o t o hig h

 6     scho o l?

 7            A       Oa k Lak e.

 8            Q       Oa k Lak e i n Pe nns yl v an ia ?

 9            A       Ye s , si r.

10            Q       Ok a y.   And d id yo u j oi n th e m il ita ry

11     righ t o ut o f h igh s ch ool ?

12            A       Ye s .

13            Q       An d wha t b ra nc h d id yo u jo i n?

14            A       Ar m y.

15            Q       Ok a y.   And w ha t y ea r d id y o u ge t o ut o f

16     high sc hool ?

17            A       I g ot o ut of h igh s c ho ol i n ' 99 .

18            Q       An d how ma ny y ear s d id y ou sp en d i n t h e

19     mili t ar y?

20            A       I' m cur ren tl y -- my re ti re m en t pac ka g e

21     just go t ac c ep ted , so it wi l l b e al mos t 2 2 ye ar s .

22            Q       Oh , so you 'r e get ti n g ou t n ow ?

23            A       Co r rect .

24            Q       Wh a t is yo ur c urr en t r an k?

25            A       St a ff s erg ea nt , E -6 .
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                                                                         4


 1            Q       Ok ay.     I would like to a sk --

 2            A       I could n't phy sical ly do i t a ny mo re .

 3            Q       I' m sor ry?

 4            A       I could n't phy sical ly do i t a ny mo re , s o

 5     that ' s what caused my retirem en t.

 6            Q       Ye ah, a nd we w ill d isc us s tha t her e

 7     shor t ly .

 8                    And those ph ysical i nj ur ie s s te m f ro m

 9     an I E D atta c k that you were i nv ol ve d i n on

10     26 A u gu st 2 0 06, cor rect?

11            A       Ye s, si r.

12            Q       Ok ay.     And bec ause of th at IE D att ac k,

13     you r ec eive d a purp le heart, co rr ec t ?

14            A       Ye s.

15            Q       Ok ay.     Taking you b ack t o 26

16     Augu s t 2006 , you've been in t he m il i ta ry r oug hl y

17     six y ea rs.    What wa s your dut y st at i on t he n?

18            A       St atesi de?

19            Q       No .     Wh en you were dep lo ye d.

20            A       Wh en I was dep loyed , w e we re in Q We st ,

21     Iraq , w hich was jus t south of M os ul .

22            Q       Ok ay.     And I'd like to h ea r - - wha t wa s

23     your du ty?     What wa s your wor k ti tl e b ac k in

24     Augu s t of 2 0 06?

25            A       I was a convoy comm and er .
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                                                                          5


 1            Q       An d you were w ith t he 82 8t h; is th at

 2     righ t ?

 3            A       Ye s.

 4            Q       Ok ay.    And the n you al so i ndi ca ted t ha t

 5     it w a s QM c o mpany.      What is a Q M co m pa ny ?

 6            A       Qu arter master .

 7            Q       An d wha t does that sig ni fy ?

 8            A       We supp ort.     O ur co mpa ny w oul d be --

 9     that ' s a re s erve un it.     We're t he re to s up por t

10     acti v e duty units.        But, of c ou rs e w he n we go t

11     ther e , we r a n the m issions in st ea d o f su pp ort in g

12     the m is sion s .

13            Q       An d it was -- you s aid t he 88 M and 9 2F ,

14     what is the signifi cance of t ha t?

15            A       88 Mike is a t ruck dri ve r, an d 92 Fo x i s

16     a fu e le r.

17            Q       An d tho se are title s t ha t you h ad?

18            A       Co rrect .    They are two d if fer en t M OS s,

19     two d if fere n t jobs I could do .

20            Q       On the 26th of Augu st 20 06 , w ha t v eh ic l e

21     were yo u in just pr ior to the I ED a t ta ck ?

22            A       A Humve e.

23            Q       Wa s it an armo red H umv ee ?

24            A       Up armor ed Humv ee.

25            Q       An d you were k ind e nou gh t o s en d u s
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 197 of 358
                                                                             6


 1     phot o s of t h at, cor rect?

 2            A      Co rrect .

 3            Q      An d I'l l try t o put on e of th os e u p on

 4     the s cr een h ere as we discuss i t.

 5                   Tell me abou t the e v en ts t h at d ay, k in d

 6     of b a ck up e ven bef ore the IE D ev en t h ap pe ned ,

 7     kind of how that da y unfolded .           W al k m e th rou gh

 8     what ha ppen e d on 26 th August 20 06 , p le as e.

 9            A      I got c alled i n -- we us ua lly g et ca ll e d

10     in 1 2 h ours prior, 24 hours p ri or t o a m is sio n.           I

11     got m y miss i on.     I was in cha rg e of th e wh ole

12     conv o y to r u n south .     And tha t mo rn i ng , we go t

13     load e d up, a nd I wa s training a n ew so ld ie r f ro m

14     -- t h at was taking over for u s, b ec a us e we we re

15     goin g - - we were le aving coun tr y wi t hi n li ke

16     anot h er mon t h or tw o.     So I h ad a no t he r ac tiv e

17     duty so ldie r that I was train in g.

18                   And we got b lown up in t he sa me sp ot

19     ever y m issi o n.    We just didn' t kn ow wh at v ehi cl e

20     was g oi ng t o get it that day.          An d w e go t to th e

21     spot , a nd a soldier says, Is th is w h er e we us ua lly

22     get b lo wn u p ?    I sa id, Yep, k ee p yo u r ey es pe al ed.

23     And w it hin 3 0 secon ds, we wer e fl yi n g in t he ai r,

24     and e ve ryth i ng was on fire.

25            Q      We re th ere any insu rge nt s tha t cam e in
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                                                                            7


 1     to a t ta ck a f ter the IED, or w as i t j us t th e - - was

 2     the I ED exp l osion t he event t ha t yo u h ad t o d ea l

 3     with th at d a y?

 4            A        Ju st -- as far as w e k no w, ju st th e IE D

 5     expl o si on.

 6            Q        Ok ay.     And the n if you h ad ex pe rie nc e

 7     then wi th o t her IED s hitting yo ur c o nv oy , was t his

 8     one a ny mor e powerf ul than th e on es yo u ha d s ee n

 9     in t h e past ?

10            A        Ye ah.     Yeah.   I was hi t on ce be for e

11     that , a nd t h at wasn 't so bad.        I ju s t ha d deb ri s

12     hit m e.    Bu t this o ne, they s ay i t l if te d our

13     armo r ed Hum v ee seve ral feet i n th e a ir a nd th re w

14     us i n to the ditch.

15            Q        Wh at wa s the o utcom e, th e fat e of th e

16     indi v id uals in the Humvee wit h yo u?

17            A        Ou r dri ver, it was a f em al e, sh e w as

18     blow n o ut o f it, I think she -- s om e th in g to he r

19     elbo w m issi n g.       I d on't know.   Bu rn s .   M y gun ne r

20     took sh rapn e l all o ver.        And th e ac t iv e du ty

21     sold i er tha t I was training, he - - I d on 't kn ow --

22     he g o t ship p ed stra ight to Ge rm an y, so - - I k no w

23     he d i dn 't h a ve much feeling o n hi s - - on e sid e of

24     his b od y, a n d he wa s unconsci ou s.

25            Q        Do you recall shrap nel g oi ng th rou gh t h e
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 199 of 358
                                                                             8


 1     vehi c le ?

 2            A      I -- it must h ave.         It h ap pen ed so f as t ,

 3     you d on 't, y ou know --

 4            Q      Di d it affect any o the r ve hic le s b es id e s

 5     your s ?

 6            A      Ju st mi ne.

 7            Q      Ok ay.    I'm tak ing t he ca me ra, a nd I' m

 8     goin g t o th e pictur e -- I kno w yo u d on 't h ave i t

 9     in f r on t of you, bu t the pict ur e sh o ws a n

10     indi v id ual w ith a n eck brace an d an ar m ba nd on .

11     Is t h at you standin g in front o f th e v eh ic le?

12            A      Ye s, th at's me .

13            Q      Al l rig ht.     An d how lo ng a fte r the

14     atta c k is t h is phot o -- was t hi s ph o to t ak en?

15            A      Pr obabl y, I wo uld s ay, t hr ee we eks - -

16     thre e o r fo u r weeks .     I -- I do n' t k no w if th er e's

17     a da t e on t h e pictu re or not.        I do n 't - -

18            Q      Yo u kno w, ther e is.       T he re 's a dat e I' m

19     seei n g of 2 0 06, 09/ 02, so tha t wo ul d h av e bee n

20     Sept e mb er 2 0 -- 02, and the e ve nt h a pp en ed in

21     Augu s t, so i t would have been a bo ut a we ek af te r.

22     Does th at s o und rig ht?

23            A      It may have be en, y eah .        B eca us e i t wa s

24     brou g ht bac k to our company.

25            Q      An d was the ov erall co ns en sus a t y ou r
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                                                                           9


 1     comp a ny tha t this w as damage to a v e hi cl e tha t

 2     exce e de d wh a t was n ormally se en ?

 3            A      Ye ah.    We've h ad se ver al t hat w ere

 4     pret t y dama g ed, so --

 5            Q      We re an y -- an d I m igh t ha ve al rea dy

 6     aske d - - we r e any o ther vehic le s da m ag ed o n t hi s

 7     atta c k, or j ust you rs?

 8            A      Ju st mi ne.

 9            Q      Ta lk to me abo ut yo u p er so nal ly .

10                   What physica l injur i es d id yo u go

11     thro u gh ?

12            A      My neck .      Then when I go t hom e -- we ll ,

13     it c o mp ress e d my sp ine.     So I n ev er re al ly we nt to

14     a ci v il ian d octor, even to th is d ay .

15                   The VA just, you kn o w, s ay -- t hey j us t

16     say, Yo u ha v e degen erative di sc d is e as e, b ut th ey

17     say t ha t to everyth ing.        It's j us t a c om mo n t er m

18     for t he m, i s what I 've read.

19                   And my PTSD -- I us e d to h a ve a dju st me nt

20     diso r de r, b u t then they just fl ip pe d i t tw o y ea rs

21     ago, or a y e ar ago, to PTSD.          A nd t h at I s tru gg le

22     with se vere l y, whic h causes m ig ra in e s bi g tim e.

23     So i t 's -- i t's a s truggle.

24            Q      Sh are w ith us, if y ou do n' t m in d, ho w

25     does se vere PTSD pr esent for yo u?           W ha t ha ppe ns ?
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                                                                            10


 1              A       We ll, y ou can' t sle ep; y ou 're s tar tl ed

 2     with ev ery l ittle t hing you d o; y ou do n' t wan t to

 3     go o u t anyw h ere.       I t's been - - I' ve be en

 4     marr i ed -- I 've bee n with my wi fe p r ob ab ly

 5     12 y e ar s, a n d we've probably be en o u t -- w ith u s

 6     and t he kid s -- may be three t im es .         I do n' t g o to

 7     the g ro cery stores; I don't g o to - - o ut i n p ub lic

 8     much .       I pr e tty muc h, I go -- s ta y h om e.    I d on 't

 9     do a n yt hing .     I don 't leave t he f ar m .    A nd I ge t

10     the f la shba c ks.       I get fireba ll s in my d re ams f rom

11     when it was -- we w ere blown up .            I t - - so it 's

12     not a - - it ' s not v ery easy.

13              Q       An d you believ e tha t a ll t his s tem s fr o m

14     that pa rtic u lar exp losion on th e 26 t h of A ugu st ?

15              A       Ye ah.

16              Q       An d are you se eing any bo dy on - -

17     clea r ly , yo u are go ing to the V A, y o u ta lk ed ab out

18     goin g t o th e VA -- are you se ei ng a n y

19     psyc h ia tris t s or an ybody alon g th at li ne ?

20              A       I was i n the p ast, for t he la st -- s in c e

21     the C OV ID h i t, I ha ven't been t o on e .        S o for t he

22     last ye ar, n o.

23              Q       We re yo u ever presc rib ed a nyt hi ng?

24              A       I was.     But I' m not on a ny me di cat io n

25     righ t n ow.       I stopp ed taking it .
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                                                                              11


 1            Q        Ok ay.   Do you recal l w ha t you w ere

 2     taki n g at o n e point in time?

 3            A        I don't .

 4            Q        Ok ay.   Were yo u mar rie d at th e tim e of

 5     the e xp losi o n in 20 06?

 6            A        No .

 7            Q        Di d you have k ids a t t he t ime o f t he

 8     expl o si on?

 9            A        No .

10            Q        An y bro thers o r sis ter s?

11            A        I have a broth er.

12            Q        Ok ay.   And wer e you r p ar en ts al ive a t

13     the t im e?

14            A        My -- y es.    Ye s.

15            Q        Ar e eit her one of y our p ar ent s ali ve

16     now?

17            A        My fath er is a live.

18            Q        Ok ay.   So ther e wer e - - so on t he 26 th

19     of A u gu st 2 0 06, whe n this hor ri bl e e xp lo si on

20     happ e ns , yo u 've got the -- wh at w e s ee i s a n ec k

21     brac e o n yo u r neck a week aft er t he at ta ck .           Wh at

22     was t he nec k brace for?

23            A        I could n't mov e my hea d; i t w as al l --

24     all p ai n.     S o they -- when I go t -- wh en w e g ot

25     blow n u p th a t day, they could n' t me d ev ac u s
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                                                                             12


 1     beca u se of t he dust .      So we g ot e ve r yb od y, we

 2     head e d to t h e first base we c am e to , a nd w e a ll

 3     were se nt t o the ho spital on th at b a se , at Ca mp

 4     Spik e r, whi c h was i n Tikrit.       A nd I wa s he ld th ere

 5     for a w eek, a week and a half , an d t ha t' s whe re

 6     they ke pt t h e neck brace on m e.         An d I h ad th e

 7     neck br ace o n until I came ho me .

 8            Q      Ho w lon g was t hat - - h ow l ong w as it

 9     befo r e you c ame hom e after th at ?

10            A      I think we cam e hom e i n Oc tob er .           I' m

11     not p os itiv e .

12            Q      I under stand.

13                   Any other ph ysical i nj ur ie s b es ide s wh at

14     the n ec k br a ce was required f or ?

15            A      No .

16            Q      An y las ting im pact on th e nec k?           I s it

17     stil l s ore o r stiff ?

18            A      St ill t he same .     No thi ng 's go tt en

19     bett e r.

20            Q      So what moveme nt or ag il it y d id yo u lo s e

21     in y o ur nec k ?

22            A      I got t o watch movi ng fa st , o r els e --

23     it h a pp ens a lot at night.         I w il l w ak e up , a nd I

24     will be alm o st like paralyzed , an d I g ot t o - -

25     ther e 's sev e ral tim es where I 'v e ha d t o go -- m y
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                                                                              13


 1     wife wo uld h ave to take me to t he h o sp it al , a nd

 2     get a s hot t o relea se the pre ss ur e i n my n eck .

 3     And t he sam e with m y back.           I 'l l be n d ov er , a nd I

 4     can' t m ove.      I got to -- and it 's - - s o, I me an ,

 5     it s u ck s, b e cause I was highl y at hl e ti c an d d oi ng

 6     ever y th ing, and you come home a nd y o u ca n' t d o

 7     anyt h in g, a n d you g ain a hund re d po u nd s, a nd --

 8              Q       Ri ght.

 9                      What were so me of t h e ho bb i es o r s po rt s

10     you l ik ed t o do bef ore this b la st t h at y ou ca n' t

11     do n o w?

12              A       I was i nto wre stlin g, li ke hi gh sc ho ol

13     wres t li ng.     I playe d baseball .       W e h av e a hor se

14     farm .       I al w ays rod e horses.

15              Q       Yo u can 't ride now?

16              A       I -- I' m scare d if I f al l off , I w on 't

17     be a b le to w alk.

18              Q       I under stand.

19                      Is there any thing a b ou t th e e ve nts t ha t

20     occu r re d on 26th Au gust 2006 th at y o u wo ul d l ik e

21     to s h ar e wi t h us th at I didn' t as k?

22              A       No .   I think y ou co ver ed i t a ll .

23                      I know on so me of t h e pa pe r s wh ere i t

24     says it was -- they -- I don' t kn ow wh o di d t he

25     obse r va tion of it, but they w er e sa y in g th ey we re
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                                                                           14


 1     thin k in g it was an antitank m in e.         A nd j us t - - we

 2     were in the center of the roa d, a nd it b le w u p

 3     unde r ne ath t he vehi cle.

 4            Q       Th is vi deo wil l go to an e xpe rt wh o' s

 5     goin g t o lo o k at it to determ in e if he b el iev es

 6     more li kely than no t it was a n EF P o r an I ran ia n-

 7     manu f ac ture d device .     If he w er e to re ac h out t o

 8     you a nd cal l , do yo u mind ans we ri ng an y qu est io ns

 9     for h im ?

10            A       Ye ah, t hat's f ine.

11            Q       Ok ay.   Great.     Okay .   We 'v e g ot yo ur

12     numb e r on f i le.

13                    We may need to come ba ck a n d as k y ou

14     more qu esti o ns abou t the inju ry o r p er ha ps th e

15     dama g e to t h e vehic le, but, f or n ow , I b el iev e

16     this is a v e ry good start.          I 'm g oi n g to t urn t he

17     vide o o ff.

18            A       Ok ay.

19                    (Whereupon, the dep o si ti on of

20                    MICHAEL PAUL FISSLE R w as

21                    concluded.)

22

23

24

25
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 206 of 358
                                                                        15


 1                    DI STR ICT OF COL UMBI A A T LAR GE:

 2

 3                  I, L e sl ie A. Todd, No tar y Public in

 4     and f or t he Distric t of Col u mbia, d o hereb y c er t if y

 5     that th e fo r egoing vi deo tap e d depos ition w as

 6     prov i de d to me by c ou nse l f o r the P laintif f i n t hi s

 7     matt e r.

 8                  I do fu rther certif y tha t the depos iti on

 9     was t ra ns cr i bed by me an d i s , to th e best of my

10     know l ed ge a n d abili ty , a n a c curate and cor rec t

11     reco r d of t h e depos it ion .

12                  I he r eb y cer tify th at I am neither an

13     atto r ne y fo r any pa rt y, nor am I re lated t o a ny

14     part y c on ne c ted wit h thi s a c tion, n or am I

15     fina n ci al ly interes te d i n t h is acti on.

16                  Give n u nder my hand a nd seal this 8 th day

17     of J u ly 2 02 1 .

18

19

20

21

22                                   _ ___ ____ ___ __ ____________ _
                                     L esl ie T odd , Notary Publi c
23                                   D ist rict of C olumbia

24                                   M y C ommi ssi on Expires:
                                     F ebr uary 29 , 2024
25
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        Exhibit 10
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                                                                          1


 1                   UNITED STATE S DISTR I CT C OU R T

 2                   FOR THE DIST RICT OF CO LU MB I A

 3

 4     ---- - -- ---- - ------- ---------- -- x

 5     BOTT O RF F, e t al.,                    ) Ci vi l Act io n N o.

 6                       Plai ntiff,            ) 18-3122 ( CK K )

 7          v.                                  )

 8     THE I SL AMIC REPUBLI C OF IRAN,         )

 9                        Defen dant.           )

10     ---- - -- ---- - ------- ---------- -- x

11

12
                      RE MOTE VIDE OTAPED DEPOSI TI ON
13
                          ON O RAL EXAMINA T IO N OF
14
                            DYLAN ERNIE HI B BE RT
15
                               DUBLIN, GEOR GIA
16
                               FEBRUARY 9, 2021
17

18

19

20

21

22

23     Tran s cr ibed by:
       Lesl i e A. T o dd, CSR No 5129 a nd R PR
24     Vall e y Cent e r, Cali fornia 920 82
       (202 ) 4 13-2 7 33
25     Lesl i ea todd 2 001@yah oo.com
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                                                                             2


 1                            P R O C E E D I N G S

 2                              --- --- -- - ---- -- - --

 3                    MR. M IL L ER :   T h is i s t he vi deot a pe d

 4     depo s it ion o f Dyl an H ibb ert , wh o wa s a se r vic em a n

 5     for t he Uni t ed St at es mi lit a ry.          Wh ile on act iv e

 6     duty in Ira q , Dyl an s uff ere d in juri es due to

 7     Iran i an -man u fa ctu re d mun iti o ns.

 8                    Thi s ca s e ha s b ee n f il ed be fore th e U. S .

 9     Dist r ic t Co u rt fo r th e D ist r ict of Col umb i a,

10     styl e d Bott o rf f v er su s T he I s la mic Rep ubl i c o f

11     Iran , e t al .

12                    I'm P et e M il le r w it h t he Mi ller Fi r m.

13     For t he sak e o f c la ri ty, th e de pone nt' s c l ien t I D

14     is 1 0 .0 10.0 1 .

15                    Sir , pl e as e ra i se y o ur r igh t ha n d a nd

16     repe a t afte r m e.

17                             D YL AN E R NI E H IB BE RT,

18                    hav i n g f ir st b e en d u ly s wor n, w a s

19                    exa m i ne d a nd t e st if i ed a s f ollo w s:

20                                  EX AM I NA TI O N

21     BY M R . MILL E R:

22            Q       An d ple ase s ta te yo u r fu ll na me .

23            A       Dy l an E rni e Hi bbe rt .

24            Q       An d Dyl an, w he n w er e y ou b o rn ?

25            A                               ,
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                                                                            3


 1              Q       Ok ay.   And was ther e a t im e w he n y ou

 2     join e d the m ilitary ?

 3              A       Ye s.

 4              Q       Al l rig ht.   An d wha t b ra nc h o f the

 5     mili t ar y di d you jo in?

 6              A       I joine d the a rmy.     I in it ial ly we nt i n

 7     regu l ar arm y , and t hen transi ti on ed to A rm y

 8     Nati o na l Gu a rd.

 9              Q       Ok ay.   And wha t yea r d id y ou jo in th e

10     army ?

11              A       Se ptemb er the 16th, 19 96 .

12              Q       Ok ay.   And whe re do yo u cu rre nt ly li ve ?

13     What is you r curren t address?

14              A       I curre ntly li ve in Du bl in , G eo rgi a.

15              Q       Ok ay.   Is that wher e y ou a re no w?

16              A       Ye s.

17              Q       Al l rig ht.   An d wha t - - wh at wa s y ou r

18     titl e ?      Wha t was yo ur duty wh en y ou we re i n t he

19     serv i ce ?

20              A       I was - - the e ntire ty of m y m il ita ry

21     care e r, I w a s a 12 Bravo comb at e ng i ne er .

22              Q       An d exp lain to us w hat a c omb at en gi ne e r

23     is, p le ase.

24              A       A comba t engin eer's pr im ar y o bj ect iv e i s

25     mobi l it y, c o unter-m obility, s ur vi va b il it y of th e
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                                                                              4


 1     mili t ar y un i t.      We emplace an d we a l so s ea rch f or

 2     and r en der i noperab le obstacl es , an y wh er e fro m

 3     wire em plac e ments, concrete b un ke rs , l an d min es .

 4     In t h e case of OEF/ OIF, we we re p ri m ar il y foc us ed

 5     on I E Ds .   I d entifyi ng when we c ou ld , w e wo uld g o

 6     ahea d a nd d i sarm th em.       If it w as s o me th in g b ey ond

 7     our a bi lity , we wou ld call in E OD .

 8            Q        An d you say yo u wer e i n th e 6 48 th

 9     Engi n ee ring Battali on?

10            A        Ye s.

11            Q        Ok ay.     And who did you r ep ort t o - -

12     well , s trik e that.

13                     How many cru ises or to ur s d id y ou do i n

14     the I ra qi t h eater?

15            A        I had o ne depl oymen t t o Ir aq, a nd we r a n

16     mult i pl e mi s sions.

17            Q        Wh at ye ars wer e you in I ra q?

18            A        20 05 to 2006.

19            Q        Ok ay.     And wha t typ e o f ve hic le wo ul d

20     you t yp ical l y be in if you we re o ut in ve st iga ti ng

21     thes e I EDs?

22            A        Th e veh icle fo r inv est ig at ing w as a

23     Buff a lo .   I can't r emember th e ex ac t n om en cla tu re,

24     beca u se at t he time I was the re , we ha d ju st

25     rece n tl y ac q uired t hem.      So w e di d n ot y et ha ve an
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                                                                           5


 1     offi c ia l FM on the vehicle.

 2                      It was maint ained a n d ma in t en an ced b y a

 3     civi l ia n co n tractor called Ma nt ec h.

 4                      And it was - - it wa s k in d o f an in it ia l

 5     fiel d in g.     I know - - the unit b ef or e u s wa s t he

 6     firs t c omba t engine ering unit i n th e at er t o

 7     acti v el y us e them.      And we go t th em -- a nd , a s a

 8     matt e r of f a ct, the re was no re al o f fi ci al

 9     trai n in g.     I t was m ainly the le ft s e at /r ig ht se at

10     ride wi th t h e unit that had u se d it be fo re .            It

11     was a s ix-w h eel dri ve, V-hull s ha pe .        It w as th e

12     pred e ce ssor to the modern MRA Ps , li k e th e RG- 31

13     and s om e of the oth er vehicle s th ey cu rr en tly u se.

14            Q         Ok ay.   And did you hav e tr ain in g o n th e

15     diff e re nce b etween an IED and a n EF P ?

16            A         Ye s.

17            Q         An d exp lain to us w hat t he di ff ere nc e

18     betw e en an I ED and an EFP is.

19            A         We ll, I ED -- w ell, IED i s a b ro ad

20     expl a na tion .     An IE D is an im pr ov is e d ex pl osi ve

21     devi c e.      It ' s usual ly somethi ng t ha t i s ho mem ad e.

22     It c a n cont a in gunp owder, any k in d o f ex pl osi ve .

23     A lo t o f ti m es IEDs in theate r, t he y u se d HME ,

24     whic h i s a h omemade explosive , no t u ns im il ar to

25     Semt e x or C 4 , excep t it's mad e wi th ma te ri als t hat
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                                                                             6


 1     are a bl e to be acqu ired easil y.

 2                    The EFP is a more s p ec if ic ex pl osi ve

 3     form pr ojec t ile.

 4                    In the milit ary we u se d so m et hi ng ca ll ed

 5     a sh a pe d ch a rge.   W e used tha t fo r d ig gi ng ho le s

 6     to p u t crat e ring ch arges in, wh ic h i s a lo t - -

 7     very si mila r to -- the princi pl e be h in d it :            Yo u

 8     have an inv e rted co ne of meta l in si d e a cy lin de r.

 9     On t h e back side of that cone , it h a s ex pl osi ve s

10     that ar e pa c ked.     W hen the ex pl os iv e c ha rg e s et s

11     off, it cha n ges the inversion o f th a t, w hi le it

12     heat s i t up and mel ts it, and d ir ec t s it i n a

13     spec i fi c di r ection.    Whereas, a b la s t fr om a

14     regu l ar IED can hav e nails, g ra ve l, an y ki nd of

15     proj e ct ile m atter i nside of i t.       Th i s di re cts t he

16     blas t w ith t hat hot molten co re i nt o a s pe cif ic

17     dire c ti on, a nd beca use of the f or ce an d th e h ea t,

18     it w i ll go t hrough just about a ny th i ng , an y k in d

19     of a r mo r.

20            Q       An d bec ause of that tr ai ni ng an d b ec au s e

21     of y o ur exp e rience, you feel co mf or t ab le i n

22     judg i ng whe t her or not you we re h it by w ha t w ou ld

23     be a n I ED o r an EFP , correct?

24            A       Fa irly well, y es.

25            Q       Ho w man y IED o r EFP -- h ow ma ny to ta l
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                                                                                7


 1     road s id e ex p losions did you e xp er ie n ce i n you r two

 2     year s i n -- in Iraq ?

 3            A       Un fortu nately, I wa s i n th ree v ehi cl es

 4     that we re d i rectly hit.        Two of t he m , I wa s i n

 5     Humv e es .   I was a d river in o ne i ns t an ce ; a g un ner

 6     in t h e othe r .   The third I wa s th e d ri ve r of th e

 7     Buff a lo , wh i ch is t he one I b el ie ve mo st l ike ly to

 8     have be en t h e EFP, mainly bec au se o f t he d ama ge

 9     the B uf falo sustain ed.

10            Q       An d tal k to me abou t w ha t dam ag e t he

11     Buff a lo sus t ained.

12            A       We were in the proc ess o f inv es tig at in g

13     a po s si ble I ED that had been ca ll ed in t o us.                We

14     were on cal l .     We w ere route cl ea ra n ce .       W e h ad

15     one t ea m th a t did r egular pat ro ls a t n ig ht of

16     rout e s, whi c h the p atrol enta il ed f o ur g un tr uc ks

17     and a B uffa l o, two in front, an d tw o b eh in d, th e

18     Buff a lo in t he midd le with fo g li gh t s li t up al l

19     arou n d it, j ust rid ing along th e ro a d, l oo kin g for

20     any k in d of sign.      Loaded ani ma l ca r ca ss es we re a

21     comm o np lace to hide IEDs.        Ti re s, t r as h.    You

22     know , w e ma i nly loo ked for di st ur be d e ar th .         Yo u

23     look fo r sn a ke trai ls going a cr os s t he r oa d.           A nd

24     what a snak e trail is is when y ou s e t of f det

25     cord -- det cord do esn't burn , it e x pl od es at a
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                                                                           8


 1     high ra te o f speed along a li ne ar p a th , an d w he n

 2     it's la id t h rough d irt or san d, i t w il l le ave a

 3     trai l .   And a lot o f IEDs wer e ac tu a ll y em pla ce d

 4     in t h e same place o r within 3 0 to 6 0 m et er s o f

 5     each ot her.     Usuall y over an ar ea t h at w as ea si ly

 6     conc e al ed o r easily over-watc he d; w h et he r it wa s a

 7     comm a nd dec k , which means som eb od y w as w at chi ng

 8     you a nd the y had a triggering d ev ic e w he re th ey

 9     coul d s et i t off, o r it was a v ic ti m d et on ate d,

10     whic h m eans there w as some so rt o f a n

11     anti - ha ndli n g devic e.    Homema de p re s su re p lat es

12     were ve ry p o pular, using copp er p la t es a nd

13     two- b y- four s with s ome spring s in b e tw ee n.       T ha t

14     way w he n yo u put pr essure on it , it wo ul d com pl ete

15     the c ir cuit and set off the I ED .

16                    We found a l ot of t h em w er e p la ced

17     pret t y rela t ively c lose.

18                    In this inst ance --

19            Q       Is that -- is that one o f the - -

20            A       Th e --

21            Q       -- the Buffalo s?

22            A       Ye s.

23            Q       Ok ay.

24            A       Th e onl y diffe rence -- n ow , o ur Bu ff al o

25     look e d just like th at when we g ot i t .          L at er on ,
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                                                                           9


 1     they ad ded a cage a round it, wh ic h w e ca ll ed th e

 2     squi r re l ca g e.

 3            Q         Ok ay.

 4            A         Th e cag e was a dded bec au se it w as fo r

 5     anti - RP G.     B ecause they -- on ce t he y f ou nd ou t we

 6     were us ing t hose, a nd we were f in di n g a lo t o f

 7     IEDs , i t be c ame a h igh value ta rg et fo r th e

 8     insu r ge nts.     They t ried to us e RP Gs , m ai nl y R PG -6s

 9     and R PG -7s.      Now, w hat they d id i s t he y pu t a

10     stee l a nd a l uminum cage aroun d it , w hi ch i f a n RPG

11     was f ir ed a t it, it would hit t ha t c ag e, a nd yo u

12     woul d g et a n extern al hull de to na ti o n.        It wo ul d

13     stil l c ause some da mage, but it w as a lo t les s

14     dama g e than if it h ad actuall y hi t t he h ul l

15     itse l f.      So one of our PGPs f or u si n g it i s h av ing

16     that bi g ca g e aroun d the vehi cl e ma d e it r eal ly

17     hard fo r th e front passenger wh o wa s o pe ra tin g the

18     inve s ti gati o n arm t o see.

19                      So we were a t this p ar ti cu l ar

20     inve s ti gati o n site.     My TC wa s in t h e re ar

21     moni t or ing t he radi o.      We had l oo ko u ts i n the

22     vehi c le .     I t 's an u narmed veh ic le .   Th er e' s n o

23     weap o ns on t he Buff alo.       That 's w hy we h ad tw o gun

24     truc k s in f r ont of us and two b eh in d u s.         But w e

25     stil l h ad l o okouts, mainly lo ok in g f or a t rig ge r
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 1     man, tr igge r ing dev ices, seco nd ar ie s , be ca use t hat

 2     was v er y po p ular fo r them to ha ve m u lt ip le IE Ds in

 3     the s am e ar e a.   I w as standin g up o u t of t he

 4     driv e r' s se a t, stan ding up fr om t he ce nt er co ns ole

 5     next to the operato r looking ou t th e f ro nt

 6     wind s hi eld, you kno w, watchin g th e f ro nt ,

 7     12 o ' cl ock t o 2 o'c lock, as h e wa s i nv es ti gat in g,

 8     beca u se he c ould mo ve the arm , bu t h e re al ly

 9     coul d n' t se e , becau se you had t he m o ve me nt of t he

10     arm w hi ch c o mes up and then y ou h av e t ha t cag e.

11     Whic h I wil l send y ou a pictu re o f t he B uf fal o

12     with th e ca g e on it .      It real ly k in d o f hi nde re d

13     your vi sual range.

14                   He was inves tigatin g .          W e d id s ee de t

15     cord .   He w e nt to f urther inv es ti ga t e it , and t he

16     next th ing I know, I'm sittin g on t h e fl oo rbo ar d

17     unde r ne ath t he stee ring wheel i n fr o nt o f the

18     driv e r' s se a t, and he's on th e fl oo r n ex t to me .

19                   Whether it h ad been co mm an d d et ona te d or

20     we h i t some t hing th at caused it t o d et on at e,

21     ther e 's no t elling.       Nobody k no ws .     It b le w o ut

22     the r ig ht f r ont tir e.     It man gl ed t h e

23     inve s ti gati o n arm.    It didn't d is ab l e th e eng in e.

24     We w e re sti l l able to -- once e ve ry b od y go t u p, we

25     did a b uddy check, made sure ev er yb o dy w as ok ay ,
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 1     no b l ee ding , no tra uma, just bu mp s, br ui se s, we

 2     were ab le t o follow our GTPs, w hi ch we re t o g et

 3     out o f the a rea.       W e did a 30 0- me te r s ta nd off , set

 4     up s e cu rity , and ca lled it in .

 5                   Once we got to the c lo se st FO B and

 6     chec k ed eve r ything out, and s wa pp ed ou t, g ot a

 7     repl a ce ment tire on the right f ro nt , w e di d n ot ice

 8     seve r al hol e s in th e hull.       O ne o f t he m en ter ed

 9     the u pp er p a rt of t he V below t he e n gi ne

10     comp a rt ment .     The s hrapnel ac tu al ly we nt t hro ug h

11     the h ul l in t o the e ngine comp ar tm en t a nd o ut th e

12     othe r s ide o f the e ngine cove r gr at e .        I t did n' t

13     do a n y dama g e to th e engine, fo rt un a te ly .      Bu t

14     that ' s why i n my be lief, I be li ev e i t wa s an EF P.

15     EFPs ca me i n all sh apes and s iz es .         Yo u kn ow, w e

16     had E OD tha t had so me they ha d fo un d t ha t wer e in

17     conc r et e se w er pipe s that had b ee n r ei nf or ced u p

18     to t e n inch e s in di ameter.       S om e we r e do wn to t he

19     size of a s o up can.

20                   We had been hit wit h - - th e B uf fal o ha d

21     been hi t.     W e had t wo Buffalo s -- b e tw ee n our t wo

22     sist e r comp a nies, A lpha compa ny a nd Ch ar li e

23     comp a ny , we had two Buffalos th at h a d be en hi t

24     seve r al tim e s.     We had the bu ll et p r oo f ba lli st ic

25     glas s c rack e d; the first coup le l ay e rs s ha tte re d.
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 1     We h a d the h ull eng ined (sic) .         W e h ad s ev era l

 2     arms ma ngle d .        That was just -- t ha t 's t he th in g

 3     -- t h at 's t h e thing that's pl ug gi ng ar ou nd lo ok ing

 4     for t he bom b , so it 's going t o ta ke th e br unt o f

 5     the f or ce.     We had one large ar ti ll e ry r ou nd go

 6     off o n one o f the B uffalos, a nd t he bl as t was

 7     stro n g enou g h, it a ctually sh ea re d t he d ri ve sh aft

 8     off a t the t ransfer case.           Yo u kn ow , t he y act ua lly

 9     had t o dril l into t he tail sh af t of th e dr ive

10     shaf t .     You know, h ook on to it w it h a p ul ler t o

11     pull it out of the transfer c as e.

12                     So we had so me fair l y la rg e b la sts - -

13              Q      An d --

14              A      -- but the Buf falo we ha d nev er ha d

15     anyt h in g li k e this that actua ll y we n t th ro ugh t he

16     hull .

17              Q      It went throug h the hu ll a nd th e V j us t

18     belo w t he e n gine, a nd it miss ed t he en gi ne .          Di d

19     it g o o ut t h e other side?

20              A      Ye s, it went o ut th e o th er si de .

21              Q      Wo w.     O kay.

22              A      It actu ally we nt -- it a ct ual ly ki nd o f

23     stay e d alon g the fi re wall, a nd w en t o ut a t a - -

24     well , i t's h ard to describe w hi ch a n gl e, b eca us e

25     you g ot to r emember the Buffa lo w as -- o h, th e
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                                                                          13


 1     engi n e comp a rtment was about se ve n f ee t of f t he

 2     grou n d.   So the IED we were i nv es ti g at in g was

 3     prob a bl y ab o ut eigh t feet awa y fr om us .       So it

 4     went in at a fairly high angl e.            An d i t wa s - - it

 5     was a d irec t ed blas t.      If it ha d be e n a re gul ar

 6     IED, a surf a ce-plac ed IED, th at b la s t wo ul d h av e

 7     went in all directi ons.          You kn ow , a r eg ul ar IE D

 8     isn' t a dir e ctional blast.         Y ou w ou l d ha ve ha d

 9     shra p ne l th a t hit t he back en d of t h e Bu ff alo , the

10     fron t e nd o f the Bu ffalo, and t he g l as s, w hic h is

11     abou t f ive f eet abo ve where t ha t we n t in , and w e

12     real l y didn ' t have that.       We di dn 't ha ve a

13     shra p ne l pa t tern on the side of t he ve hi cl e.

14                    We had a con centrat e d pa tt e rn o f s ma ll er

15     part i cl es, b ut they were cent er ed a r ou nd t he

16     prim a ry hol e , but t hat was it .       I t w as a - - i t was

17     a re l at ivel y small hole.       I'd s ay p r ob ab ly ma yb e

18     3 an d a hal f to 4 i nches in d ia me te r .

19            Q       La rge e nough t o put yo ur h and t hro ug h

20     it; y ou cou l d put y our fist t hr ou gh it i f you

21     want e d to.

22            A       Ju st ab out, ye s.

23                    And the exit hole w a s in a -- p ret ty

24     much a stra i ght lin e from the e nt ra n ce h ol e a t the

25     same an gle.
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 1            Q       Wo w.    A nd then let' s t al k abo ut yo ur

 2     inju r ie s an d the ot hers that we re i n si de t he

 3     Buff a lo .

 4                    What were th e speci f ic i nj u ri es th at y ou

 5     suff e re d?

 6            A       I was j ust kno cked bac k.        It -- th e

 7     blas t , you k now, sh ook the Bu ff al o a g oo d bit .

 8                    I know I los t consc i ou sn es s f or I th in k

 9     a fe w s econ d s.     Whe n I was ta lk in g - - wh en I wa s

10     doin g m y di s ability claim wit h th e T BI c oo rdi na tor

11     with th e VA , you kn ow, we tal ke d ab o ut a ll th e

12     blas t s I've been th rough.        Be ca us e, li ke I sa id ,

13     one o f them I was a driver in si de a Hu mv ee , a nd

14     the o th er o n e I was a gunner ou ts id e t he v ehi cl e.

15     And h e said there w as a good po ss ib i li ty , you

16     know , m y TB I could have been a pr od u ct o f tha t.

17     But a ls o be i ng knoc ked down a nd f al l in g an d

18     hitt i ng the steerin g wheel, b ou nc in g o ff t he -- my

19     driv e r' s se a t, and then landi ng i n t he f lo orb oa rd,

20     he s a id tha t could have been, y ou k n ow , a pro ba ble

21     caus e o f my TBI.

22                    That's one o f the o t he r th i ng s I'm i n

23     the p ro cess of doin g now is e st ab li s hi ng m y

24     serv i ce con n ection for my nec k an d b ac k pr obl em s.

25     Beca u se whe n I hit -- went ba ck wa rd s , I hi t t he
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 1     stee r in g wh e el, and my Kevlar w as p u sh ed u p, so me

 2     on t o p of m y head a nd the fro nt o f m y fa ce -- y ou

 3     know , t he s i ze of t he area be tw ee n t he f ro nt se at,

 4     the f lo orbo a rd and the steeri ng w he e l is n' t t ha t

 5     larg e - - of course, at the ti me I w a sn 't t hat

 6     larg e e ithe r -- so it wasn't as t ig h t of a fi t as

 7     it w o ul d be now.

 8            Q      An d hea ring th at de scr ip ti on ab out

 9     hitt i ng the small a rea on the f lo or b oa rd o f t he

10     Buff a lo , th a t was t he event y ou t ho u gh t wa s t he

11     EFP, co rrec t ?

12            A      Ex cuse me?

13            Q      An d bei ng thro wn on th e fl oor bo ard , wh a t

14     you' r e talk i ng -- y ou're stil l ta lk i ng a bo ut

15     the E FP eve n t, corr ect?

16            A      I' m tal king ab out t he Bu ff alo .

17            Q      Yo u gav e us a date on yo ur in ta ke of

18     20 J u ly 200 5 .   Does that soun d ri gh t , th e dat e --

19            A      Ye s, si r.

20                   Well, I know -- I k n ow a t t he t ime o ur

21     requ i re ment s for re porting IE Ds - - t he y' ve ch an ged

22     now.    F rom w hat I u nderstand fr om a fr ie nd of m ine

23     that re depl o yed I t hink in 20 07 , an y t im e any bo dy

24     was i nv olve d in an IED blast, i t ha d t o be

25     repo r te d, t h ey had to go get sc re en e d by m edi ca l.
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 1     You k no w, b e fore wh en I was t he re , ' 05 /' 06 , y ou

 2     know , y ou g o t check ed out by yo ur m e di c.         If yo u

 3     didn ' t have anythin g sticking i n yo u o r st ick in g

 4     out o f you t hat was n't suppos ed t o b e, y ou di dn 't

 5     have an y cl e ar liqu id or bloo d co mi n g ou t of yo ur

 6     ears , o r an y , you k now, physi ca l -- re al i mme di ate

 7     phys i ca l si g ns of t rauma, you 'r e go o d.      Ha ve it

 8     look e d at, g et it p atched up, a nd , y ou k no w, we

 9     had a no ther mission scheduled i n 12 ho ur s.

10                     And I think in the y ea rs a f te r tha t,

11     espe c ia lly w ith the TBIs beco mi ng m o re p re val en t,

12     they st arte d realiz ing that, yo u kn o w, a l itt le

13     more im medi a te medi cal treatm en t an d e va lu ati on

14     was n ee ded.

15                     Because I kn ow like a fr ie n d of mi ne , I

16     beli e ve he w as ther e in '07/' 08 , sa i d th at an y

17     time an ybod y was -- any convo y wa s h it , if yo u

18     were an ywhe r e near the blast, y ou n e ed ed t o g o get

19     chec k ed out and get a TBI scr ee ni ng .

20            Q        Ho w did your T BI sc ree ni ng co me to b e i f

21     they di dn't check t hat out ba ck t he n ?

22            A        Wh en I was at the V A, I wa s n ot ici ng I

23     was h av ing m emory i ssues, con ce nt ra t io n, a nd I

24     just re port e d it to my primar y ca re .         Th e

25     neur o lo gist at the time had c he ck ed me o ut , a nd he
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 1     said th at - - this w as in -- a ct ua ll y , in ' 07, y ou

 2     know , d iagn o sed me as having a mi ld TB I.              The y did

 3     an M R I with o ut cont rast; didn 't n ot i ce a ny

 4     lesi o ns .     T h at's wh y they lab el ed i t a m il d T BI .

 5     I wa s h avin g mild m otor funct io n is s ue s.           And a t

 6     that po int i n time, I was als o ha vi n g, y ou kn ow ,

 7     neck an d ba c k probl ems, but t he n eu r ol og is t a t the

 8     time wa s mo r e conce rned with th e TB I a nd a lso w ith

 9     the c lu ster headach es which h e sa id co ul d be

10     brou g ht on b y traum atic head in ju ri e s.            An d - -

11            Q         Ar e you still getti ng th e clu st er

12     head a ch es?

13            A         Ye s.

14            Q         Ho w oft en?

15            A         Ex cuse me?

16            Q         Ho w oft en does that ha pp en ?

17            A         Tw o to three t imes a w ee k, de pe ndi ng - -

18     ther e a re o t her fac tors that tr ig ge r i t,

19     envi r on ment a l facto rs.     It's wo rs e d ur in g the

20     wint e r when the hea t's runnin g.           So , f or tu nat el y,

21     most of my f amily i s pretty h ot n at u re d, s o w e

22     keep it pre t ty cool in the ho us e, a n d I do n't h ave

23     to r u n the h eat tha t often.         El ev at i on .    Y ou kn ow,

24     goin g u p to north G eorgia, ge tt in g i n th e

25     moun t ai ns, i t will trigger it .         W e' v e wo rk ed wi th
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 1     seve r al dif f erent m edications .         R ig h t no w I'm

 2     taki n g one c alled Z omig.         The re 's a c tu al ly no

 3     spec i fi c me d ication for clust er h ea d ac he s.         M os t

 4     of w h at the y give m e is stuff t he y g iv e to pe op le

 5     with mi grai n es.       An d we've go ne t hr o ug h se ver al

 6     diff e re nt m e dicatio ns, and Zo mi g ha s w or ke d t he

 7     best .       Unfo r tunatel y, it's no t a me d ic at io n - -

 8     it's no t a p reventa tive medic at io n.           I t' s

 9     some t hi ng - - - you know, you ta ke i t o nc e the

10     head a ch e ha s starte d.       You kn ow , it ' s no t

11     some t hi ng y o u can t ake, you k no w, o n ce o r twi ce a

12     day t o prev e nt the headaches fr om c o mi ng .            Yo u

13     take it onc e you fe el the ons et o f a h ea da che .

14              Q       Th ey ar e calle d clu ste r he ada ch es.         Is

15     that be caus e , what, they come a nd g o , an d the re 's

16     seve r al of t hem in a short pe ri od o f t im e?

17              A       Ye s.   T hey hav e a t end en cy to c ome i n i n

18     clus t er s.      I might get, you k no w, t w o, t hr ee a day

19     for s ix mon t hs, and then for tw o or th re e mon th s I

20     migh t n ot g e t any.        And then th ey w i ll - -

21     (ina u di ble) -- come back to t hr ee a da y.

22              Q       Ho ld on .    We'r e sta rti ng t o l os e y ou r

23     vide o .

24              A       Th ere's no pre dicte d p at te rn, b ut th ey

25     do ( i na udib l e).
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 1            Q       I' m sta rting t o los e y ou .     Ho ld on o ne

 2     seco n d.    Fo r whatev er reason, w e' re st ar ti ng to

 3     lose yo u.     L et me s ee if I ca n sh ut do wn m y o th er

 4     devi c es and keep th e internet g oi ng .

 5                    You're locki ng up.

 6                    That's bette r there .       Is t h er e a - -

 7     you' r e back .

 8                    You said you had sh o ts i n y ou r low er

 9     back he re j u st rece ntly, corr ec t?

10            A       Ye s.   Y esterda y mor nin g.

11            Q       No w, do es that rela te ba ck to t he

12     inju r ie s th a t you h ad from th e ex pl o si on s whi le

13     you w er e in the arm y?

14            A       I belie ve they are.        I h ad th e iss ue s a t

15     the s am e ti m e I rep orted them t o a n eu ro lo gis t as

16     the c lu ster headach es.       Unfor tu na te l y, i t was

17     neve r a ctua l ly docu mented.       S o I' m c ur re nt ly

18     figh t in g wi t h the V A.    I have h ad a cl ai m tha t' s

19     been in wit h the VA for going o n tw o y ea rs no w.

20     Beca u se my q uestion to them w as , yo u k no w, if

21     you' r e admi t ting th at I had a t ra um a ti c br ain

22     inju r y due t o a bla st, don't yo u th i nk t he ne ck

23     and t he bac k that a re attache d to t h at h ea d w ou ld

24     prob a bl y ha v e, you know, expe ri en ce d s im il ar

25     trau m a.    An d I'm wa iting for a me di c al e xa m t o
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 1     cove r t hat.

 2                     And it goes back to my - - t he m ain i ss ue

 3     is d o cu ment a tion.      That's jus t li ke my c lu ste r

 4     head a ch es a n d the T BI were do cu me nt e d by t he

 5     phys i ci an i n his no tes.       And I' m no t f am il iar - -

 6     if y o u' re f a miliar with the V A' s do c um en ta tio n

 7     syst e m, but it was not added to m y a ct iv e pro bl ems

 8     list .

 9                     So you actua lly had to g o b ac k and l oo k

10     thro u gh the individ ual doctor s' n ot e s.         Bu t w he n

11     the n ot e wa s put in , nobody e ve r to o k th at no te

12     and a dd ed i t to my official V A pr ob l em s li st.          It

13     wasn ' t adde d until 2015, when t he y f in al ly ha d a

14     medi c al scr e ener th at could s cr ee n m e fo r the T BI.

15                     So that was 2007, s o e ig ht ye ar s l at er ,

16     it f i na lly g ot adde d to my of fi ci al VA p ro ble ms

17     list wh ere I could claim it a s a di s ab il it y, ev en

18     thou g h it w a s docum ented in 2 00 7.

19              Q      Do you have a copy of th at di sa bil it y

20     file no w?

21              A      Ye s.

22              Q      I might reques t a c opy o f tha t.

23              A      It 's --

24              Q      Ok ay.     All rig ht.   I m ig ht as k for a

25     copy of tha t .
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 1            A         Ok ay.

 2            Q         Yo u had sent u s a v ide o, a 40 -s eco nd

 3     vide o o f a t ruck be hind anoth er t ru c k, a nd I

 4     beli e ve the y 're Hum vees, and th e on e i n fr ont g ets

 5     hit b y an I E D, and the one th at i s t ak in g the

 6     vide o c onti n ues to drive.          Do y ou r e ca ll t hat

 7     vide o ?

 8            A         Ye s.

 9            Q         Th at's not the Buff alo , ri ght ?       Th at 's a

10     diff e re nt - -

11            A         No , tha t's not the Buf fa lo .      Th at wa s

12     just an othe r vehicl e we used fo r tr a ns po rt ing

13     equi p me nt.

14            Q         Ok ay.

15            A         An d, fo rtunate ly, t hat w as -- n obo dy w a s

16     inju r ed .     T h e blast happened at t he re ar e nd of

17     the v eh icle .      But i t was real ly t oo la te t o s to p,

18     and w e were the tai l gun truc k in t h e co nv oy, a nd

19     so w e j ust p ushed o n through th e bl a st a nd

20     foll o we d.

21            Q         Ok ay.    And do you h ave a ny is su es no w?

22     Is t h er e an y PTSD o r nightmar es o r a ny th in g t ha t

23     ling e rs on f rom you r event?

24            A         Ye s.    I 'm 70 p ercen t s er vi ce co nne ct ed

25     for P TS D.
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 1            Q      An d how does t hat p res en t -- is th at b a d

 2     drea m s, or c an you tell me ho w th at pr es en ts to

 3     you?

 4            A      Ba d dre ams.     I -- s oci al i ssu es .       I ha v e

 5     ange r i ssue s .   I'm very tempe ra me nt a l.      An d o ve r

 6     the y ea rs, I 've kin d of -- ki nd o f i so la te d

 7     myse l f.   Li k e right now, I'm ou t in my g ar age .

 8     You k no w, t h e kids are in the l iv in g r oo m pla yi ng.

 9     I wi t hd raw a lot.     I went thr ou gh a pe ri od wh en I

10     woul d s nap a t the k ids and ho ll er .        An d -- no t

11     phys i ca l, b u t I cou ld be a li tt le i n se ns it ive .

12     And I h ave g otten t o the poin t wh er e I - - jus t

13     it's ea sier , if it gets noisy i n th e h ou se , i f

14     they ' re not listeni ng, and I st ar t, yo u kn ow,

15     feel i ng tha t tightn ess go dow n th e s pi ne , I j us t,

16     you k no w, g i ve my w ife a kiss , te ll he r I' m g oi ng

17     to l e t her h andle i t, and com e ou t i n th e gar ag e

18     and p id dle o n a pro ject, or g o ou t i n th e yar d and

19     remo w t he g r ass.    I t's just e as ie r t o ta ke my se lf

20     out o f the e nvironm ent than t o ri sk sn ap pi ng at

21     one o f the k ids and , you know , ge tt i ng t o see t hem

22     cry b ec ause dad bar ked at the m.

23            Q      Ri ght.    I unde rstan d.

24            A      It 's al so affe cted me in m y w or k, wh ic h

25     I wo r k at t h e VA.    I spent 11 y ea rs wo rk in g i n the
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 230 of 358
                                                                          23


 1     domi c il iary .     And I eventuall y, y ou kn ow , too k

 2     anot h er job working for a low er p ay gr ad e in th e

 3     ware h ou se, b ecause it would a ll ow m e t o, y ou kn ow,

 4     go f r om bei n g aroun d 60, 70 p at ie nt s a d ay , p lu s,

 5     you k no w, 1 5 to 20 of my fell ow s ta f f, t o jus t me

 6     and t wo oth e r wareh ouse worke rs a nd no p at ien ts ,

 7     just to cut down on the possi bi li ty of t he

 8     occu r re nce o f me sn apping.

 9              Q       Mm -hmm.

10              A       An d I d on't do real ly go od in b ig gr ou p s

11     wher e i t st a rts get ting loud an d th e re 's a lo t of

12     peop l e arou n d me.        My anxiety l ev el ki nd o f g oe s

13     thro u gh the roof.          Fortunatel y, I d o n' t se em to

14     mind se eing boxes a round me, so i t w or ke d out

15     well .

16                      It didn't wo rk out w el l fo r m y car ee r

17     path .       I'm p retty m uch at the s am e p ay g ra de no w

18     as I wa s fo u r years ago becau se o f i t, b ut --

19              Q       So you worked at th e V A.       Are y ou st il l

20     work i ng at t he VA o r no?

21              A       Ye s, I am.

22              Q       Ok ay.

23              A       I curre ntly wo rk at th e wa reh ou se.

24              Q       Ok ay.     Great.

25              A       I also have tr aumat ic en do lym ph ati c
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 231 of 358
                                                                           24


 1     hydr o ps , wh i ch is m ost closel y re la t ed t o

 2     Meni e re 's d i sease.     My inner ea r do e s no t bal an ce.

 3     I ha v e pret t y much constant v er ti go .

 4            Q        An d is that fr om th e b la st ?

 5            A        Th at's -- the ear, nos e an d t hr oat

 6     spec i al ists believe most like ly i t w as , th at an d

 7     my t i nn itus , becaus e they did n ot ic e I h ad tr au ma

 8     to t h e ear.

 9            Q        Yo u had trauma to t he ea r fro m the

10     July 20 05 b l ast ins ide the Bu ff al o?

11            A        Fo r one of the m.     T hey c ou ldn 't re al ly

12     spec i fy whi c h one.

13            Q        Ok ay.

14            A        Th ey as ked if I eve r h ad a ny bl eed in g

15     from th e ea r , and I did on a co up le of o cc asi on s.

16     But, yo u kn o w, ther e were sev er al b l as ts t hat I

17     was a ro und, and it could have b ee n a ny o f the m

18     that ca used it.         Bu t, most li ke ly , I b el ie ve it

19     was o ne of t he thre e where I wa s di r ec tl y

20     invo l ve d.

21            Q        Ok ay.    Now, yo u rec eiv ed a co mb at ac ti o n

22     badg e .   Was there a particula r ev en t t ha t you

23     rece i ve d th a t award on, or wa s it j u st f or th e

24     duty it self ?

25            A        Th at wa s for m y fir st tr ip ou t the w ir e .
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 232 of 358
                                                                           25


 1     We w e re doi n g left seat/right s ea t r id e wi th th e

 2     unit we wer e replac ing, and t ha t' s t he o ne wh er e I

 3     was a ct uall y in the gunner's se at o f t he H umv ee ,

 4     and w e had a n IED g o off on u s.

 5              Q       An d do you kno w one wa y or th e oth er i f

 6     that wa s an EFP or an IED?

 7              A       No .     Th e first one was j us t a n IED .

 8              Q       Ok ay.

 9              A       We were in the Humv ee.        Be cau se it j us t

10     thre w r ocks and deb ris pretty m uc h e ve ry wh ere .           It

11     knoc k ed me b ack a l ittle ways .         Y ou ' re i n the

12     gunn e r' s se a t -- th at's becau se y ou ' re s ta ndi ng up

13     in a b ou t a t wo and a half to th re e f oo t di ame te r

14     hole , a nd t h e blast wave just k in d o f kn oc ked m e

15     back .       But t here wa s no serio us i nj u ri es .

16              Q       Ok ay.

17              A       So mehow I didn 't -- no p ro fus e ble ed in g ,

18     no c u ts .     I had som e bumps an d br ui s es a nd a

19     coup l e mino r abrasi ons.         At t he t im e , yo u kno w,

20     ther e 's sev e ral -- all of us we re i n m ul ti ple

21     blas t s, but the rul es with th e co mb a t ac ti on ba dge

22     is y o u can o nly get put in fo r on e.

23              Q       Ok ay.

24              A       Yo u kno w, if y ou ha ve -- i f a g uy go t

25     hit 1 5 time s and yo u put him in f or 15 b ad ges ,
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 233 of 358
                                                                          26


 1     he'd on ly g e t one.         So after yo u go t y ou r fir st ,

 2     anyt h in g af t er that , they did n' t ev e n --

 3              Q      Hm -mmm.

 4                     In the July 2005 ev e nt , th e B uf fal o th at

 5     you b el ieve more li kely than no t wa s a n EF P

 6     impa c t, at t hat poi nt in time i n yo u r li fe , w er e

 7     you m ar ried ?

 8              A      Ye s, I was.

 9              Q      Is that to you r cur ren t wi fe?

10              A      No .     Th at was a -- a p re vi ous m arr ia ge .

11              Q      Ok ay.     Did you have an y ki ds at th at

12     time ?

13              A      Ye s.

14              Q      Ok ay.     The way the ant i- te rro ri sm la ws

15     work , y our t hen wif e and the ch il dr e n yo u had a t

16     the t im e al s o have a case aga in st I r an , if yo u

17     woul d l ike t o go fo rward with t ha t, if y ou wa nt to

18     give me the i r conta ct informa ti on .

19              A      Th e wif e I had at t hat t im e i s cur re nt l y

20     in p r is on.     She was a party t o a mu r de r of he r

21     boyf r ie nd, s o I don 't think s he n ee d s to w orr y

22     abou t i t.

23              Q      Ok ay.     All rig ht.

24              A      I kind of dodg ed th e b ul le t o n tha t on e .

25     And m y olde s t son, as a matte r of f a ct , he st il l
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 234 of 358
                                                                          27


 1     live s w ith m e -- he is 21 at th e ti m e -- a t t hi s

 2     time .       He w a s -- oh , if I rem em be r r ig ht , he wa s

 3     seve n y ears old.

 4              Q       Ok ay.   He has a cas e, an d tho se ca se s

 5     are v al uabl e if you would lik e to i n cl ud e him i n

 6     the c as e.      A ll you need to do i s le t m e kn ow hi s

 7     name an d an e-mail or somethi ng , or I ca n cal l

 8     back an d wo r k throu gh you.

 9                      It's a real short d e po si ti o n on hi s

10     part , b ut t h at's up to you.

11                      The same hol ds true wi th y o ur p are nt s.

12     If y o ur par e nts wer e alive at t he t i me , th ere 's a

13     case th ere.        And th en any bro th er s a nd s is ter s

14     that yo u wo u ld have had.

15              A       My moth er -- m y fat her a t the t ime , yo u

16     know , b ut h e 's pass ed.       But m y mo th e r, s he 's st ill

17     arou n d.      As a matte r of fact, s he l i ve s wi th me .

18     She' s - - we ' re -- m y mother - - my w i fe a nd I ar e

19     her p ri mary caregiv ers.         She' s go t m ul ti pl e

20     scle r os is.

21              Q       Ok ay.

22              A       So they are bo th in th e ho me wi th me , s o

23     I'll ta lk t o them a bout it.

24              Q       Ok ay.   How abo ut br oth er s or si ste rs ?

25              A       No pe.   Only ch ild.
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                                                                           28


 1            Q      Ok ay.     All rig ht.    Wel l, t hen , I w il l

 2     stay in com m unicati on with yo u on t h at .            T his w ill

 3     get t yp ed u p .

 4                   Is there any thing t h at I 'v e l ef t o ut ,

 5     have fa iled to ask that you w ou ld l i ke t o say

 6     abou t h ow t h is -- t he attack of J ul y 2 00 5 has

 7     affe c te d yo u r life?

 8            A      No .     Yo u know -- an d I g ue ss th at wa s

 9     part of our -- well , you know , yo u c an 't b e q ui te

10     righ t i n th e head, as it is, to g o i nt o a job a nd

11     will i ng ly d r ive aro und and hu nt f or so me th ing ,

12     whil e e very b ody els e is tryin g to h a ul b ut t a nd

13     get p as t.    I t's tak en its tol l.      Th e o nl y

14     cons o la tion -- and we ran abo ut a f i ft y- fi fty

15     succ e ss rat e .    Fift y percent of t he IE Ds , we we re

16     able to fin d and ge t disarmed ; fi ft y p er ce nt of

17     the I ED s we found d isarmed on u s.          W e di d los e

18     some go od m e n.      The only cons ol at io n w ou ld be b oth

19     mili t ar y an d civili an, you kn ow , th e l iv es we

20     save d .

21                   You know, fo rtunate l y, a s I 'm s ure y ou r

22     subj e ct mat t er expe rt will be a bl e t o at te st to ,

23     we w e re out there d oing the j ob w it h e qu ip men t

24     that wa s de s igned f or the mos t su rv i va bi li ty fo r

25     the p eo ple i nside o f it, you kn ow , a s op po sed t o
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                                                                          29


 1     just th e st a ndard H umvees, wh ic h th e y en de d u p

 2     repl a ci ng a l most en tirely wit h RG -3 1 s an d oth er

 3     MRAP s .

 4                   But some of the bla s ts t ha t w e

 5     expe r ie nced in that vehicle, ot he r l es se r

 6     vehi c le s, w o uld not and could n ot s u rv iv e.

 7                   So we took a lot of lo ss es , b ut we s av ed

 8     a lo t o f li v es.

 9            Q      Fa ntast ic.

10            A      An d tha t's wha t mak es it w ort h it ev en

11     now.

12            Q      Do you have an y pho tos o f tha t Buf fa lo

13     afte r t he b l ast in July of 20 05 ?

14            A      I' m loo king.     I've got s ev era l pic tu re s .

15     Well , l ike I said, you had tw o co mp a ni es , you

16     know , a hun d red som ething peo pl e al l t ak in g

17     phot o s, and I've go t about, I 'd s ay , 1 t o 2 g ig s

18     of p i ct ures I'm sif ting throu gh .

19            Q      Ok ay.    If you find one - -

20            A      Th at wa s 2005/ 2006.       A nd I 'm le arn in g

21     that ev en d i gital p ictures th at a re sa ve d on a

22     hard dr ive d egrade over time.

23            Q      Oh , int erestin g.

24            A      I didn' t know they did t ha t.          B eca us e I

25     pull e d up s o me of t he videos I ha d t ak en , lik e the
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 237 of 358
                                                                        30


 1     one I s ent y 'all wh ere the ca me ra w a s mo un ted o n

 2     our r ad io, a nd some of them a re p ix i la te d.        I

 3     don' t k now i f it's every time I 'v e h ad t o tra ns fer

 4     it t o a new hard dr ive --

 5            Q        In teres ting.

 6            A        -- or w hat, bu t I a m l oo ki ng.

 7                     I'm happy to send y o u so me of t he on es

 8     that ha ve t h e cage.      I have a c ou pl e o f go od on es

 9     that sh ow t h e cage I was desc ri bi ng ar ou nd th e

10     Buff a lo .

11            Q        Ok ay.

12            A        Wh ich i s one o f the re as on s - - you k no w ,

13     norm a ll y yo u stay i n your sea t in a ve hi cl e, bu t

14     that ca ge m a de it n ecessary t o ge t a s ma ny ey es

15     out t he re h e lping t he arm ope ra to r d ur in g the

16     inve s ti gati o n.

17            Q        Ok ay.

18            A        An d if I find any, I w il l def in ite ly

19     send th em t o you.

20            Q        Ok ay.

21            A        So I'll send t hem t o t he e -ma il I ha ve

22     for y ou , an y of tha t stuff?

23            Q        Ye s, th at'd be grea t.

24                     MR. MILLER:      I'm go i ng t o t ur n the

25     came r a off.
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                                                                      31


 1                   Those are al l the q u es ti on s I h ave f or

 2     the i nt ervi e w, so i t's off no w.

 3                   (Whereupon, the dep o si ti on of

 4                   DYLAN ERNIE HIBBERT wa s

 5                   concluded.)

 6

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                                                                            32


 1                   DIS T R IC T O F CO L UM BI A A T LAR GE:

 2

 3                  I, L e sl ie A. T odd , No t ar y P u bli c i n

 4     and f or the Di str ic t of Col u mbi a, d o h ere b y c er t if y

 5     that th e fo r eg oin g vi deo tap e d d epos iti on w as

 6     prov i de d to me by c ou nse l f o r t he P lai nti f f i n t hi s

 7     matt e r.

 8                  I do fu rth er c ert if y t ha t t h e d epo s iti on

 9     was t ra nscr i be d b y me an d i s , t o th e b est of my

10     know l ed ge a n d abi li ty , a n a c cur ate and co r rec t

11     reco r d of t h e dep os it ion .

12                  I he r eb y c er ti fy th at I am n eit her an

13     atto r ne y fo r a ny pa rt y, nor am I re lat ed t o a ny

14     part y c onne c te d w it h thi s a c tio n, n or am I

15     fina n ci ally in ter es te d i n t h is acti on.

16                  Give n u nde r my ha nd a n d sea l th is 8 th day

17     of J u ly 202 1 .

18

19

20

21

22                                   _ ___ ____ ___ __ _ ____ __ _ ____ _
                                     L esl ie T odd , N otar y P ubli c
23                                   D ist rict of C o lumb ia

24                                   M y C ommi ssi on Expi re s :
                                     F ebr uary 29 , 2 024
25
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        Exhibit 11
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                                                                      1


                         UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF COLUMBIA



       --------------------------------x

       BOTTORFF, et al.,                        ) Civil Action No.

                         Plaintiff,             ) 18-3122 (CKK)

            v.                                  )

       THE ISLAMIC REPUBLIC OF IRAN,            )

                           Defendant.           )

       --------------------------------x




                      REMOTE VIDEOTAPED DEPOSITION

                           ON ORAL EXAMINATION OF

                               NICHOLAS McCARTY

                                 MARION, OHIO

                                APRIL 13, 2021




       Transcribed by:
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                                                                       2


 1
                         P R O C E E D I N G S
 2                         ------------------

 3                   MR. MILLER:      This is the videotaped

 4     deposition of Nicholas McCarty, who was a serviceman

 5     in the United States military.           While on active duty

 6     in Iraq, Mr. McCarty suffered injuries due to

 7     Iranian-manufactured munitions.

 8                   This case has been filed before the

 9     U.S. District Court for the District of Columbia,

10     styled Bottorff versus the Islamic Republic of Iran,

11     et al.

12                   I'm Pete Miller with Miller DellaFera.

13     For the sake of clarity, the deponent's client ID is

14     10.020.01.

15                   Today's date is the 13th of April 2021.

16                             NICHOLAS McCARTY,

17                   having first been duly sworn, was

18                   deposed, and testified as follows:

19                               EXAMINATION

20     BY MR. MILLER:

21            Q      Sir, please state your full name.

22            A      Nicholas Alan McCarty.

23            Q      And when were you born?

24            A

25            Q      Okay.     And where do you currently live?
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                                                                      3


 1             A     Marion, Ohio.

 2             Q     What type of work are you doing now?

 3             A     I worked for a company that repairs tank

 4     cars for trains.       I am actually laid off due to COVID

 5     and the economy still at the moment just because the

 6     nature of our train cars.

 7             Q     Okay.     I understand.

 8                   And there was a time that you were in the

 9     military, correct?

10             A     Yes.

11             Q     Did you join right after high school?

12             A     A couple years after high school.

13             Q     Okay.     And where did you go to high

14     school?

15             A     Delaware Hayes.

16             Q     Is that in --

17             A     In Delaware, Ohio.

18             Q     In Delaware, Ohio.

19             A     It's in (inaudible.)

20             Q     And what of branch of service did you

21     join?

22             A     The Army.

23             Q     What year did you join the Army?

24             A     I left home -- I left home Valentine's

25     Day 2002.
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                                                                      4


 1             Q       Okay.     And then where did you go to boot

 2     camp?

 3             A       Fort Benning, Georgia.

 4             Q       Okay.     And then what year did you get out

 5     of the military?

 6             A       I came home in September 2006.

 7             Q       Okay.     Is it fair to say you did a full

 8     four years in the military?

 9             A       Yes.

10             Q       Okay.     And you were an infantryman,

11     correct?

12             A       That is correct.

13             Q       Now, in your intake, I see it's written

14     down C2/14N.       What does that mean as far as a unit

15     goes?       Or maybe we wrote that down wrong.

16             A       No.     That's correct.    That's Charlie

17     Company 2nd in the 14th Infantry.

18             Q       Okay.     And were you deployed during your

19     four years in the military?

20             A       Yes.     We went in 2005 to Abu Ghraib,

21     Iraq.

22             Q       And we'll get to the IED incident in

23     April of 2005, but what was a typical day like in

24     Iraq in early April before you were hit by the IED?

25             A       It was very warm.      Sorry.
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                                                                      5


 1            Q      It's quite all right.

 2            A      That's my set answer for people now when

 3     they ask what Iraq was like.           I tell them warm.

 4                   We did a lot of patrols.          For the most

 5     part, like the citizens of Iraq themselves, they're

 6     just normal people, you know, so you really spend a

 7     lot of time just driving around on patrol, similar to

 8     what a police officer would do.            You just drive

 9     around patrolling the streets, unless you're tasked

10     with a specific -- like you go over and watch the

11     market sale.      You're cordon off a blast and somebody

12     will go up on a roof top and watch for stuff.

13                   If somebody finds something, you might

14     respond, and then you set up a perimeter, security,

15     and just keep people out of the area kind of thing.

16     So, most days are the same, but every once in a

17     while, it will vary just a little, based on needs of

18     the mission.

19            Q      Mm-hmm.

20            A      So...

21            Q      And here shortly I'm going to ask you

22     about the April 24th event where your vehicle hit an

23     IED.   Is that the only IED experience that you had

24     while you were in Iraq?

25            A      Me, personally, yes.
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                                                                              6


 1             Q       But your unit saw a few IEDs prior?

 2             A       Yeah -- we -- they saw several, yeah.

 3             Q       Okay.   Then walk me through what occurred

 4     on April 24th, 2005.

 5             A       So we got sent out to -- this was one day

 6     we went to over to watch the marketplace.               And so we

 7     went -- um, our squad had two Humvees, and we parked

 8     the -- the neighborhoods in Iraq -- the houses are

 9     close together, and there's a wall around every one

10     of them.       And they've got a gate for the driveway

11     kind-of-thing.       So it's a wall -- it looks like an

12     alley (witness indicating.)          It's about two cars

13     wide.       And so you -- our squad had a Humvee at both

14     ends, and you pull up your -- your concertina wire or

15     razor wire -- for folks who don't know, it's like the

16     prisons have.       You set that at the end of the street,

17     and then you back up away from it, so you have time

18     to react if something comes through.

19                     Our squad was at both ends of that

20     street, and then the next street over was the next

21     squad, and there were a few people who went -- they

22     went up on the roof of the corner building, and we

23     had several people watch at the market first.                  There

24     were supposedly insurgents in the market.               And I got

25     sent down to sit with the other Humvee, just because
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                                                                           7


 1     they had -- it was three people out of one Humvee

 2     going to the roof.        So it left just the two guys

 3     there, so I went down with them.            And I know we went

 4     out -- I think we went out earlier than usual that

 5     day.   And at about 9:45 they called over the radio,

 6     Get ready to move.        And so those guys come down, and

 7     then I went back to my Humvee, and I got in, and we

 8     were sitting there.        And a few minutes till 10:00,

 9     they told us to pack it up.          So the Humvee backs down

10     to the end of the road, and we pick up the wire and

11     then we got the signs out.          They say something about

12     stay back, don't cross the wire, stuff like that in

13     English and in Arabic.         And we've got road cones

14     blocking off things.        So we're picking up that stuff,

15     and we got back -- we walked back to the Humvee,

16     myself and Specialist Moran.           We climbed out.         We

17     picked up our stuff, and I'm standing at the back

18     tire of the Humvee and I leaned down.             I had my hands

19     full so I set everything down so I could throw it on

20     top of the truck.       And it -- as soon as I let go of

21     that sign like, it was -- it's like a loud bang, and

22     I looked up, and it's just like a wall of dust

23     everywhere and I couldn't see anything.              And I ran

24     around to the other side of the Humvee, and Moran,

25     the other guy that was with me, he was laying on the
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 1     ground, and Sergeant Lewis, he had got out of the

 2     passenger seat, to just kind of keep an eye on

 3     everything while we were doing our job.              He was also

 4     laying on the ground.         And Specialist Alvarado, he

 5     was on the turret, and I looked up and he was gone.

 6     And I re- -- they tell you when you first -- when we

 7     were in boot camp, like near the end, like we were

 8     talking about different things in the military, and

 9     the drill sergeant said, you know, when you get shot,

10     you either drop to the ground or you keep fighting,

11     because of your adrenaline.          And he said, it's not

12     like in the movies when they got shot and they do all

13     this stuff.      And the one picture of the Humvee where

14     the window looks like it has a big white spot on it,

15     like you can see a big cooler, we had coolers in

16     there to keep our water cool, our bottled water, and

17     Specialist Alvarado, I opened the back door, and it

18     literally looked like a pile of laundry.              He was in

19     that little middle section between the two seats, and

20     he was laying between the front seats and the cooler,

21     like just -- like somebody pounded him into a pile.

22     And the next thing I did is -- my adrenaline's

23     kicking a lot right now.         And so I went to the back

24     of the Humvee, and I stuck my rifle over the back,

25     just trying to pull security.           And it felt like
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 249 of 358
                                                                             9


 1     forever, but the Humvees from the next street over

 2     came over and blocked off the area, and then they --

 3     the helicopters showed up and the tanks and everybody

 4     responded.     That's the -- that's the gist of what

 5     happened.     We'll call it the short version.

 6            Q      Okay.     Did you lose Specialist Alvarado

 7     that day?

 8            A      No.     The picture -- that's my hand in the

 9     picture with the hole by the thumb, that's right

10     above the driver's door.

11            Q      Okay.     Hang on one second.        So you're

12     referring to the photos that you sent.              The first

13     photo -- there's a hand in the first and the second

14     photo.     The first photo has a hand with a hole

15     through the armor, the second --

16            A      The hole --

17            Q      Okay.

18            A      And that's right above the driver's door.

19     And a chunk of something came through the up-armor

20     and I didn't get pictures of it, but in the Humvee,

21     the roof is padded, you can see a strip where

22     something ripped the padding, and then there's a mark

23     on the turret which is like this thick.              And the way

24     it was marked up -- and that's actually -- the

25     picture with the crutches is actually Alvarado.                 And
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 250 of 358
                                                                         10


 1     we all sat down as a squad and talked, and what we

 2     all believed happened is that it went through the

 3     up-armor, and when it hit the turret because of how

 4     thick it was, it tumbled, the shrapnel.              And so the

 5     picture with the crutches is Specialist Alvarado.

 6     And it went clean through his leg when it was

 7     tumbling around inside the Humvee and that's what

 8     dropped him.      And that was -- that was particularly

 9     rough at that time because Alvarado was my battle

10     buddy, and the three of us in the back would rotate

11     every hour under the turret.           And so because I went

12     and sat on the other Humvee, I didn't rotate onto the

13     turret on our Humvee.         And so if I had gone up there,

14     that would have been me.         And it was -- it took a

15     long time to cope with, because at 24 years old,

16     Alvarado came on -- he has a wife and two small

17     children at this point, like small, small children,

18     and he -- he'll spend the rest of his life walking

19     with a cane; whereas, as a single guy, I have nobody

20     to depend on me, you know, and he did this for me,

21     you know.     And I'm sure you've heard all the survivor

22     guilt stories before, so that took a while to deal

23     with this, as far as I go, you know.

24            Q      But Alvarado is alive, correct?

25            A      As far as I know.
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                                                                      11


 1            Q      Mm-hmm.

 2            A      Yeah.     This did not kill him.

 3            Q      No.     I got you, right, mm-hmm.

 4            A      But...

 5            Q      How about Sergeant Lewis, did all three

 6     men survive:      Specialist Morton, I believe you said?

 7            A      Moran, yeah.

 8            Q      Moran, I'm sorry.

 9            A      Everyone of us walked out of there.

10            Q      Okay.

11            A      And we ended up back there at that same

12     spot sometime later, and where the -- so while we

13     were -- after we set our stuff and backed up -- so

14     they have cinder block walls around all these houses.

15     They're probably six foot or higher or so, and what

16     they did while we were sitting there, they come up

17     the side and they set their bomb down and took off.

18     And when we were pulled forwards is when they blew it

19     up.   And at extreme temperatures, like the blast will

20     burn the earth, and because the wall, it created a

21     shaped charge essentially.          So it explodes in a

22     specific direction, and it goes down the wall,

23     instead of going everywhere.           Right?

24                   The next time we were in that area, like

25     we were literally -- it was probably 20 yards away,
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                                                                      12


 1     and we were literally in the middle of the burnt

 2     dirt, and I think it's the last picture I sent you of

 3     the Humvee.      There's a hole in the bottom of the

 4     doors, it's probably -- it's probably a little bigger

 5     around than my finger, and I could stick most of my

 6     fingertip in there, and that's right at knee height

 7     for me.

 8                   We don't -- I keep saying we, like the

 9     squad I was in, like we spent time talking about this

10     and like extreme best case scenario, like, we

11     probably should have never walked again.              But

12     realistically there's -- there's no way any of us

13     should have ever come out of there alive.

14            Q      You used the term "shaped projectile."

15     Now, are you familiar with an explosively formed

16     projectile, a very particular type of IED?

17            A      I've heard about it, but I don't -- I

18     mean, I saw the safety briefings and just, This is an

19     IED, this is an IED, this is an IED.             And so I don't

20     -- I'm not an expert in the area.            I know they're

21     loud and they hurt.

22            Q      But you have no reason to believe that

23     this was not an EFP that drove the shrapnel through

24     the armor of the Humvee that you were assigned to?

25            A      That is correct, because they were
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 253 of 358
                                                                          13


 1     designed to, upon explosion, to collapse in on

 2     themselves into an armor piercing object.               And

 3     clearly based on the picture, it went through the

 4     up-armor of the Humvee and actually above the

 5     driver's door, it would have more armor because the

 6     side wall comes up and the roof comes over and

 7     there's actually a very tiny space between them so

 8     it's actually twice the metal where it went through.

 9             Q     Okay.     What physical injuries did you

10     suffer that day?

11             A     I got -- I got shrapnel in both knees and

12     in my arm.     Just little scars here and there.               As far

13     as my arm goes, I'm -- there are just little places

14     where there's little scars here and there.               Right

15     before I got out, there was a piece removed out of my

16     right knee, and there's still a piece in my left

17     knee.

18             Q     And clearly that would have caused pain

19     at the event.      When it happened, you were in pain,

20     correct?

21             A     Once the adrenaline wore off, it was --

22     up to that point, it was probably one of the more

23     painful experiences I've had.

24             Q     And the pain continued, is that why you

25     had the piece removed from your knee?
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 254 of 358
                                                                      14


 1            A      Uh, not exactly.        I was -- so what

 2     happened, I was still in the Army, and I was sitting

 3     around one day, and I just had my hand on my knee and

 4     I noticed there was something there.             And I had a

 5     scab, so I picked it off, and I was playing around

 6     and there was a chunk of black in there.              And I ended

 7     up going to see a -- oh, I don't know, it was the

 8     health center at the time, and they pulled a chuck of

 9     something out of my -- it wasn't very big, it was

10     little, but it was in there.

11            Q      Is it likely that that came from that

12     event in April 2005?

13            A      Oh, yeah, yeah.

14            Q      Hmm.    Are there any physical things

15     lingering from what happened to you back in 2005 now?

16     Do you have a limp or any soreness?

17            A      Um, it depends on the day.           There are

18     days where it hurts to walk.           My knees just ache.

19     The closest thing I can relate it to is like when

20     somebody with real bad arthritis talks about they can

21     feel it's going to rain 'cause their bones ache; I

22     have, and I apologize about the pronunciation, I

23     don't know, tinnitus.

24            Q      Tinnitus.

25            A      Tinnitus, whatever.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 255 of 358
                                                                            15


 1             Q      Mm-hmm.

 2             A      The ears ring.      It's not as bad.        There's

 3     a lot of times now it'll just be like, Oh, my ears

 4     are ringing.      But for a long time, it would be bad,

 5     like take-me-to-my-knees bad.           And they -- it's just

 6     off and on.      I know that's something that can never

 7     really be done about.         So you live with that, you

 8     know.

 9             Q      How about emotional distress?           Have you

10     had any lingering nightmares or anything from the

11     event?

12             A      Yeah.     Just everyday stuff.       You know, if

13     you're driving down the road and you see a box or a

14     bag of trash in the road, sometimes you swerve around

15     it, sometimes you hold your breath when you go by it,

16     sometimes you just detour and go a whole different

17     route.      The fireworks.     I try to not put up too big a

18     fuss because I know people want to have their fun,

19     it's 4th of July or whatever, but I don't

20     participate.      There's been -- there was one 4th of

21     July, my neighbors had got so bad, my ex -- my wife

22     at the time, my ex-wife, she and I actually left town

23     where we were living and went to her mother's.                 She

24     lives out in the country.          It just depends.       It's one

25     of those things, it's not always -- there's not
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                                                                          16


 1     always one set trigger.         So it's a little harder to

 2     cope with, you know.

 3             Q       How about -- do you have any nightmares,

 4     or does anything reoccur along that line?

 5             A       You know, honestly, I just -- you know,

 6     16 years later, I just don't honestly sleep well most

 7     nights.       So -- I'm caught up on my sleep deprivation.

 8     Yeah.       I really don't dream a lot.       I just -- when I

 9     sleep, I get my sleep, and then I go.             If I'm having

10     issues, I might be up a while, I might not.               It's hit

11     and miss as far as the sleep goes.

12             Q       I have a question I failed to ask.             Going

13     back to the event in April 2005, was the Humvee

14     drive-able or did you walk out?

15             A       The Humvee was drive-able.         Myself and

16     Specialist Alvarado, they put us on the Bradley and

17     they took us back to the medical facility on the base

18     there.

19             Q       At the time back in April 2005, were you

20     married?

21             A       I was not.

22             Q       Did you have brothers and sisters?

23             A       I do.

24             Q       Okay.   They also have a case, and if --

25     you know, if you would want to go that route.                  And I
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 257 of 358
                                                                          17


 1     will talk to you about that here in a second when we

 2     turn the camera off.

 3                   Are your parents still alive?

 4            A      My mother, yes.

 5            Q      Okay.     We'll discuss that as well.

 6                   Is there anything about the event and

 7     your physical injury, your emotional injury or

 8     anything that you would like to discuss that I

 9     haven't asked?

10            A      I don't know.       I usually -- this is

11     honestly more time than I spend thinking or talking

12     about it.     I've gotten real good at avoidance, so I'm

13     sure there is.

14            Q      Quick comparison question.           You said that

15     the unit had suffered other IED events besides the

16     one you were involved with in April of 2005.               Is it

17     fair to say that the physical damage to the Humvee

18     and the fact that it pierced the armor, does that

19     make it more severe than the other stories that

20     happened to your unit?

21            A      Some yes, some no.        The first -- the

22     first roadside bomb that our company hit was -- it

23     was worse than this one.         But then you would get

24     others where like something blows up while you're

25     driving by and it misses people, you know.
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                                                                      18


 1            Q      Mm-hmm.

 2            A      So this is probably middle of the road,

 3     honestly speaking.

 4            Q      But you will agree that the armor was

 5     penetrated which is not a normal occurrence?

 6            A      Correct, absolutely.

 7            Q      Then I'm going to go over the pictures

 8     real quick.      The first one you've got your hand --

 9     the first picture shows a hole through the armor with

10     a hand beside it.       Is that your hand?

11            A      That is my hand, yes.

12            Q      And that's the one where you said you

13     probably could stick your finger through the hole in

14     the armor there?

15            A      Yeah.     That went all the way through.

16            Q      Okay.

17            A      That's the one where the roof comes over,

18     so it's multiple -- more than just one layer of the

19     armor.

20            Q      Okay.     And the second pictures shows

21     where something has grazed the side of the armor,

22     and it's a hand, but it looks more like a -- not a

23     hole --

24            A      That is --

25            Q      Oh, go ahead.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 259 of 358
                                                                      19


 1            A      That is also my hand.         That is -- that is

 2     the section between the driver's door and the back

 3     door, and while I don't have overly big hands, that's

 4     probably about two inches up and down and it's

 5     probably about eight inches long.            It's -- I would

 6     guess it's about between a quarter and half inch into

 7     the up-armor.

 8            Q      Mm-hmm.

 9            A      So it's like a crater.

10            Q      And when we go down, there's several

11     small pocks or holes in the side of what appears to

12     be armor in the next picture.

13            A      This is one of the doors.          If you see the

14     four holes, those are -- the four holes like real

15     close together --

16            Q      Yup.

17            A      Those are like manufactured that way.

18     Right to the right of that is a hole from the blast.

19     Partly down left of those four, that is a hole from

20     the blast, and there's two small ones below that.

21     And then down at the bottom of the picture, the

22     single blast hole, off to the right of that, there's

23     another hole -- those are all from the blast.

24     Obviously, they weren't as significant, like the

25     previous picture.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 260 of 358
                                                                        20


 1            Q      Right.

 2            A      But they did penetrate as well.

 3            Q      And then there's a picture with gravel in

 4     the bottom that shows a lot of pock marks on the

 5     armor.     Do you have anything to add to that picture?

 6            A      That actually kind of goes with the last

 7     picture.     The last picture you can see the hole, but,

 8     yeah, there's -- if you see the hinge on the door

 9     there, down at the bottom, just left of that, on that

10     bottom piece and then to the right of it a little

11     bit, there's two in there.          Those go with the last

12     picture.     Those are right at knee height.            I took

13     them because if it ever come -- because I was a

14     standing about a step behind those, so probably about

15     a foot and a half away from where those -- the three

16     of those holes are.

17            Q      Okay.     And then the next picture shows,

18     it looks like, either an exhaust stack or a tank of

19     some sort, and it has a pipe cut in half.               Is that an

20     exhaust stack or something else?

21            A      That is the back of the driver's side

22     mirror and the thing broken in half.             It's -- I

23     believe they're half inch.          It's the -- it looks like

24     a pipe.     It's the frame for the mirror.           And so it

25     busted up that.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 261 of 358
                                                                        21


 1             Q     Okay.     And then we've got more holes in

 2     the, it looks like, the side window and also the door

 3     mount in the next picture.

 4             A     Yeah.

 5             Q     Okay.     And then more damage in the last

 6     picture.

 7             A     Yes.

 8             Q     Okay.     And then we get into the physical

 9     injury, and this one with the crutch you said is

10     Sergeant or Specialist Alvarado?

11             A     Alvarado, yes.

12             Q     And then how about the injury that has a

13     hand and then showing an arm?

14             A     That's me.

15             Q     So that's your shrapnel wound there?

16             A     That's -- oh, when you said arm, it threw

17     me off.

18             Q     Or is that a leg?        I'm sorry.      I see a

19     hand.

20             A     If you turn it up so the thumb's up, then

21     you'll see there's a sock in the sandal.

22             Q     Oh, I got it.       That is a leg.       Yeah, I

23     see it.     Okay.

24                   Now, is that you?

25             A     Yeah.
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                                                                      22


 1            Q      Okay.

 2                   MR. MILLER:      Well, sir, at this time

 3     those are all the questions I have for the deposition

 4     and I'm going to go ahead at this point and turn the

 5     camera off.

 6                   THE WITNESS:       Okay.

 7                   (Whereupon, the deposition of

 8                   NICHOLAS McCARTY was concluded.)

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Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 263 of 358
                                                                      23


 1                   DISTRICT OF COLUMBIA AT LARGE:

 2

 3                  I, Leslie A. Todd, Notary Public in

 4     and for the District of Columbia, do hereby certify

 5     that the foregoing videotaped deposition was provided

 6     to me by counsel for the Plaintiff in this matter.

 7                  I do further certify that the deposition was

 8     transcribed by me and is, to the best of my knowledge

 9     and ability, an accurate and correct record of the

10     deposition.

11                  I hereby certify that I am neither an

12     attorney for any party, nor am I related to any party

13     connected with this action, nor am I financially

14     interested in this action.

15                  Given under my hand and seal this 8th day

16     of July 2021.

17

18

19

20

21                                   __________________________
                                     Leslie Todd, Notary Public
22                                   District of Columbia

23                                   My Commission Expires:
                                     February 29, 2024
24

25
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 264 of 358




        Exhibit 12
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                                                                      1


                         UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF COLUMBIA



       --------------------------------x

       BOTTORFF, et al.,                        ) Civil Action No.

                         Plaintiff,             ) 18-3122 (CKK)

            v.                                  )

       THE ISLAMIC REPUBLIC OF IRAN,            )

                           Defendant.           )

       --------------------------------x




                      REMOTE VIDEOTAPED DEPOSITION

                           ON ORAL EXAMINATION OF

                                JASON HARRISON

                             CORRYTON, TENNESSEE

                                MARCH 26, 2021




       Transcribed by:
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                                                                             2


 1                       P R O C E E D I N G S

 2                         ------------------

 3                   MR. MILLER:      This is the videotaped

 4     deposition of Jason Harrison, who was a serviceman in

 5     the United States military.          While on active duty in

 6     Iraq, he suffered injuries due to

 7     Iranian-manufactured munitions.

 8                   This case has been filed before the

 9     U.S. District Court for the District of Columbia,

10     styled Bottorff versus The Islamic Republic of Iran,

11     et al.

12                   I'm Pete Miller with Miller DellaFera.

13     For the sake of clarity, the deponent client ID is

14     10.011.01.

15                   Today's date is the 26th of March.               This

16     is a videoconferencing deposition with the deponent

17     in -- Tennessee or Kentucky, sir?

18                   THE WITNESS:       Tennessee.

19                   MR. MILLER:      Tennessee, okay.

20                             JASON HARRISON,

21                   having first been duly sworn, was

22                   deposed, and testified as follows:

23                               EXAMINATION

24     BY MR. MILLER:

25            Q      The video is out, but we still have the
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 267 of 358
                                                                      3


 1     audio.      So I'm going to continue on and hope that the

 2     video shows back up.

 3                    Sir, please state your full name.

 4             A      Jason Wayne Harrison.

 5             Q      And, Jason, where do you currently live?

 6             A      Corryton, Tennessee.

 7             Q      All right.     And what's your date of

 8     birth?

 9             A

10             Q      Okay.    And did you grow up in Tennessee?

11             A      I grew up for a little bit in Tennessee,

12     and then I moved to Lakeland, Florida with my father.

13             Q      Okay.    Did you go to high school in

14     Lakeland?

15             A      Yes.

16             Q      All right.     Then after high school, did

17     you join the military right away, or did it take some

18     time?

19             A      It was about four -- four and half, five

20     months after high school.

21             Q      Okay.    And what branch of the service did

22     you join?

23             A      The Army.

24             Q      And how many years did you spend in the

25     Army?
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 268 of 358
                                                                        4


 1            A      Twenty years and one day.

 2            Q      Twenty years and one day, okay.            Well,

 3     thank you for your service.

 4            A      Thank you.

 5            Q      Oddly enough, the video is showing your

 6     hand up in the air.        I'm not sure why there's a delay

 7     in the video.

 8                   Was there a time that you were stationed

 9     in Iraq?

10            A      Yes, sir.

11            Q      And --

12            A      Lots of time.

13            Q      A lot, okay.       And you have been hit by

14     what I'm going to call an IED on a few occasions,

15     correct?

16            A      Yes, I have, sir.

17            Q      But the worst of your physical injuries

18     came from a specific event in April of 2005; is that

19     correct?

20            A      Yes.

21            Q      Well, start out by telling me in April of

22     2005 where you were stationed and what your job duty

23     was.

24            A      Actually, it was 2006, not 2005.

25            Q      Okay.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 269 of 358
                                                                             5


 1             A     Yup.    (Inaudible.)      I was stationed in

 2     Baumholder in Germany.         We were sent to -- in Iraq as

 3     part of an Alpha task force with Alpha 1-3-6 out of

 4     Friedberg, Germany -- and Alpha 1-6 Infantry, my unit

 5     out of Baumholder, Germany, to a little town -- I

 6     believe it was close to Ramadi.            It's called Hit,

 7     Iraq.

 8             Q     Okay.     And then tell me the events of the

 9     day that you hit this particular IED.

10             A     It was kind of a routine day.            We were

11     going out on mission.         We slept that morning, and had

12     an intel brief that night, and we were going to pick

13     up what was called an HVT, a high value target.                We

14     did our pre-briefs, we did our pre-work called PCC's,

15     our PCI's.     We loaded up, once we got up and got

16     everybody loaded up in the Bradleys, and we moved out

17     into the town.

18                   Like every other normal mission, you

19     know, you see the people, you see things, you're

20     driving in, you know, you get the looks.              So we

21     pulled into where the HVT was located.              We backed in

22     our Bradleys, dismounts got out, went into the house,

23     snatched the HVT.       We were there on target probably

24     fifteen, maybe twenty minutes.           And I called my

25     lieutenant and said, Hey, are we ready to exfil?                 He
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 270 of 358
                                                                              6


 1     said, Yes, exfil.       About where I remember stopping at

 2     is we came in one way and I said, Hey, do we want to

 3     go out another way?        He said, No, we got air.            We go

 4     out the same way we came in.           I remember going out.

 5     I remember the street.         It was called Cherry Street

 6     in Hit, Iraq.      We went out to the intersection, and I

 7     remember making a right-handed turn, and once I made

 8     that right-handed turn, that's the last thing I

 9     remember, other than waking up in Balad, Germany or

10     at the actual aid station in Hit and then Balad,

11     Germany, and then it was just all fuzzy till I got

12     back to Landstuhl, until I got evaced from there.

13            Q      We'll talk about your specific physical

14     injuries in a bit, but -- so the IED hit the Bradley

15     that you were in, correct?

16            A      Yes, sir.      It hit the -- blew through the

17     armor, penetrated the hull of the Bradley, and from

18     what I -- you know, again, I wasn't awake, I was

19     knocked unconscious, but from everything I've been

20     told and the pictures that I had seen around that

21     time, the vehicle was taken out.            It was completely

22     -- I wouldn't say it was completely destroyed, but it

23     breached the hull of the Bradley, blew through the

24     armor, and, you know, you can't drive it anymore once

25     it's been exposed.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 271 of 358
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 1             Q     What was your title within the Bradley,

 2     were you a commander of the Bradley or --

 3             A     I was the Bradley commander.           The BC,

 4     yes, sir.

 5             Q     Okay.     And then who else was in the

 6     Bradley?

 7             A     I had my gunner which was Dasico --

 8     Joshua Dasico, and then my driver which was Adam

 9     Lynn.

10             Q     What was the fate of your driver and your

11     gunner?

12             A     So my driver was injured as well in that

13     one.    And then my gunner as well; he took shrapnel as

14     well.

15             Q     Okay.     And comparatively speaking to

16     other IEDs while you're in Bradley -- while you were

17     commanding a Bradley -- you believe this one to be of

18     more substantial damage, correct?

19             A     Yes, sir, without a shadow of a doubt.

20     This is the one that my wife tells our friends and

21     family at church that, you know, God was watching

22     over me, you know, 'cause this one I shouldn't have

23     walked away from.       I've hit numerous -- and it's on

24     my NCOER, evaluation reports, that I hit multiple,

25     multiple, multiple IEDs, and this is the one that,
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 272 of 358
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 1     you know, hurt the worst.

 2             Q     What would a typical IED do to the

 3     armament of a Bradley?

 4             A     I mean, the ones we hit, if it's like a

 5     155 projectile, you know, you get some concussions,

 6     some blast, it might move it a little bit.               If you

 7     hit something where it was underneath that was not of

 8     high velocity or high explosive, we'll say, like a

 9     double stack antitank mine, it would blow off the

10     track and make it immobile.          But everyone inside will

11     be fine.     They might have some ringing in the ears or

12     something small, but not as big as like the last IED.

13             Q     And you were told at some point afterward

14     that the shrapnel actually penetrated the armor of

15     the Bradley?

16             A     Oh, yes, sir.       It blew through the

17     reactive armor on the side and underneath.               It was

18     kind of at an upward angle.

19             Q     And what physical injuries -- when you

20     awoke in Germany, what physical injuries did you

21     have?

22             A     So I had a torn ACL, and then I had

23     what's called post -- TBI, traumatic brain injury,

24     and postconcussive blast syndrome, which I still

25     suffer from today and deal with at the VA.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 273 of 358
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 1            Q      How does that TBI present?           Do you have

 2     nightmares or what all does that involve?

 3            A      I'm -- always have nightmares about stuff

 4     that happened overseas when we were there.               I have

 5     headaches every day.        I take medication every day to

 6     try to deal with it.        I'm at the point now after 14

 7     plus years of taking Depakote, taking sumatriptan,

 8     all the ones they've tried that they're -- they're

 9     still trying to figure out how to manage it.               And I'm

10     managing daily, but I wake up with them, I deal with

11     them, you know.       I have children, I have a life, I

12     have family.      So other than medication and trying new

13     things that they try to come out with, that's pretty

14     much it.

15                   The way it was explained to me was your

16     brain will never truly recover from the situations

17     that you went through, with as many concussions that

18     you've had.      It's just like a football player, you

19     get that injury numerous, numerous times, and, you

20     know, it's -- you just have to learn to manage it.

21            Q      Well, it's important to point out for

22     those that are going to read this that you agree with

23     the statement that that one event was the crucial

24     event that put you over the top, if you will.

25            A      Yes, sir.      That was the damaging one, as
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 274 of 358
                                                                         10


 1     I would call --

 2            Q      Okay.

 3            A      -- without a shadow of a doubt.

 4            Q      Okay.     And then a torn ACL.        How long did

 5     you have issues with your knee?

 6            A      I still have the issues with it.             I've

 7     had that original knee surgery, and then I've had two

 8     prior -- two after that one, just to replace the ACL

 9     and the meniscus, because it's an injury that never

10     -- never will fully, I guess, be at its top.               I mean,

11     you always take a chance at tearing it again.

12            Q      Mm-hmm.     Were you married at the time at

13     this event in 2006?

14            A      Yes, sir.

15            Q      Okay.     And you're still married to her

16     today, correct?

17            A      I'm actually divorced from my ex-wife.

18            Q      Okay.

19            A      I'm remarried.

20            Q      Okay.     Did you have children in 2006?

21            A      No.

22            Q      Okay.     How about brothers and sisters?

23            A      I have one brother that's in the military

24     and then one that just retired.

25            Q      Okay.     They also have a case because of
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 275 of 358
                                                                            11


 1     the way the foreign sovereign -- because of the way

 2     the laws work.      If you would like for me to reach out

 3     to them or if you'd like to reach out to them, they

 4     have a case about the emotional distress knowing what

 5     happened to you, so -- as well as your parents.                  Are

 6     you parents still alive?

 7            A      Yes, sir.

 8            Q      Okay.     Are you being treated now?             Are

 9     you seeing a psychiatrist?          Are you going to the VA?

10            A      Yes, sir, I go to the VA.          I see a

11     neurologist, a psychologist, and my primary care and

12     orthopedics.      Physical therapy, and an ortho surgeon

13     as well.

14            Q      Now, is the ortho because of the knee,

15     the torn ACL?

16            A      It's because of the knee and secondary

17     also because of my back that was injured as well.

18            Q      You injured your back on the event that

19     we're discussing in 2006?

20            A      Yes, sir.

21            Q      Okay.     And so that care and treatment has

22     been going on continuously since 2006, 15 years?

23            A      Yes, sir.      It's been -- I've been dealing

24     with this head issue -- the head's the big one.

25     Everything else I can manage, I've learned to live
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 276 of 358
                                                                         12


 1     with the pain.      The head's the -- you know, I wake up

 2     with them, I go to bed with them.            I know -- when

 3     they happen, some are more extreme, some are

 4     debilitating that put me out where I can't even, you

 5     know, get up with my kids in the morning.               My wife

 6     has to deal with it.

 7                   I try to work.       There are times I have to

 8     come home from work because of 'em.             It's just

 9     something -- something I have to deal with.               They've

10     been -- we've tried lots of different medications,

11     and they're still trying them, but we just keep going

12     after it.

13            Q      You received a combat action badge for

14     that event?

15            A      I received a combat infantryman's badge

16     for that.

17            Q      Okay.

18            A      And currently right now I'm actually --

19     there's a case with my governor and the Illinois

20     governor that they believe that we should have been

21     awarded Purple Hearts for that, looking back now,

22     because then the IED or EFP was not an event that

23     they covered under Purple Heart, and now they're

24     looking at it for TBI and post-concussive blast

25     syndrome.     So they're going back through that right
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 277 of 358
                                                                       13


 1     now trying to, I guess, see what they can do.

 2            Q      Mm-hmm.     Were there any ground troops or

 3     any other vehicles with you on this mission?

 4            A      I had another Bradley and then I had the

 5     dismounts in the back of mine and another Bradley.

 6            Q      Was anyone injured other than the IED in

 7     your Bradley -- that hit your Bradley?

 8            A      It was just my Bradley that was hit and

 9     injured on one side.        The way it was explained to me

10     was once it hit and knocked our vehicle, the other

11     vehicle immediately, you know, called for evac and

12     then started trying to surround the area and get an

13     EOD there.

14            Q      Was the high value target in your Bradley

15     or in a different vehicle?

16            A      He was in my lieutenant's Bradley behind

17     me.

18            Q      Okay.     Is there anything you would like

19     to say about the events that day or the injuries that

20     you have suffered that I have not asked?

21            A      Um, I think you've pretty much covered it

22     other than, I mean, I can reiterate the fact that

23     2006 was a day, it was a wake-up, that was my -- the

24     one that -- that hurt the worst.            It's the one that

25     took me out.      I mean, it took about six and a half
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 278 of 358
                                                                      14


 1     years for me to even return back to country, back to

 2     theater, to Iraq or Afghanistan, after that event,

 3     and I just wasn't the same, I mean...

 4            Q      If our expert wanted to ask some followup

 5     questions, would you mind a phone call from him?

 6            A      Not at all, sir.

 7            Q      Okay, great.

 8                   MR. MILLER:      Those are all the questions

 9     I have at this time.        I'll keep you updated on the

10     case maybe to ask some more questions down the road,

11     but this will certainly get us started.

12                   THE WITNESS:       Yes, sir.

13                   MR. MILLER:      Okay.    I'm going to turn the

14     video off.

15                    (Whereupon, the deposition of

16                    JASON HARRISON was concluded.)

17

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Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 279 of 358
                                                                      15


 1                    DISTRICT OF COLUMBIA AT LARGE:

 2

 3                  I, Leslie A. Todd, Notary Public in

 4     and for the District of Columbia, do hereby certify

 5     that the foregoing videotaped deposition was provided

 6     to me by counsel for the Plaintiff in this matter.

 7                  I do further certify that the deposition was

 8     transcribed by me and is, to the best of my knowledge

 9     and ability, an accurate and correct record of the

10     deposition.

11                  I hereby certify that I am neither an

12     attorney for any party, nor am I related to any party

13     connected with this action, nor am I financially

14     interested in this action.

15                  Given under my hand and seal this 8th day

16     of July 2021.

17

18

19

20

21                                   __________________________
                                     Leslie Todd, Notary Public
22                                   District of Columbia

23                                   My Commission Expires:
                                     February 29, 2024
24

25
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        Exhibit 13
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                                                                      1


                         UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF COLUMBIA



       --------------------------------x

       BOTTORFF, et al.,                        ) Civil Action No.

                         Plaintiff,             ) 18-3122 (CKK)

            v.                                  )

       THE ISLAMIC REPUBLIC OF IRAN,            )

                           Defendant.           )

       --------------------------------x




                       REMOTE VIDEOTAPED DEPOSITION

                           ON ORAL EXAMINATION OF

                                  SHAUN COOK

                             CORONA, CALIFORNIA

                                APRIL 13, 2021




       Transcribed by:
       Leslie A. Todd, CSR No 5129 and RPR
       Valley Center, California 92082
       (202) 413-2733
       Leslieatodd2001@yahoo.com
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 1

 2                       P R O C E E D I N G S

 3                         ------------------

 4                   MR. HAN:     This is the videotaped

 5     deposition of Mr. Shaun Cook, who was a serviceman

 6     for the U.S. military.         While on active duty in Iraq,

 7     he suffered injuries due to Iranian manufactured

 8     munitions.

 9                   This case has been filed before the

10     U.S. District Court for the District of Columbia,

11     styled Bottorff v.        The Islamic Republic of Iran, et

12     al.

13

14                   I'm Kyung Jae Han, located in Orange,

15     Virginia.     Today's date is 13th April 2021.            This is

16     a videotaped deposition with the deponent in Corona,

17     California.

18                                   SHAUN COOK,

19                   having first been duly sworn, was

20                   deposed, and testified as follows:

21                               EXAMINATION

22     BY MR. HAN:

23            Q      Mr. Cook, could you state your full name

24     and address for the record?

25            A      Shaun Michael Cook.         Shaun is with a "u"
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 283 of 358
                                                                          3


 1     S-H-A-U-N.     I'm in Corona, California,

 2                                           , Corona, C-O-R-O-N-A,

 3     California 92883.

 4            Q      Thank you, sir.         And what is your date of

 5     birth?

 6            A                          .

 7            Q      Thank you, sir.

 8                   Where did you get your high school

 9     education?

10            A      Troy High School in Fullerton,

11     California.

12            Q      And, sir, have you received any education

13     after that?

14            A      I have a bachelor's degree in business

15     with the University of Phoenix.

16            Q      Thank you, sir.

17                   Now, we will move on to detail your

18     military career.       When did you enter the military?

19            A      2002.

20            Q      So the Iraq war hasn't begun back then?

21            A      I went to the first stage of the war, the

22     first year in 2003.        I did 2005 and then 2007.           And I

23     got out shortly after that.            I did approximately six

24     years and four months in the Army and I was in Iraq

25     over three years of that time.
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                                                                           4


 1             Q     Yes, sir.

 2                   Did you expect to be deployed to Iraq

 3     when the war began?

 4             A     Not three times, not three times, no.

 5             Q     And what was the purpose of joining the

 6     Army?

 7             A     I was trying to take a different

 8     direction in my life, a different approach.               I tried

 9     to get in a whole new setting and a whole new

10     atmosphere and stuff and so I just kind of -- it was

11     a re-group.

12             Q     I admire that.

13                   And just to be sure.         You did three tours

14     of duty in Iraq?

15             A     2003; 2005 and 2007.

16             Q     Thank you for your service.

17                   Which branch were you in?

18             A     I was in the Army.        I drove a fuel truck.

19             Q     And what was your unit number?

20             A     I was with 92nd Engineers, Third ID and I

21     was with 2nd ID, Fort Carson, Colorado in the last

22     tour.

23             Q     What was your primary daily duty?

24             A     I would take a fuel truck around the camp

25     and I would fill up all the generators and all the --
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 285 of 358
                                                                          5


 1     the generators that ran all the TOCs (**I asked

 2     Steve**) and all the offices and all the generators.

 3     They're usually around about 7,000 gallons of diesel

 4     fuel a day on a camp like that.

 5            Q      What was your latest rank when you were

 6     leaving the Army?

 7            A      I was E5, Sergeant.

 8            Q      And when was the date you left the Army?

 9            A      I belive it was in April 2008.

10            Q      Yes.    It doesn't have to be exact or

11     complete because we can always corroborate with the

12     documentary evidence later on.           I'm just reminding

13     you of that.

14            A      I'm not real good with the perfect date.

15            Q      Yeah.     And what was the reason you left?

16            A      Three tours in Iraq was enough.            I was a

17     little shell shocked and when I came home my dad had

18     cancer and I decided to get out and I regret getting

19     out.   I wish I wouldn't have done it but -- yeah, in

20     my last tour in Iraq we got attacked 137 days out of

21     365.   It was about one out of every three days we

22     were taking incoming and it was quite a crazy year.

23     It was a very intense year.

24            Q      I'm sorry to hear that.

25                   So we will now discuss about the day of
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 286 of 358
                                                                           6


 1     explosion but I know that you are swept up in a total

 2     of three explosions; is that correct?

 3            A      I should say the last tour I was in we

 4     got attacked 137 days.         So I mean there were so many

 5     times and so many different explosions I could talk

 6     about.     So many different incidences I could talk

 7     about.     One out of every three days they were coming

 8     in.   I mean I would be in places where I would sit

 9     and hang out today, like where I would eat my lunch

10     and then I would come back out in the night and then

11     like I could get blown up right there, you know.               So

12     if I would have been there eating my lunch I would

13     have gotten killed but, you know, it happened in the

14     night time, so I didn't get killed but like

15     everywhere in the whole camp we had shrapnel in it

16     where they had gotten blown up, or blown up there.

17     And the roof got blown out here or the road was blown

18     up there.     It was -- there was some really big days

19     over there.      There was November 17th, 2007, that was

20     a very large day.       They actually shot over settling

21     tanks, over the wall and I even have the footage of

22     it from the camera.        And they're launching the

23     settling tanks, you know, like the welding tanks, the

24     big ones.     And those were loaded with C4 and ball

25     bearing.     And I still have a lot of nightmares till
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 287 of 358
                                                                          7


 1     this day.     All the windows shattered out in the base.

 2     The percussion was so big that every window in like

 3     the three story buildings and everything that was on

 4     the base, all the windows shattered at once.                 Imagine

 5     all the windows shattering around you right now.                 All

 6     at one time.      Everyone that you could see or you

 7     could think about in the distance, all the windows

 8     shattering at one time, the sound of all the glass

 9     shattering.      It's a very unique sound.

10            Q      Has any of those explosions involved a

11     remotely detonated explosive?

12            A      Were they remotely detonated?            Yeah, they

13     were done by phones from a distance.

14            Q      Which one was that or were there multiple

15     occasions of that?

16            A      There were multiple occasions.            It

17     happened on a weekly basis, you know.

18            Q      Has in any of those occasions -- have you

19     ever been inside an armored vehicle like a truck

20     Humvee?

21            A      Yes.    I drove inside the bomb squad truck

22     before and I rode around and basically -- then they

23     had some up-armored on a fuel truck, not a lot, but

24     some are up-armored on a fuel truck.

25            Q      Did that explosion -- have you had a
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 288 of 358
                                                                              8


 1     chance to go through what happened with the bomb

 2     squad or some explosive experts after that?

 3             A     No.

 4             Q     You've never heard any explanation?

 5             A     No.     I wasn't on the bomb squad.          I was

 6     just in a ride along.         I just went along for a ride

 7     with them and I was riding in the spot there and then

 8     -- and then I seen bombs go off in front of people,

 9     like, you know, the vehicle in front of me it would

10     take out the people in front of me, you know, and I

11     would see them lose their legs.            It seemed like, you

12     know, just split wide open from the EFP's because

13     they were coming in like molten lava.             It wasn't like

14     a bullet or like an explosion, like shrapnel.                  No, it

15     would come through the Humvees and stuff like molten

16     lava and it would just like burn them so bad and then

17     it would go out, it would go out the other side.                  It

18     would come like the size of a volleyball on one side

19     and go out the other side of the up-armor, on the

20     other side of the vehicle like the size of pencil

21     hole.

22             Q     Did the explosion come from the bottom or

23     the side?

24             A     Both.     I've had them come from both.

25             Q     Come from both.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 289 of 358
                                                                      9


 1                   And did you or anyone you know happen to

 2     inspect the vehicle after the explosion?

 3            A      Well there was a detail where you would

 4     have to go do -- where you would have to clean the

 5     Humvees out because when the dead bodies were in the

 6     Humvees and the doors got blown off of it, we still

 7     needed that Humvee because we couldn't get new

 8     Humvees out there, you know.           So we would have to

 9     repair the ones we had.         And there was a detail where

10     we would have to go pressure wash all the remains of

11     the people who got killed in the Humvee -- you would

12     have to wash it out and you had to pressure wash it

13     out and you know, get all the skin out of there and

14     stuff like that.

15            Q      Okay.

16                   So you were talking about the repairing

17     and re-using the Humvee.         What was the damage to the

18     vehicle look like?        Did it have a big puncture or the

19     vehicle completely got shattered?

20            A      Sometimes, you know, sometimes like I

21     said they would have holes like the size of a

22     volleyball or softball, it would go through the

23     up-armor and through the windows of the Humvee, they

24     had you know seven ply's of glass.            Seven windows

25     stacked on top of each other.           Some, you know, it
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 290 of 358
                                                                        10


 1     would crack the glass all open, like it would crack

 2     three or four layers, five layers of the glass.                I've

 3     seen it come in one side and go out the other, like

 4     it's the size of a volleyball or a softball on one

 5     side and then it would be like pencil holes on the

 6     other side where it went right through the whole

 7     truck and went completely through and out the other

 8     side.

 9             Q       Was that --

10             A       I've seen people lose their legs; I've

11     seen people lose their lives; I've seen some big

12     explosions.

13             Q       Was the vehicle armed?

14             A       Yeah.   They were up-armored.        I mean they

15     had steel doors.        It depends each year.        Each year I

16     went over it was different.          You know, 2003, it was a

17     different kind of up-armor than 2007, you know what I

18     mean?       In the four years they had come out with a lot

19     better armor.       So each year the armor got a little

20     better.

21                     But even with the up-armor, it would

22     still penetrate the vehicles.           The problem was that

23     when the bomb went off and I would see people when

24     the bomb would go off and it would break the tire --

25     the swing arm of the tire and blow out the tire,
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 291 of 358
                                                                      11


 1     right.     But, see, the problem was they would have the

 2     second bomb.      And nobody would want to get out of the

 3     vehicle to go help the people in front of you that

 4     got blown up with the first small bomb because when

 5     you got out and you go try to help the people out and

 6     see if they're okay, then they would let off the

 7     second bomb, that would be the really big one and

 8     that would kill everybody, you know.

 9            Q      You said you were cleaning up the

10     explosion sites and was there anything left in the

11     vehicle like the shards or residue that could have

12     come from the bomb?

13            A      That come from the bomb?

14            Q      Yes.

15            A      When I was -- I was about to say I wasn't

16     cleaning out the bomb sites, but I was cleaning the

17     Humvees and the vehicles that the soldiers died in.

18     We were cleaning out the blood and the skin out of

19     them and to try to, you know, clean out the seats out

20     of them and take out what we had to take out and then

21     we would replace it with parts to try to keep the

22     vehicle up and running.

23                   As far as the shrapnel and the residue of

24     the bombs, when the bombs came out in my third trip

25     in 2007, they would take all the fragments from the
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 292 of 358
                                                                         12


 1     mortars and the bombs and they would fingerprint all

 2     of it.     And when we'd be out we would catch these

 3     Iraqis and we would bring them in and if their

 4     fingerprints matched some of the fingerprints that

 5     they had for the mortar of the bombs, then they would

 6     actually like try to prosecute and actually like, you

 7     know, give more jail time for those guys.               And the

 8     ones that didn't come up with any match, then we

 9     would just keep them in the jail for like three

10     months, four months and then we would just let them

11     go.

12            Q      And was there any enemy combatants or

13     civilians who were thought to be suspects or were

14     (sic) there anyone caught associated with the

15     attacks?

16            A      There was civilians, more like Iraqis,

17     not really Americans.         But there were some civilians

18     who got hurt, you know, with their own.              Because a

19     lot of times there would people that would be in and

20     they would be like out-of-towners, you know, they

21     wouldn't be living in that town.            And they'd be out

22     there trying to attack the Army and stuff and there

23     would be innocent people that lived in that town that

24     were just, you know, like just trying to go about

25     their life and stuff and some of those people got
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 1     hurt and some people that were attacking us got hurt

 2     as well.

 3            Q      And has anyone linked any of the

 4     explosions you suffered from -- to a bomb called EFP

 5     or have you ever heard about the term EFP?

 6            A      It's the EFP -- what's the abbreviation

 7     -- it's explosive fragment projectile -- is that what

 8     it is?

 9            Q      Yes.

10            A      Yeah.

11            Q      It's the abbreviation of "explosively

12     formed penetrator."        It's exclusively designed by

13     Iran in most of the cases.

14            A      Yeah.     You know, after a while you see so

15     many bombs go off and, you know, first they tell you

16     it could be in a bike, it could be in a sheep, it

17     could be in a car, it could be in this and that.               And

18     after a while you see so many bombs go off, you just

19     -- I mean it's kind of like put on your headphones

20     and just try to ride, you just hope it wasn't your

21     time, you know.       But those bombs could be in

22     anything.     They could be in the ground, they could be

23     on a rock, they could be, you know, in a goat, dead

24     goat on the road or something.           It's hard to --

25     there's no rhyme nor reason.           It could be inside of a
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 294 of 358
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 1     bicycle, you know what I mean.           They did all kinds of

 2     crazy things.

 3            Q      I understand.

 4                   Then probably I will move on to the

 5     damages of bombs to persons, to you.

 6            A      I (indecipherable) you do understand, but

 7     thanks for trying to understand.

 8            Q      It's okay.      We can always revisit if we

 9     find anything important or interesting.

10                   So you were in many explosions and

11     obviously a lot of people including you but also your

12     colleagues would have been injured in these

13     explosions.      Could you just list some of the injuries

14     you suffered from any of those explosions?

15            A      I actually came out pretty -- physically,

16     like, actually taking any kind of shrapnel or

17     anything like that, I actually came out kind of

18     unscathed, like I can't believe how close I came so

19     many times to getting like really tooken (sic) out.

20                   But the mental part, the mental part is

21     just -- is just astounding.          What it's done for

22     mentally -- like when I go out in public and the way

23     I act out in public and somebody just makes little,

24     small like loud sounds, like somebody drops a book or

25     like slams the door or something I get real jumpy and
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 295 of 358
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 1     I will actually take cover and stuff like that.                And

 2     people will laugh at me and stuff, they think it's

 3     funny, you know, but it's not funny.             And just the

 4     things -- the way I go about doing my life, now it's

 5     gotten to the point where it's made me where I can't

 6     hold down a job.       I get very -- constantly scanning

 7     and always looking out for the enemy and stuff like

 8     that.       It just doesn't go away.       I wish it would go

 9     away but it doesn't, you know.           What's it called?

10     Constantly on ops, like high alert.             Like, right now,

11     I'm having problems because I always see the people

12     outside of my trailer where I'm sleeping, you know,

13     and so I can't get any sleep because I always think

14     the enemy is coming.        I'm always looking out the

15     window and always checking and checking and checking

16     and I can't stop checking.

17             Q       So you are as far as I understand

18     suffering from the PTSD.         And are you taking any

19     medicine or consultation to cope with the PTSD?

20             A       I got a lot of medications.         A lot of

21     them.       Nightmare medications and all kinds of like

22     mood medications.       They tried to get me all doped up

23     on -- doped because I was kind of like a zombie.

24     They think that's going to fix the problem, but it

25     doesn't.
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                                                                         16


 1            Q      Yeah.

 2                   You said it has affected your ability to

 3     hold a job and therefore it would have affected your

 4     income as well.

 5            A      They finally gave me 100% disability with

 6     the Army because I went through seven legit jobs in

 7     like ten years.       So, it's not that I'm not trying to

 8     work, I'm trying to work, you know.             They thanked me

 9     for my service going in, but then they start seeing

10     the side effects, and I start having nightmares and I

11     start being inconsistent in showing up to work.                 I'm

12     late or I come in tired and droggy**(as) because I've

13     had the nightmares all night and stuff and they start

14     letting me go because of my performance.              And then I

15     start getting upset because they, you know, I feel I

16     should get more respect than that and it turns into a

17     big deal.     It comes with a lot of emotions, a lot of

18     drama and then it turns into a real big deal.

19            Q      Have you ever been married or in a

20     relationship or had offspring?

21            A      I don't have any offspring, but when I

22     got back from the Army I did get married.               I was

23     married for -- I was with a girl for seven years and

24     we got married on our seven-year anniversary, and

25     then we got married and then 11 months later she
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                                                                      17


 1     didn't want to do it anymore.           After eight -- we

 2     almost made eight years, but we didn't quite make

 3     eight years.

 4            Q      Has PTSD ever affected your relationship?

 5            A      Several times.       I remember one time she

 6     asked me -- I used to sleep with a nine millimeter

 7     around my chest and she asked me if I could at least

 8     point the barrel the other way.            I said, Oh, I'm

 9     sorry, babe.      I mean, we always slept locked and

10     loaded and everybody had guns out there, you know,

11     and one time I got into an argument with my sister

12     one time and I was actually holding a gun and she

13     won't speak to me anymore.          She thinks that I was

14     going to kill her that day.          I wasn't going to kill

15     her.   I was just used to having a gun in my hand all

16     the time, you know.        If I didn't have a gun in my

17     hand I felt different, you know.

18                   Then I've had -- when the school district

19     fired me they gave me a restraining order because

20     they thought I was a threat, which is funny, I don't

21     want to see no blood shed.          I'm not trying to kill

22     anybody.     I've seen all that shit I didn't want to

23     see, you know.      I'd be the last person that's

24     actually going to go in there and start shooting the

25     school.    But, you know, I had guns and everything so
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 298 of 358
                                                                             18


 1     they gave me a restraining order.            So I gave my guns

 2     the first day right.        The first day I gave my guns

 3     and then -- but then within sundown, they said it

 4     makes them feel uncomfortable and then so they gave

 5     me a restraining order.         I said, That's fine.           I'll

 6     give them my guns right here today, I want them back

 7     and I don't want anybody to be scared, you know.                  And

 8     they took the guns and they smashed them in the

 9     police gun safe room and they never gave them back to

10     me.   They put me in jail for six days because I

11     forgot one gun in a doomsday-prepper bag.               I would

12     have never made a doomsday-prepper bag until I came

13     back from the Army but because of the Army I felt

14     this need to make a doomsday-prepper bag and I had it

15     in a storage container up in the hills.              I had a

16     little 22 inch rifle in there with a couple thousand

17     like -- more like 2000 rounds of bullets, you know,

18     to shoot some rabbits and stuff in case things went

19     to hell in a hand basket, right.

20                   And so when I turned in all my guns that

21     day I forgot about the gun that was up in that bag.

22     They came back like ten days later and they arrested

23     me for having the extra fire arm, which I totally

24     forgot about and when they came to get me for the

25     firearms, they never had a list of the firearms that
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 1     they were supposed to be picking up.             So I turned in

 2     all the guns that I thought I had, that I'd actually

 3     be shooting and they still took me in and gave me a

 4     5150 with a firearm and a 5150 with ammunition.                 I

 5     had to fight that court case for a year and half and

 6     now that stuff's on my record and I can't really get

 7     a date or -- 'cause they look at my profile, my

 8     background, they see all that stuff and nobody wants

 9     to be around me.          Nobody wants me to have me at their

10     workplace or nobody wants to date me or any of that

11     shit.       It's crazy.     It's very -- isolated.

12             Q       How about the other victims who were in

13     the explosion with you.          Are they suffering from

14     similar problems if you are in contact with any of

15     them?

16             A       I contacted a few of them, a couple of

17     friends I contacted but not too many from that last

18     year.       The last year got real heavy, the 2007.            And

19     yeah, they were a couple of guys, they still have a

20     lot of the nightmares and stuff.            And, you know, I

21     seen a guy get killed one time when he was eating

22     chow.       He was eating his dinner and he got shot

23     'cause an Army guy shot another Army on accident

24     while they were eating dinner.           I really have

25     nightmares of that one.          I have nightmares of a lot
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 300 of 358
                                                                        20


 1     of stuff.     So...

 2            Q      Can you recall the name of anyone who has

 3     been negatively affected like you?

 4            A      Who got affected like me?

 5            Q      Yeah.

 6            A      John Fugues (ph), Clement, Richtman (ph),

 7     Whitaker, four or five guys there.

 8            Q      You don't have to try hard if it's, you

 9     know, hard to remember.         It's okay.      This is not

10     really important.

11                   So before we move on to closing remarks,

12     I want to try a little more streamlined questions

13     about specific dates of explosion.            So we will pick

14     the one explosion that was most memorable to you.

15            A      November 17, 2007.

16            Q      November 17, 2007.        So I will ask various

17     --

18            A      At Camp Rustamiyah.         **correct spelling**

19            Q      Yes.

20            A      Rustamiyah. **I looked it up**

21            Q      I will ask a little more specific

22     questions regarding that date specifically.

23            A      I'll send you the link.          You can look at

24     the footage yourself.

25            Q      Yes.    But also I would like to get
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                                                                      21


 1     certain details that might not be in the footage.

 2     Because what we're trying to get at is not only how

 3     the explosion happened, but the explosion having a

 4     characteristic of the bomb that we're specifically

 5     talking about here.

 6                   So, November 17, 2007, what was the

 7     weather like that that day?

 8            A      It was kind of cool, a little overcast.

 9     I was walking to go to do the fuel point in the

10     morning, I had to work like that fuel gas station on

11     the base that day.        I was walking in the morning, it

12     was early in the morning, I was walking to go get

13     chow and the bombs went off and the percussion

14     knocked me to my knees.         I remember falling on my

15     knees and seeing all the small pebbles and all the

16     rocks lifting up off the ground because it knocked

17     the wind out of me, I had to catch my breath.

18            Q      So you were walking to a certain point?

19            A      I was walking to go get food.            I was

20     walking to go get food from chow hall before I had to

21     go the gas station.        I worked the gas station all

22     day.   It was like 5:30 or 6:30 in the morning.

23            Q      Did that explosion involve any vehicle

24     destroyed?

25            A      It launched outside of the -- outside of
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 302 of 358
                                                                         22


 1     the base there and it came in like there were

 2     settling tanks and they had rockets welded on to them

 3     and they launched out of a large dump truck and, yes,

 4     when it landed, I mean, it tore vehicles on the base,

 5     you know.     It tore several vehicles.

 6            Q      And were those trucks damaged just like

 7     you explained in the more general explanation before?

 8            A      Tires, windows, and all kinds of mirrors.

 9     All kinds of stuff were getting damaged.              Sometimes

10     they weren't as bad as the ones that were right next

11     to the bombs, but we would change tires on vehicles

12     all the time.      Were we changing tires and sometimes

13     they didn't have the little rubber things, they

14     hadn't even wore off 'em yet.           We had to go back and

15     re-change them again 'cause the bombs are coming in

16     that night and (inaudible) on the tires that we put

17     on that day.      And we had stacks of used tires like

18     crazy or tires that you couldn't -- that were

19     dysfunctional, you know.         They got holes in the side

20     of them.     There were so many of them, a football

21     field full of 'em.

22            Q      Was that from a remotely detonated

23     device?

24            A      I'm not quite sure how that bomb was

25     detonated.     (Indecipherable.)        Like I said I have the
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                                                                        23


 1     footage, I can send you the footage.

 2            Q      Okay.

 3                   And were there enemy combatants nearby or

 4     anyone near?

 5            A      No.     That time I was kind of alone 'cause

 6     I was walking to the chow hall.            I was in the bunker

 7     by myself.     And I remember it had like three or four

 8     explosives went off that day and each of them -- they

 9     rocked so hard it just knocked the wind right out of

10     your chest, you know.         The pressure was so strong it

11     made you have to like huh, huh, huh **(witness

12     catching breath**).        You would try to get catch your

13     breath.    It would just knock the wind right out of

14     you.

15            Q      Did other people clear the area after the

16     explosion to see who did it or how it was --

17            A      No.     We didn't clear the area.         We stayed

18     on that camp.       There was nowhere to go.         They just

19     went and the helicopters came that day and then they

20     took out the truck that had the bombs in it and we

21     just went back to business as normal.             It was just

22     kind of like dust off your hands and back to work

23     like nothing happened.

24            Q      And did the people who came later to

25     clear the area, did they tell you about the details
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 304 of 358
                                                                            24


 1     of the explosion or did they just leave?

 2            A      No details.      Nobody came to clean it,

 3     they just blew it up with a helicopter.              They blew it

 4     up with a helicopter and that was it.             There was no

 5     cleaning up the area.

 6            Q      Okay.

 7                   Lastly, did you receive any honor or

 8     medal due to the sacrifices you made?

 9            A      I have two ARCOM's and certificates of

10     achievement and some awards, yeah, I have some

11     awards.

12            Q      Okay.

13            A      Just look at my DD214.          It shows you all

14     the awards I got.       Driver's badge.

15            Q      I'd like to get the footage of the

16     explosion as you said.         That would be really helpful,

17     especially if it's related to EFP's.             That we will

18     have to determine.

19                   Other than that would there be anything

20     you want to add for the court, juries, public or

21     lawyers in case this case moves forward?

22            A      I provide the blanket of freedom you

23     sleep under every night.         The problem is that when

24     people wake up in the morning they forget it.                  The

25     side effects of the mental -- the scenes it's
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 305 of 358
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 1     unbearable with me.        It caused me to not have

 2     relationship, it's cost me jobs, it's caused me to

 3     lose family members, it's caused me to be isolated.

 4     I'm very confused after giving all that dedication.

 5     And people say because I'm not limping or don't have

 6     a big giant scar on me, they think that I'm not --

 7     that I'm not injured or not wounded and the mental

 8     wound is so hard because it's non-seeable, you know,

 9     it's unrecognizable, which makes it even that much

10     more confusing and stuff.

11                   And any time I try to explain people they

12     start to figure out, Oh this guy's really a basket

13     case, you know.       And then they don't want to be

14     around me either.       I've gone through so much

15     rejection and right now I'm in the process of getting

16     evicted from where I live.          They don't want me --

17     because I make them feel uncomfortable and then I

18     have to go find somewhere else to live, but they

19     don't realize how many times I've been rejected or

20     evicted or revoked in the last -- since 2008 -- it's

21     amazing and the war feels like it was just like

22     yesterday.     It doesn't feel like it was a long time

23     ago; it feels like it just happened a year or two ago

24     and it's probably been 12 years now, right?

25                   So I'll send you the link.           I have a
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 1     bunch of it, like home footage of the war that day.

 2     A bunch of footage of different clips 'cause there

 3     was also some footage of some females that were

 4     posing in the nude over there and they would tell

 5     these females, Don't pose nude and send these home to

 6     your boyfriend 'cause the guy is going to find them

 7     on the internet.       And they would find them on the

 8     internet, of course, and then they would go around

 9     the camp, they would spread -- you know, from one

10     soldier to another soldier, one thumb drive to

11     another thumb drive, you know.           So when I send you

12     those things, the link there, and one of the three

13     files, one of the files is of all of the females.              Do

14     not send those pictures out to anybody or post them

15     up anywhere else.       Those are actually pictures of

16     females that are actually real heroes, you know, they

17     were just trying to keep their boyfriend intrigued,

18     trying to keep them interested while they were gone

19     fighting the war.       It would be very disrespectful to

20     do anything with those photos.

21                   The footage I got from November 17th is a

22     classified photo so I can't answer any questions how

23     I got that, but you'll just see a lot of crazy stuff

24     when you watch -- you'll get more of a better

25     understanding of the real deal.
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                                                                       27


 1            Q      Regarding the videos or since

 2     attorney-client still extends to you it won't be

 3     displayed anywhere, for our eyes only, unless you

 4     approve for it to be used for (inaudible.)               That

 5     would be the case.

 6                   (End of video.)

 7                   (Whereupon, the deposition of

 8                   SHAUN COOK was concluded.)

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Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 308 of 358
                                                                      28


 1                   DISTRICT OF COLUMBIA AT LARGE:

 2

 3                  I, Leslie A. Todd, Notary Public in

 4     and for the District of Columbia, do hereby certify

 5     that the foregoing videotaped deposition was provided

 6     to me by counsel for the Plaintiff in this matter.

 7                  I do further certify that the deposition was

 8     transcribed by me and is, to the best of my knowledge

 9     and ability, an accurate and correct record of the

10     deposition.

11                  I hereby certify that I am neither an

12     attorney for any party, nor am I related to any party

13     connected with this action, nor am I financially

14     interested in this action.

15                  Given under my hand and seal this 30th day

16     of May 2021.

17

18

19

20

21                                   __________________________
                                     Leslie Todd, Notary Public
22                                   District of Columbia

23                                   My Commission Expires:
                                     February 29, 2024
24

25
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        Exhibit 14
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                                                                      1


                         UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF COLUMBIA



       --------------------------------x

       DANIEL BOTTORFF, et al.,                 ) Civil Action No.

                         Plaintiffs,            ) 18-3122 (CKK)

            v.                                  )

       THE ISLAMIC REPUBLIC OF IRAN,            )

                         Defendant.             )

       --------------------------------x




                    REMOTE VIDEOTAPED DEPOSITION ON

                             ORAL EXAMINATION OF

                               FRIEDA C. NICOLE

                                 APRIL 9, 2021




       Transcribed by:
       Leslie A. Todd, CSR No 5129 and RPR
       Valley Center, California 92082
       (202) 413-2733
       Leslieatodd2001@yahoo.com
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                                                                       2


 1                       P R O C E E D I N G S

 2                          ------------------

 3                   MR. HODGE:      I am recording now.        The time

 4     is 2:03 p.m.      This is the videotaped deposition of

 5     Ms. Nicole Frieda, who was a servicewoman for the

 6     U.S. military.       While on active duty in Iraq, Nicole

 7     suffered injuries from Iranian manufactured

 8     munitions.

 9                   This case has been filed before the

10     U.S. District Court for the District of Columbia,

11     styled Bottorff, et al., v. The Islamic Republic of

12     Iran.

13                   I am Shayne Hodge, an attorney with the

14     Miller Firm, LLC.       And I'm located in Orange,

15     Virginia.

16                   Today's date is April 9, 2021.

17                             FRIEDA C. NICOLE,

18                   having first been duly sworn, was

19                   deposed, and testified as follows:

20                                EXAMINATION

21     BY MR. HODGE:

22             Q     So, for the record, can you state your

23     full name?

24             A     Yes.    It's Frieda Catherine Nicole.

25             Q     And are you a citizen of the United
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                                                                      3


 1     States of America?

 2            A      Yes.

 3            Q      Can you tell me your address?

 4            A                               , San Antonio, Texas

 5     78252.

 6            Q      Can you tell me your date of birth?

 7            A

 8            Q      Okay.     Are you married?

 9            A      No.

10            Q      Okay.     Do you have any siblings?

11            A      Yes, one.

12            Q      Okay.     What is his or her name?

13            A      That's a Derrick Taylor.          He's my half

14     brother.

15            Q      Okay.     Were you ever married?

16            A      Yes.

17            Q      Okay.     What was the name of your former

18     spouse?

19            A      The first spouse was James Moorefield

20     (ph), and then my last spouse was Douglas Nicole.

21            Q      Did you get divorced or what happened?

22            A      Yes, we divorced.

23            Q      Can you tell me where you went to high

24     school?

25            A      Scottsdale High School in Arizona.
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 1             Q     Okay.     And when did you enter the

 2     military?

 3             A     Well, I worked for DLI, Defense Language

 4     Institute, of the Air Force in -- I started in 2007,

 5     and that was in September.

 6             Q     So why did you decide to do that?

 7             A     Well, I had finished my master's degree

 8     in foreign languages and ESL, and I wanted to work

 9     for the U.S. government, and that's why I chose it.

10             Q     Were you there in an official capacity

11     with the military or as -- just working for the

12     government?

13             A     Well, I retired in 2010, and the State

14     Department contacted me about doing the same thing I

15     had done in the Air Force, in Iraq, with a

16     corporation called DynCorp International.

17             Q     So what date did you go over there into

18     Iraq to do that job?

19             A     January, I think it was, 3rd or 4th,

20     2011.

21             Q     So you were aware -- so the Iraq war had

22     already started, and you knew what was going on?

23             A     Yes.

24             Q     And how long were you there for?

25             A     Well, I signed a contract for 12 months,
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                                                                         5


 1     but we were -- the troops were withdrawn early.                So I

 2     was there until, I think it was, July 29th, or

 3     something close to that.

 4             Q     Okay.     And can you tell me when you

 5     actually left that position?

 6             A     It would have been about July 25th or

 7     26th.

 8             Q     Of which year?

 9             A     2011.

10             Q     Okay.     And where do you work now?

11             A     Right now I'm retired.

12             Q     Okay.     What did you do before your

13     retirement?      Was it the last engagement in Iraq?

14             A     Yes.

15             Q     Okay.     All right.

16                   So, now I'll move forward and ask you

17     some questions about that, the IED attack you

18     experienced.

19                   Can you walk us through some of the

20     details that occurred leading up to that attack?

21             A     Yes.    I had been on leave for a couple of

22     weeks, and I had just returned to Iraq, and there was

23     a freeze on all transport because there was a

24     heightened security alert on all the bases in Iraq.

25     And when I returned, I came, and I was billeted at a
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                                                                        6


 1     Victory Base, which is one of the big bases where

 2     they have transient housing and tents until you can

 3     go out to your FOB.        So when I first arrived, there

 4     was no transportation to a FOB or anything, so I was

 5     assigned to a tent with one other person, a lady.

 6     And --

 7            Q      I just want to interrupt just so the

 8     judge understands.

 9            A      Yeah.

10            Q      Could you explain what a FOB is?

11            A      Sure.     FOB means Forward Operating Base.

12     The FOB that I was permanently assigned to was

13     Union 3.     That base was directly across from the U.S.

14     Embassy in the IZ.

15            Q      And so what happened next?

16            A      We -- this lady and I -- we went to our

17     tent, and it was after dark.           I can't exactly

18     remember what time.        And we were the only two in this

19     tent, so we were able to turn the lights off, which

20     was a big treat there.         So we -- I had put my body

21     armor on the ground next to my cot and shed my helmet

22     and so forth.      And then later that night, and I'm

23     thinking it might have been closer to midnight, there

24     was an incoming warning over the big voice.               And when

25     you hear that, you hit the floor as fast as you can.
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 1     And at that point there was a series of explosions,

 2     sounds of rockets flying overhead.            And it continued

 3     for a quite a while, probably 45 minutes to an hour,

 4     off and on.      And we remained on the floor.           But when

 5     I hit the floor, I also hit my face on my helmet, and

 6     injured my leg and ankle again, which I had injured

 7     before in Iraq.       And we waited this out but we could

 8     feel or hear the sound of shrapnel hitting the tents

 9     and the gravel outside the tents.            We could see the

10     explosions.      We believed we heard a vehicle explode,

11     although I'm not sure about that.            And finally, you

12     know, when everything was all clear, they announced,

13     All clear.     But there was another attack later that

14     night, probably about three or four in the morning,

15     and -- excuse me -- we could hear again the same type

16     of explosions outside.         Though that lasted a shorter

17     time, I think maybe ten minutes maybe at the most,

18     but it was pretty intense.

19            Q      Okay.     And when you say, you categorized

20     two different attacks, were you injured in the second

21     attack, or was it primarily in the first attack?

22            A      I believe it was mostly in the first

23     attack.    But I will be honest with you, I didn't even

24     know I had split my lip and chipped my tooth and so

25     forth until later after the second attack.               So I
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 317 of 358
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 1     think it was in the first attack but I didn't even

 2     realize it.      It was pretty intense until after the

 3     second one.

 4            Q      All right.      And can you describe the

 5     location where this attack took place?

 6            A      Yes.    There's a -- it's called Tent City,

 7     but I'm not sure -- I don't think that's the official

 8     name for it, but it's a huge area that people stay in

 9     while they're being, you know, sort of, held there

10     until they're sent out to their FOBs, wherever they

11     are in Iraq.      There's probably hundreds of tents.

12     And it's close to the Morale and Welfare Center.                     And

13     it's close to the BX and DFAC, dining center.                  I'm

14     not exactly sure of the distance, because I had only

15     been there a few times.         But it was in the, I

16     believe, the center of this base.

17            Q      And this was the attack in July of 2011,

18     correct?

19            A      Yes, sir.

20            Q      Do you remember the date exactly?

21            A      It was about a week before I left.

22            Q      Okay.     Understood.

23                   So both of you were in a stationary

24     position when this explosion occurred?

25            A      Yes, we were.
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 1            Q      Did you -- can you describe kind of the

 2     explosion?

 3            A      Well, the first thing after hearing the

 4     announcement of incoming is I heard an overhead

 5     whistling noise, which I had heard before when under

 6     attack, and I think had to be some type of like

 7     Katyusha or something.         Later I was told it was a

 8     Katyusha, but I don't know.          And then there was an

 9     explosion.     It was fairly close, which was unnerving,

10     because it kicked up all this gravel and so forth and

11     hit the tents.      And then the second thing that I

12     heard was a different type of explosion, and what I

13     found out later was that there was a vehicle, and I'm

14     not sure if it was a military vehicle or it belonged

15     to, you know, some of the other vendors in that area,

16     but that it had exploded near the Morale and Welfare

17     Center, and that was a -- kinda of a thudding and

18     then a loud banging noise, really loud.

19            Q      Right.

20            A      Also I found out later that there were

21     IEDs that were reported to have been run over, near

22     that area, and there's also a few rockets that had

23     actually landed.

24            Q      Did anyone tell you that some of the

25     explosions that injured you were the result of an
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 319 of 358
                                                                            10


 1     IED?

 2                   Can you hear me, miss?

 3            A      Yeah, I hear you now.

 4            Q      Okay.     Let me repeat the question:            Did

 5     anyone tell you that those explosions that you

 6     experienced and that resulted in your injuries, that

 7     they were the result of an IED?

 8            A      One person told me that it was an IED for

 9     the vehicle.

10            Q      Okay.

11            A      That it had run over an IED and it had

12     exploded.

13            Q      And that explosion basically is what you

14     experienced?

15            A      Yes.

16            Q      Okay.     Did anyone tell you what type of

17     IED, if it was an EFP?

18            A      I'm sorry, they did not.

19            Q      Okay.     Could you, you know, describe how

20     -- did you get to see the vehicle?

21            A      Yeah, I saw a part of it.

22            Q      Okay.

23            A      When we got up, we left the building or

24     the tent early in the morning to go eat something,

25     and I saw pieces of a bumper and a tire that was
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 320 of 358
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 1     shredded, and I think there were some car parts

 2     laying around.      But I didn't see the full vehicle.

 3            Q      Did it look like it had a hole in the

 4     side of the vehicle?

 5            A      Well, the part that I saw was actually

 6     not the side of the vehicle, it was mostly like the

 7     underparts.      There was what looked like a drive shaft

 8     or something like that, exploded tire, and a -- some

 9     type of a guard around the bottom of the vehicle,

10     pieces were laying around, and I'm assuming somebody

11     cleared it.      I don't know.

12            Q      Okay.     One second.     Was so -- would you

13     say that the vehicle was disabled?

14            A      Oh, I'm positive.        Probably totally

15     destroyed.

16            Q      Do you know if anyone who was driving the

17     vehicle or who were being driven in the vehicle was

18     injured?

19            A      No, I wasn't told that at all.            Part of

20     the problem was -- getting around on that base at

21     that particular time, we were limited in that.                 We

22     were supposed to just pretty much stay in our tent or

23     go get something to eat.         And it was when I went to

24     go get something to eat that morning that one of the

25     soldiers told me about that, the attack.              But we were
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 321 of 358
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 1     kept pretty much stationary.

 2             Q       So as you stated, there was one attack

 3     and then the second attack.          During that second

 4     attack, you didn't suffer any injuries at all; is

 5     that correct?

 6             A       No.     I don't think so.

 7             Q       Okay.     Do you recall the amount of enemy

 8     combatants that were in the area at the time?

 9             A       No.     I wasn't able to see anybody.

10             Q       During that first explosion and when you

11     were injured, what did you do after that explosion?

12             A       Well, afterwards, we kinda checked each

13     other out because that's when I discovered, you know,

14     that my face was kinda bloodied up, and I looked at

15     my roommate over, so to speak, to see if she was

16     okay.       We both were pretty shaken.

17                     Then I found it really difficult to stand

18     up because I had already injured my ankle previously

19     on my FOB, so it was really painful and I couldn't

20     stand up for awhile.         I had to lay back down.

21             Q       Did you experience any shrapnel during

22     that time?

23             A       Well, that hit the tent.        We saw that in

24     the morning when it was light.           And there was gravel

25     that had hit it, it had kicked up a lot of that,
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 322 of 358
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 1     there was some pieces of little fragments of shredded

 2     metal laying outside the tent and I think they hit

 3     too.

 4            Q      Okay.

 5            A      But I'm not positive, but I think they

 6     did.

 7            Q      And so let's -- as best as we can -- go

 8     back to that vehicle, do you remember what type of

 9     vehicle it was?

10            A      No.     I couldn't make out anything about

11     the type.     There wasn't much there.

12            Q      Okay.     From what you saw, was the

13     passenger seat or anything like that still in any --

14     good shape or ...

15            A      Actually, no, 'cause all I saw was these

16     parts, mostly parts of the vehicle, like, you know --

17            Q      Oh.     So it was really almost blown apart.

18            A      Yeah.

19            Q      Okay.

20            A      There was definitely -- it had been blown

21     up pretty bad.      Excuse me, but I don't know if they

22     towed out the vehicle when I saw it or if there

23     wasn't anything left.         But there wasn't much in the

24     way of big parts either that I saw.             They were fairly

25     small.     So I assume the explosion was a pretty big
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 1     one.

 2            Q      Do you name of the individual who told

 3     you it was an IED?

 4            A      No.     I'm sorry.

 5            Q      I understand.        That's fine.

 6            A      It was just some guy at the DFAC.

 7            Q      Understood.

 8                   What was the name of the lady who was

 9     with you during this event?

10            A      I'd have to look that up and get back to

11     you.

12            Q      Okay.

13            A      But I do have her name.          It's just that I

14     don't have it right here.

15            Q      Have you been in contact with her at any

16     point?

17            A      No, I haven't.        She was working at the

18     same FOB I was, but she was working in a totally

19     different area.       But I did get her name and phone

20     number, that kind of thing, before I left Iraq.

21            Q      Okay.     Understood.

22                   Just about your position, in general, did

23     you have an official rank or anything like that, or

24     was it just strictly in a civilian basis?

25            A      At this point it would be civilian.
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                                                                         15


 1            Q      Okay.     I understand.

 2                   Could you talk about your injuries?              Were

 3     any of them long-term?

 4            A      Yeah.     Actually, I had this very painful

 5     ankle injury that I received several months before in

 6     May, and this exacerbated that particular injury, and

 7     I was in a lot of pain.         And eventually what happened

 8     is when I returned to the United States, I had to get

 9     the ankle replaced, and it turned out also that my

10     right achilles tendon, and I don't know when this

11     happened, I just know that it was very painful, and

12     -- when I came back, they sort of just kept

13     indicating that I just had arthritis or something,

14     but after almost a year, when they did an MRI, they

15     discovered that three quarters of the achilles tendon

16     had been sheared off.         And I had to have a tendon

17     replacement in my right foot.

18            Q      Let's go back a little bit and talk about

19     what you did directly after all the attacks took

20     place.     Did you go and get medical treatment,

21     official medical treatment?

22            A      I didn't because we couldn't get around

23     the base.     All of the transportation had been

24     completely stopped.

25            Q      Right.     So when did you -- when were you
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                                                                          16


 1     able to seek medical treatment?

 2            A      It was two days later when I finally got

 3     back to my FOB.       I was just lucky to be able to get

 4     back because she was able to score a ride that wasn't

 5     official.     But I got back and then I went to the

 6     med-shed or the medical personnel and saw them

 7     briefly.

 8            Q      Was she injured in any way?

 9                   I think we've -- the video is stuck once

10     again.     Ms. Frieda, can you hear me?

11            A      Yes.    Can you hear -- did you hear that?

12            Q      Yeah.     So I was asking if -- and if you

13     don't mind, could you give me the name of your

14     companion who was with you?

15            A      Her first name (inaudible.)

16            Q      Hold on one second, Ms. Frieda.            I can't

17     hear you.     Just give me a second.

18                   Let's see -- how about you try again.

19            A      I still can't hear you, sir.

20            Q      Yeah.

21            A      Okay.

22            Q      That's a bit better.

23                   Yeah, could you give us her name again,

24     if you can?

25            A      The first name was Barbara, and I would
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 1     have to look at the document.            And I got the document

 2     because we had both been in this together, and when I

 3     found out I couldn't get any medical, real care

 4     there, because it was at the end of withdrawing, I

 5     wanted her to explain this situation in a letter

 6     so that I could present it to DynCorp later, and

 7     that's the letter I have.            It's someplace in my file.

 8             Q       Okay.     Perfect.    And we may need to see a

 9     copy of that at some point.            Okay?

10             A       Sure.     No problem.

11             Q       So tell me a little else about -- did

12     anyone tell you any more information about that

13     attack afterwards?

14             A       No.     Except the only thing that I heard

15     was that quite a few bases (inaudible.)

16                     MR. HODGE:     Hold on, Ms. Frieda.        It

17     looks like we may have a bad connection.              Ms. Frieda,

18     one second.         We may have a bad connection.

19                     THE WITNESS:     Yeah.

20                     MR. HODGE:     Could you repeat that again

21     and make sure you're not clicking anything while you

22     talk.       Okay?    Can you hear me?     Hello.    Are you able

23     to hear me?

24                     THE WITNESS:     Yeah.    I've got the audio

25     now.    Thank you.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 327 of 358
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 1                   MR. HODGE:      Okay.    All right.      How about

 2     you go ahead again.

 3            Q      Basically, I was just asking you to tell

 4     me if anyone else told you anything more about the

 5     attack.

 6            A      The only thing that I heard when I

 7     finally got back to my FOB was that, you know, it had

 8     been widespread, that they had planted bombs on some

 9     of the roads, IEDs.        There was -- one of the Fijians

10     that was a bodyguard at the time was killed in one of

11     those attacks.      I think it was on the Irish Road, but

12     I'm not sure.      But apparently they had manufactured a

13     number of different attacks in difficult parts of the

14     bases in Baghdad.       And the only thing I was told was

15     that there was a convoy that I used to take quite

16     frequently out of my base with and MRAP and so forth,

17     and apparently somebody internally had planted a

18     camera to take pictures of the convoys' times,

19     'cause they're very -- they're not the same time all

20     the time, for security reasons, but they had some

21     kind of camera implanted in a T-wall to record the

22     movements of the different bases or FOBs in the IZ,

23     and that resulted in the one that was blown up.

24                   So I know there were a number of IED

25     attacks in other parts of that base as well, but I
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 1     don't know all the details.

 2            Q      Do you have any -- with regards to your

 3     medical issues, do you have any ongoing issues

 4     currently?

 5            A      Just what I have is chronic pain.                I'm

 6     under the treatment of a pain clinic, because it's --

 7     the ankle replacement didn't go very well, so it's

 8     really painful to walk a lot.

 9            Q      What medicines are you on currently?

10            A      Vicodin right now.        And that's it.

11            Q      When did you -- was this something that

12     you were prescribed immediately after your injury, or

13     was this something when you came back to the United

14     States you were prescribed?

15            A      When I came back, because they had pretty

16     much slowed almost to a crawl what they could do for

17     us at the med-sheds because of the quick withdrawal

18     orders that we had.

19            Q      Have you had any cognitive issues since

20     that attack?

21                   UNIDENTIFIED SPEAKER:         Yeah.

22            A      Yeah, I have.       That's my son in the

23     background.

24                   Yeah.     There's times I have -- well, my

25     short term memory at times could be better.               Also
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                                                                         20


 1     ironically where I have had my home before and now is

 2     right next to a bomb range.

 3            Q      Right.

 4            A      So we hear explosions a lot, and it's

 5     very -- it makes me quite anxious when that happens.

 6     Even though I know what's going on, it's scary.                 And

 7     when I got back, I suffered, I think, from a lot of

 8     depression.      I'm still on Zoloft for depression.             It

 9     was -- it was very frustrating and still kind of

10     frightening.

11            Q      Have you ever been diagnosed with PTSD?

12            A      No, I haven't.

13            Q      Can you tell us -- tell the judge how

14     these injuries and these issues you've had after the

15     attack have affected your everyday life.

16            A      The first major effect I guess was my

17     mobility issues.       I was not able to walk very far at

18     all, and that was very frustrating.             That was

19     difficult to take care of my home, my yard, look for

20     another job, do any of those things.             And then there

21     were times when I couldn't even walk to the bathroom.

22     And then when I had these surgeries to replace the

23     ankle and to reattach the achilles tendon, I was

24     bedridden for -- off and on for almost a year.                 I had

25     to use an electric wheelchair, which is very
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 330 of 358
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 1     frustrating and kind of demeaning.            I had to have --

 2     I had to hire myself a housekeeper to, you know, take

 3     care of some of the necessities around the house.

 4                   Excuse me.      And then once that was --

 5     once I finally had the surgeries done, I was able to

 6     go to a pain clinic, and they had to put a -- oh,

 7     what's the name of this thing?           It's a spinal

 8     stimulator in my back, surgically implant it, so that

 9     it would block a lot of the pain sensations from my

10     feet and legs.      And that in combination with using

11     Vicodin three time a day, I've been able to at least

12     be mobile.     But I haven't really been able

13     (inaudible.)

14                   MR. HODGE:      One second, Ms. Frieda.

15     Ms. Frieda.      The audio is gone again.         One second.

16     Could you check your audio?          Just one second.          There

17     you go.

18                   THE WITNESS:       Yeah.    There we go.

19                   MR. HODGE:      Go right ahead.

20                   THE WITNESS:       Okay.    So mostly -- mostly

21     it's just been -- it's been very depressing.               I've

22     always been active all my life.            I've always worked.

23     I've had a hard time adjusting to that.              And, you

24     know, I've had to spend a lot of money on things to

25     assist me to walk and like a power scooter at times.
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 1     You know, modify some of the things in my house.

 2     Like I had to get a walk-in shower 'cause I couldn't

 3     get into a tub.       I had to do all (inaudible.)

 4                   MR. HODGE:      One second again, Ms. Frieda.

 5     One second.      Again, the audio is -- Ms. Frieda.            The

 6     audio has gone again.         So just make sure that that

 7     audio is on, on this side.          Can you hear me?

 8                   THE WITNESS:       I can now.

 9                   MR. HODGE:      Go ahead.     And make sure

10     just -- you know, don't touch the keyboard or

11     anything.     Okay?

12                   THE WITNESS:       Oh, yeah, I haven't touched

13     anything.

14                   MR. HODGE:      Okay.     It's just going in and

15     out.   All right.      Continue.

16                   THE WITNESS:       And, you know, that's

17     precisely the problems that I've had.             Actually, I

18     wanted to be able to return and do my job, the type

19     of job that I was doing, perhaps in Afghanistan or

20     whatever.

21                   MR. HODGE:      Mm-hmm.

22                   THE WITNESS:       But I wasn't able to, you

23     know, even entertain the thought anymore.

24     BY MR. HODGE:

25            Q      About that job, could you just describe
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 1     to the judge what it was you were doing out there in

 2     Iraq?

 3             A       Yes.   Well before -- before I went to

 4     that job, I was an ESL trainer at Lackland Air Force

 5     Base where the Defense Language Institute is located,

 6     and the majority of my students were from the Middle

 7     East.       And we would be training them in ESL and then

 8     specialized topics so that they could fly F-16's or

 9     be air traffic controllers or mechanics or so forth.

10     So when I went to Iraq, I was asked to continue those

11     skills there on site.         And I worked with a group of

12     pilots in Iraq that I was training in English, also

13     in special topics and special vocabulary and

14     communication skills, so that they could work both

15     with American troops and with the NATO contingency

16     that was there.

17             Q       Do you recall any individual at the time

18     of those incidents mentioning anything about EFPs or

19     IEDs being used in attacks during that time period

20     you were there?

21             A       Well, the one soldier that I encountered

22     in the DFAC said it was an IED, and that's all he

23     said.       He didn't go into any more details.          But he

24     said it was an IED that exploded that vehicle.

25                     So that's all I know about that.
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 333 of 358
                                                                            24


 1            Q      All right.

 2            A      He didn't get specific about types or

 3     anything.

 4            Q      All right.      And before I stop this

 5     deposition, is there anything that I have not asked

 6     that you would like to tell the judge?

 7            A      The only thing that I know about this

 8     attack is that it was very close to an area around

 9     the BX or the major area where people buy things.

10     Behind that area is a manmade artificial hill, and

11     that was fairly close to where we were located.

12     Inside that hill there were the communication center,

13     and it was built under that earth in order to protect

14     it.   And I was told that's what they were trying to

15     get at.     They were tying to explode things or cause

16     an interruption in that communication station.                 But

17     that's the only other thing I know about it.

18            Q      Did they ever -- were you ever able to

19     identify who exactly the combatants were?

20            A      No.    We were just told most likely Al

21     Qaeda.     But they didn't give any specifics.

22            Q      How long did this entire attack last for?

23     How many days or ...

24            A      Well, it had started before I arrived, so

25     I'm not sure exactly how far before.             I think at
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 334 of 358
                                                                          25


 1     least two days.       And then it continued.         We were on

 2     restricted movement for another three or four days or

 3     maybe five days.       No, three is more accurate, after I

 4     arrived in Baghdad, and they had, you know, literally

 5     shut down all transportation.           So it lasted, I pretty

 6     much guess, close to a week of intense attacks all

 7     over the Baghdad area.         All the different FOB's and

 8     so forth.

 9                   MR. HODGE:      I don't have any more

10     questions for you.        Thank you for participating.         I

11     will be ending this deposition now.

12                   Please stay on, but I'm just officially

13     ending this recording.         The time is 2:34 p.m., and

14     I'm stopping this deposition.

15                    (Whereupon, the deposition of

16                    FRIEDA C. NICOLE was concluded.)

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                                                                      26


 1                    DISTRICT OF COLUMBIA AT LARGE:

 2

 3                  I, Leslie A. Todd, Notary Public in

 4     and for the District of Columbia, do hereby certify

 5     that the foregoing videotaped deposition was provided

 6     to me by counsel for the Plaintiff in this matter.

 7                  I do further certify that the deposition was

 8     transcribed by me and is, to the best of my knowledge

 9     and ability, an accurate and correct record of the

10     deposition.

11                  I hereby certify that I am neither an

12     attorney for any party, nor am I related to any party

13     connected with this action, nor am I financially

14     interested in this action.

15                  Given under my hand and seal this 30th day

16     of April 2021.

17

18

19

20

21                                   __________________________
                                     Leslie Todd, Notary Public
22                                   District of Columbia

23                                   My Commission Expires:
                                     February 29, 2024
24

25
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        Exhibit 15
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                                                                      1


                         UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF COLUMBIA



       --------------------------------x

       BOTTORFF, et al.,                        ) Civil Action No.

                         Plaintiff,             ) 18-3122 (CKK)

            v.                                  )

       THE ISLAMIC REPUBLIC OF IRAN,            )

                         Defendant.             )

       --------------------------------x




                       REMOTE VIDEOTAPED DEPOSITION

                           ON ORAL EXAMINATION OF

                              JOSEPH JAMES, III

                           JACKSONVILLE, FLORIDA

                                MARCH 25, 2021




       Transcribed by:
       Leslie A. Todd, CSR No 5129 and RPR
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                                                                             2


 1                           P R O C E E D I N G S

 2                             ------------------

 3                   MR. TRAVERS:       Good morning, and we're now

 4     recording.

 5                   This is the videotaped deposition of

 6     Joseph James, III, who was a serviceman in the U.S.

 7     military and suffered injuries while on active duty

 8     in Iran.

 9                   This case has been filed before the

10     U.S. District Court for the District of Columbia,

11     styled Bottorff v. The Islamic Republic of Iran,

12     et al.

13                   I am Jeffrey Travers.         I am located in

14     Orange, Virginia.       Today is March 25th, 2021.             This

15     is a videotaped deposition with the deponent in

16     Jacksonville, Florida.

17                             JOSEPH JAMES, III,

18                   having first been duly sworn, was

19                   deposed, and testified as follows:

20                                EXAMINATION

21     BY MR. TRAVERS:

22            Q      Do you mind stating your full name again

23     for the record?

24            A      Joseph James, III.

25            Q      Okay.     And what's your date of birth?
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                                                                      3


 1            A                           .

 2            Q      What's your current address?

 3            A                                    Jacksonville,

 4     Florida 32226.

 5            Q      All right.      And where did you go to high

 6     school?

 7            A      Edward White High School in Jacksonville.

 8            Q      Okay.     And did you enter the military

 9     directly after high school?

10            A      No.

11            Q      And what did you do before entering the

12     military?

13            A      I went to college for about a year and a

14     half at Santa Fe Community at Gainesville, Florida.

15            Q      Okay.     And what year did you enter the

16     military?

17            A      2003.

18            Q      Okay.     And when you entered the military,

19     were you aware that you might have to go to

20     Afghanistan or Iraq?

21            A      Yes.

22            Q      What branch of the military did you

23     enter?

24            A      The US Army.

25            Q      Okay.     And how long were you in the Army?
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 1            A      For a little over 12 years.

 2            Q      Okay.     And what was your rank when you

 3     left the Army?

 4            A      Sergeant.

 5            Q      Okay.     So you left in 2015?

 6            A      Yes.

 7            Q      Okay.     And do you mind telling -- or do

 8     you mind telling me why you left the Army?

 9            A      I was medically discharged.           They said

10     that I suffered from severe PTSD, and just from my

11     various physical injuries, they decided to medically

12     discharge me.

13            Q      Okay.     And how many tours of duty did you

14     have in Afghanistan?

15            A      Just one.

16            Q      Okay.     And were you -- did you have tours

17     of duty anywhere else besides Afghanistan?

18            A      Three tours in Iraq before Afghanistan.

19            Q      Okay.     And how long does each tour last?

20            A      It all depended on the mission.            My first

21     tour I was only supposed to go for a month, but I

22     ended up going for six months because when I got out

23     there I was supposed to go out there and help.                 I had

24     just got out of AIT, and I was supposed to help the

25     unit that I was assigned to recover and come back.
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 1     But then when I got out there, they got extended, so

 2     I had to stay out there an additional five months.

 3            Q      Okay.

 4            A      And then on my second deployment, I did

 5     11 months; the third one, I did a year, and in

 6     Afghanistan I did six months.

 7            Q      Okay.     All right.     And before each -- and

 8     between each tour, did you have an opportunity to

 9     retire from the Army --

10            A      No.

11            Q      -- and you chose to go back?

12            A      No.

13            Q      Okay.     And did you suffer any injuries

14     while in Iraq during these first three tours?

15            A      No.

16            Q      Okay.     Now I'm going to ask you about

17     Afghanistan.      Do you recall approximately when you

18     were deployed to Afghanistan?

19            A      I believe it was shortly -- shortly after

20     Thanksgiving.       I was believe it was 2013.

21            Q      Okay.

22            A      '12 going into '13.

23            Q      Okay.     And what unit were you in when you

24     went over there?

25            A      359 Transportation Unit out of Fort
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                                                                      6


 1     Eustis, Virginia.

 2            Q      What were your duties over in

 3     Afghanistan?

 4            A      I was assistant convoy commander for a

 5     gun truck unit in Bagram, Afghanistan.

 6            Q      And did you -- you had people serving

 7     under -- soldiers serving under you?

 8            A      Yes.

 9            Q      And we have here that you experienced an

10     IED attack on March 19th, 2013; is that accurate?

11            A      Yes, sir.

12            Q      And was that the only attack you

13     experienced while in Afghanistan, or were there

14     others?

15            A      That was -- I mean, we had small arms

16     fire, but that was about it.

17            Q      Okay.

18            A      Well, no -- well, some -- on the way up,

19     another truck -- another truck in our unit had got

20     blown up on the way up to -- I mean, to the FOB that

21     we were on our way to, and my truck got blown up on

22     the way back going back to Bagram.

23            Q      Okay.     Can you describe with as much

24     detail, approximately, where you were in Afghanistan

25     when your truck got blown up?
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                                                                       7


 1             A     We were leaving -- we were leaving

 2     Kandahar, I believe, going back to Bagram, and we

 3     were coming through one of the provinces out there,

 4     and as we left the town I was the rear -- I was the

 5     rear gun truck providing security for the entire

 6     convoy, and my truck was blown up.

 7             Q     Okay.     And do you recall the town that

 8     you were traveling through?

 9             A     No, sir.

10             Q     Okay.     And were you headed towards the

11     base?

12             A     Yes.    We were heading back toward Bagram.

13             Q     And do you recall the name of the base?

14             A     That we were heading to?

15             Q     Yeah.

16             A     Bagram.

17             Q     Oh, okay, sorry.        And do you recall how

18     far out or how far away you were from it?

19             A     We were still a ways away.           I mean the

20     trip in total from start to completion usually took

21     like six hours.

22             Q     Okay.

23             A     We were probably like two hours into the

24     trip.

25             Q     Okay.
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                                                                          8


 1            A      So we probably had like four hours left.

 2            Q      Oh, okay.      And did the roads have names

 3     there, or was there --

 4            A      Do they have what?

 5            Q      Could you identify the road you were on?

 6            A      Um, I mean, I know the road that we were

 7     on because we had traveled it many times, but I can't

 8     -- I can't recall the actual name of the route, no.

 9            Q      Okay.     I think you said it before, but

10     which base were you leaving from?

11            A      Kandahar.

12            Q      Oh, okay.      And, yeah, what type of

13     vehicle were you in?

14            A      I was in a Max Pro.

15            Q      Okay.     What's the armor like on that

16     vehicle?

17            A      Um, at the time it was probably -- it was

18     probably the best tactical vehicle that they had on

19     the ground in Afghanistan.          I mean, I can't tell you

20     the specific --

21            Q      Okay.

22            A      -- armor rating on the vehicle, but...

23            Q      Okay.     No, that's fine, yeah.         And then,

24     yeah, if you don't mind, can you -- can you walk us

25     as best as you can through the attack?
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 1             A       I just remember -- I just remember that

 2     before we -- before we came through the village, that

 3     we had to stop the convoy for probably about forty

 4     minutes and wait, because I guess -- because convoys

 5     come through there all the time.            So I guess the

 6     convoy that came before us said that it was something

 7     suspicious, like I guess like a package or something

 8     like laying on the side of the road before we

 9     actually went through the village.            But I just

10     remember just being in a standstill for about 40

11     minutes to an hour before the explosion and I guess

12     route clearance came out.          They said everything was

13     good.       We went through the village, and then probably

14     about two minutes after we came out of the other

15     side, my vehicle was blown up and then turned on its

16     side.

17                     If I could explain the -- if I could

18     explain the explosion, I would say that -- the way

19     that it left the vehicle, it left the vehicle laying

20     on the driver's side.         So I was in the passenger

21     side, and I was suspended in the air and we didn't

22     have an open -- I didn't take my actual truck out on

23     that convoy.       I took a reserve truck out, so it was

24     an enclosed Max Pro with the automated gunner system

25     on top.       So my gunner was on the inside of the
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 1     vehicle.     So I wasn't exposed to the blast by being

 2     on the gun in the turret on the outside of the

 3     vehicle.     So that actually helped us.          But I mean

 4     that's pretty much all I can remember leading up to

 5     the blast.

 6            Q      Okay.     And what did you do after the

 7     blast occurred?

 8            A      Just pretty much just -- one thing that I

 9     can remember is radioing up, letting them know that

10     my truck had got hit.         And I just remember just

11     checking on all my personnel in the vehicle.               And

12     then some of my troops that were ahead of me, they

13     came back around, provided security for me and the

14     rest of my guys until we were able to get that

15     vehicle recovered and get out of the area.

16            Q      And were there any enemy combatants in

17     the area?

18            A      We didn't get -- we didn't engage in any

19     small arms fire after the attack, no.

20            Q      Okay.     I guess besides being flipped

21     over, was there any damage to the vehicle?

22            A      I mean, I can't -- I mean, I really don't

23     actually know what happened to the vehicle after the

24     attack.

25            Q      Okay.
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                                                                            11


 1            A      I mean, I have -- I mean, I actually have

 2     pictures of the vehicle that one of my soldiers

 3     took --

 4            Q      Oh, okay.

 5            A      -- and gave to me after the -- after the

 6     attack, but I mean I have -- some of my solider's

 7     took pictures of the truck and the blast area.                 But

 8     as far as like, um, me actually physically seeing the

 9     damage of what the totality of what actually happened

10     to the vehicle afterwards, I couldn't tell you.                 I

11     mean, the only thing I know is that for the most part

12     it was still intact.        I mean, it held up well --

13            Q      Okay.

14            A      -- in the explosion.         But the specifics

15     of the damage, no.

16            Q      And would it be possible at some point to

17     e-mail me copies of the pictures?

18            A      Yes.    If you just give me your e-mail, I

19     can send them.

20            Q      Okay.     Yeah, I'll send you my e-mail

21     after the deposition, and when you get a chance, if

22     you can send those to me, that would be helpful for

23     our expert.

24                   Then -- and do you know -- do you know if

25     this would have been an attack by the Taliban?
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 1            A      I can't say exactly who did the attack,

 2     or -- I'm not exactly sure.

 3            Q      Okay.     And did you have to give a report

 4     on the attack afterwards?

 5            A      Um --

 6            Q      In the investigation.

 7            A      Um, yeah, I did -- I did a -- I did a

 8     sworn statement on the incident.

 9            Q      Okay.

10            A      When it happened.

11            Q      Okay.     And do you know if there are

12     Taliban active in the area?

13            A      Through our intel that we got on

14     briefings, yeah, we were told that, yes, there were,

15     um, those enemies on the route, but...

16            Q      Okay.     And did anyone tell you what type

17     of bomb -- give you any details about what type of

18     bomb it was afterwards?

19            A      No.     They didn't let me know what type of

20     IED it was, actually.

21            Q      Okay.     And do you know if the bomb came

22     underground, or if it was set --

23            A      It was buried.       It was buried

24     underground.

25            Q      And can you describe the injuries you
Case 1:18-cv-03122-CKK Document 29-1 Filed 07/12/21 Page 349 of 358
                                                                      13


 1     suffered as a result of the bomb?

 2            A      I had a laceration to my face from my

 3     Kevlar, slamming into the bridge of my nose, a

 4     deviated septum, and I had two deteriorated discs in

 5     my back, and a laceration on my leg, and a traumatic

 6     brain injury.

 7            Q      And are you still feeling the effects of

 8     the back injury and the other injuries?

 9            A      Yes.    I just have just a scar on my face

10     and my legs still, but no real -- no real lasting

11     injuries from that.        It's just my migraines have got

12     worse, and just the back injury that's persistent

13     that still ails me till this day.

14            Q      Do you have to take any medications for

15     your back or migraines?

16            A      They had me on Percocets and just going

17     to physical therapy, just different therapies, TENS

18     unit, things of that nature.

19            Q      And are you being treated at the VA?

20            A      Yes, sir.

21            Q      And can you describe what the traumatic

22     brain injury is like and how that affects you?

23            A      Just my mood swings.         Light sensitivity

24     triggers my migraines and makes them worse than what

25     they were before the incident, and just -- just
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 1     pretty much my overall mood with the depression and

 2     stuff like that, but...

 3            Q      How often do the migraines occur?

 4            A      I get at least two migraines a week.

 5            Q      Okay.     And how long do they last for?

 6            A      It all depends.        If I can get them early,

 7     because that's usually when they tend to like occur

 8     the most like when I wake up.           Like I'll have this

 9     pain behind my left eye all the time, but like if I

10     could get up and take my medicine before they

11     actually get bad, I could probably get past it within

12     two hours, but if I get it in the middle of the day,

13     it could be up to four hours if it even goes away

14     until the next day.

15            Q      Okay.     And do you have more -- so that's

16     more frequent than migraines you had before the

17     attack?

18            A      Yes, sir.

19            Q      Okay.     Have you suffered any memory loss

20     or anything of that nature?

21            A      Yes, sir.

22            Q      Okay.

23            A      They had --

24            Q      Sorry.

25            A      They had -- well, they had -- I was going
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 1     to speech pathology for my memory loss and for --

 2     they were saying that sometimes that my memories are

 3     fogged, and I have to like take time before I

 4     actually speak, so I was going to speech pathology

 5     for that as well.

 6            Q      If you don't mind, can you tell me -- and

 7     you've been diagnosed with PTSD as well?

 8            A      Yes.

 9            Q      And can you tell me how that's affected

10     your life?

11            A      It's just affected my life socially as

12     far as my anger -- my anger, just mood swings, not

13     being able to be social.         It's changed my way of

14     living as far as not being able to be employable to

15     go out and work because of just my mood and anger

16     issues.

17            Q      Have you qualified for disability?

18            A      I'm currently on disability.

19            Q      Okay, good.      You have.

20                   And before the attack, were there things

21     you did before the attack that you can't do now, like

22     athletics, socializing?

23            A      I was very active as far as like playing

24     sports for -- playing sports for like the company as

25     far as like -- say basketball or football for the
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                                                                      16


 1     company that I was in the Army, or going to social

 2     events, things of that nature, coaching youth sports,

 3     but I haven't done any of that since -- since

 4     probably 2012.

 5            Q      All right.      And, are you currently

 6     married?

 7            A      No.     I got a divorce when I got back from

 8     Afghanistan.

 9            Q      And do you think that divorce was related

10     to that attack?

11            A      No.     I mean, it may have had like some

12     stuff on top of it, but it wasn't the main -- it

13     wasn't the main reason I got a divorce, no.

14            Q      All right.      And do you have any children?

15            A      Two children, two kids, yes.

16            Q      And have your injuries from that attack

17     affected your relationship with your children?

18            A      Just from the standpoint of not being as

19     sociable and being able to do the things that I used

20     to do, like get out with them and go to like huge

21     events or what not.

22            Q      Okay.     And what are the ages and sex of

23     your children?

24            A      My son is 13 and my daughter will be 10

25     on the 31st of this month.
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                                                                      17


 1             Q       Okay.   And let's see.      And did you

 2     receive any combat awards as a result of the attack

 3     or from any of your service in the military?

 4             A       I had a combat action award on a previous

 5     deployment, and they were trying to get me one on

 6     this deployment -- well, on the deployment to

 7     Afghanistan, but I wasn't -- I didn't qualify for it

 8     because I already had the award previously, and I

 9     received a Purple Heart.

10             Q       Okay.   Those are all the questions I

11     have.       And before I stop recording, is there anything

12     that you want to say about the attack or the effects

13     of the attack that I didn't ask about or that you

14     want to mention?

15             A       No, sir.

16             Q       Okay.

17                     MR. TRAVERS:     I'm going to end the

18     deposition and stop recording and then I can just

19     speak with you for a couple minutes afterwards, after

20     I stop.

21                     THE WITNESS:     Okay.

22                     (Whereupon, the deposition of

23                     JOSEPH JAMES, III was concluded.)

24

25
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                                                                      18


 1                    DISTRICT OF COLUMBIA AT LARGE:

 2

 3                  I, Leslie A. Todd, Notary Public in

 4     and for the District of Columbia, do hereby certify

 5     that the foregoing videotaped deposition was provided

 6     to me by counsel for the Plaintiff in this matter.

 7                  I do further certify that the deposition was

 8     transcribed by me and is, to the best of my knowledge

 9     and ability, an accurate and correct record of the

10     deposition.

11                  I hereby certify that I am neither an

12     attorney for any party, nor am I related to any party

13     connected with this action, nor am I financially

14     interested in this action.

15                  Given under my hand and seal this 2nd day

16     of June 2021.

17

18

19

20

21                                   __________________________
                                     Leslie Todd, Notary Public
22                                   District of Columbia

23                                   My Commission Expires:
                                     February 29, 2024
24

25
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        Exhibit 16
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                                           UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLUMBIA

            DANIEL BOTTORFF, et al.,                              )
                                                                  )
                                     Plaintiffs,                  )
                                                                  )       Civil Action No. 18-3122 (CKK)
                     v.                                           )
                                                                  )
            ISLAMIC REPUBLIC OF IRAN                              )
                                                                  )
                                     Defendants.                  )
                                                                  )

                                            DECLARATION OF RANDALL BURNS

                     I, Randall Burns, have personal knowledge of the facts and circumstances described here,

            and, if called, would testify in open court to the same. I declare under penalty of perjury, as

            follows:


                     1.      I am over the age of 18. I am a United State Citizen and resident of Texas.

                     2.       On January 4, 2016 I was in Kabul, Afghanistan working as a United States

            embassy security manager. I was located in a secured civilian hotel next to United States Camp

            Sullivan. On this evening my personnel and I were in a security meeting with our project

            manager. We were located in a training room on the second floor of one of the hotels buildings

            closest to Camp Sullivan. As the meeting began, an explosion of a VBIED (vehicle-borne

            improvised explosive device) detonated at the entrance of Camp Sullivan.

                     3.      I felt a heavy concussion force me against a wall and then forced me to the

            ground. The room went dark and filled with dirt. I felt a stinging pain on my face, arms and

            hands. My vision was zero and all I heard was muffled ringing. The lights quickly came back

            on, but the room was filled with dust. I could hear muffled cries for help. I was very dizzy but

            was able to stand and start to put together what had just happened.
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                     4.      I knew we had just been attacked and my first concern was a secondary attack, as

            is the Taliban, ISIS and Al-Qaeda's mode of operation. Before I could make sure our perimeter

            had not been breached, I had to triage and apply whatever emergency medical care I could. As

            the room slowly cleared, I had gathered several of the less injured to assist the more seriously

            injured. We had various injuries from severe shrapnel cuts to open head wounds.

                     5.      Once our injuries had been assessed and temporarily patched we gathered our

            weapons to search and secure our location. Many of my team members and I were certified in

            Tactical Combat Casualty Care. We knew we were not going to be able to receive outside

            medical attention for up to a week. The company we were contracting with was able to secure a

            local Afghan "doctor" to assess our injuries and prescribe any medications necessary. My

            injuries were shrapnel in my hands and arms, in my right eye, severe headaches, vertigo, hearing

            loss and constant ringing in my ears. I was soon sent back to the United States (home) for

            further medical care.

                     6.      Several different specialist assessed my injuries as follows:

                             a.   Traumatic Brain Injury
                             b.   Vertigo
                             c.   Post-blast Cataract and shrapnel in Right Eye
                             d.   PTSD


                     7.      As a result of the shrapnel and cataract in my right eye I had to have 2 surgeries. I

            have permanent loss of eyesight in my right eye. As a result of the traumatic brain injury and

            vertigo I endured two and a half years of physical therapy. I suffer from memory loss. I peaked

            in improvement with still having to suffer severe vertigo, with having learned how to better

            handle it. As a result of the hearing issue I have constant tinnitus in both ears and a loss of

            hearing. As a result of the prognosis of PTSD I stay home all of the time. When I was going
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            into public any loud noise would startle me. I would always be in a hyper state of awareness for

            any danger. I am hypertensive, easily startled and always worrying. I had to be placed on heart

            and blood pressure medicine. I cannot hold a job due to my medical conditions. I have lost

            contact with most of my family and all of my friends.


            I declare, under penalty of perjury, that the foregoing is true and correct.

                                    
            Signed this ___day of _______, 2021.                           _____________________
                                                                           Randall Burns
